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01:34:22    1                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
            2                           MARSHALL DIVISION

            3   UNITED SERVICES AUTOMOBILE        )(
                ASSOCIATION
            4                                     )(    CIVIL ACTION NO.

            5   VS.                               )(    2:18-CV-366-JRG

            6                                     )(    MARSHALL, TEXAS
                                                        JANUARY 6, 2020
            7   WELLS FARGO BANK, N.A.            )(    1:45 P.M.

            8

            9                        TRANSCRIPT OF JURY TRIAL

           10                           AFTERNOON SESSION

           11         BEFORE THE HONORABLE CHIEF JUDGE RODNEY GILSTRAP,

           12                     UNITED STATES DISTRICT JUDGE

           13
                APPEARANCES:
           14

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     23
          (Proceedings recorded by mechanical stenography, transcript
     24   produced on a CAT system.)

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01:45:19    1                      P R O C E E D I N G S

01:45:19    2           (Jury out.)

01:45:20    3           COURT SECURITY OFFICER:         All rise.

01:45:21    4           THE COURT:     Be seated, please.

01:45:23    5           Counsel, where are we on -- with regard to the

01:45:33    6   stipulation that was being worked out over the lunch break?

01:45:35    7           MS. GLASSER:      We're happy to announce, we've

01:45:40    8   reached an agreement.

01:45:40    9           THE COURT:     All right.     Why don't you go to the

01:45:40   10   podium and read the stipulation into the record.

01:45:42   11           MS. GLASSER:      Our understanding is that we would

01:45:43   12   read it before the jury.

01:45:50   13           MR. BITTNER:      Our understanding is we're going to

01:45:50   14   read it in the record and you put it in the charge.

01:45:53   15           THE COURT:     My understanding was we'll read it

01:45:55   16   into the record and that would inform both demonstrative

01:45:57   17   slides that we talked about in chambers and other matters

01:45:58   18   going forward.

01:45:59   19           All right.

01:45:59   20           MS. GLASSER:      Well, we --

01:46:02   21           THE COURT:     Read it into the record, please,

01:46:06   22   counsel, slowly.

01:46:07   23           MS. GLASSER:      It is an established fact that the

01:46:10   24   system accused of infringement satisfies the following

01:46:13   25   limitations of the claims:
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01:46:15    1           '605 patent, Claim 1, an image capture and

01:46:21    2   processing system for use with a digital camera, the image

01:46:25    3   capture and processing system comprising a portable device

01:46:28    4   comprising a general purpose computer including a processor

01:46:32    5   coupled to a memory, the memory storing.

01:46:36    6           '605 patent, Claim 12, a system for allowing a

01:46:40    7   customer to deposit a check using a customer's own handheld

01:46:45    8   mobile device with a digital camera, the system configured

01:46:48    9   to authenticate the customer, the system including.             All

01:46:54   10   other instances in Claim 1 and Claim 12 of the '605 patent

01:46:58   11   of the term "mobile device" or "portable device."

01:47:02   12           '681 patent, Claim 12, a system for allowing a

01:47:06   13   customer to deposit a check using the customer's own mobile

01:47:10   14   device with a digital camera, the system configured to ask

01:47:14   15   the customer to log in using a user name and password, the

01:47:18   16   system including.

01:47:21   17           '681 patent, Claim 30, a non-transitory

01:47:25   18   computer-readable medium storing an app that when

01:47:28   19   downloaded and run by a customer's mobile device causes the

01:47:32   20   customer's mobile device to perform.         All other instances

01:47:38   21   in Claims 12, 20, and 30 of the '681 patent of the term

01:47:43   22   "mobile device."

01:47:47   23           THE COURT:     Does that complete the stipulation as

01:47:49   24   understood by the Plaintiff?

01:47:50   25           MS. GLASSER:      It does, Your Honor.
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01:47:51    1           THE COURT:     Can Defendant confirm on the record

01:47:52    2   that that is their stipulation, as well?

01:47:55    3           MR. BITTNER:      Yes, Your Honor.

01:47:56    4           THE COURT:     All right.     Such stipulation is

01:47:59    5   accepted by the Court.

01:48:00    6           All right.     At this point I'm prepared to bring in

01:48:27    7   the jury and give them my preliminary instructions, to

01:48:30    8   proceed with opening statements thereafter.

01:48:34    9           Mr. Sheasby, I understand you're going to present

01:48:40   10   the opening statement for Plaintiff.

01:48:41   11           MR. SHEASBY:      Yes, Your Honor.

01:48:42   12           THE COURT:     And what warning would you like on

01:48:44   13   your time?

01:48:44   14           MR. SHEASBY:      15 and 5, Your Honor.

01:48:46   15           THE COURT:     When you've used 15 minutes and when

01:48:47   16   you have 5 minutes remaining?

01:48:51   17           MR. SHEASBY:      Yes, Your Honor.

01:48:51   18           THE COURT:     And, Ms. Williams, I understand you'll

01:48:54   19   present Defendant's opening?

01:48:55   20           MS. WILLIAMS:      Yes, Your Honor.

01:48:56   21           THE COURT:     What is your request for a warning?

01:48:59   22           MS. WILLIAMS:      Five-minute warning when I have

01:49:03   23   five minutes left, Your Honor.

01:49:04   24           THE COURT:     All right.

01:49:04   25
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01:49:04    1            MS. WILLIAMS:     Thank you.

01:49:04    2            MR. MELSHEIMER:     Your Honor, for purposes of the

01:49:07    3   opening statement, would I be permitted to move my seat

01:49:10    4   over here?

01:49:11    5            THE COURT:    Over where?

01:49:12    6            MR. MELSHEIMER:     Right next to Mr. Johnson, Your

01:49:15    7   Honor.

01:49:15    8            THE COURT:    There is no need to ask permission to

01:49:18    9   move chair to chair at the counsel table.

01:49:18   10            MR. MELSHEIMER:     We had filled out a form -- a

01:49:21   11   chart.   I just wanted to make sure.

01:49:22   12            THE COURT:    That's fine.

01:49:23   13            MR. MELSHEIMER:     Thank you, Your Honor.

01:49:24   14            THE COURT:    That's fine, Mr. Melsheimer.

01:49:25   15            I would say that unless you've appeared in the

01:49:27   16   case as counsel, you need to be on the other side of the

01:49:29   17   bar.

01:49:30   18            MR. MELSHEIMER:     Yes, Your Honor.

01:49:31   19            THE COURT:    I'm not talking about you.

01:49:33   20            MR. MELSHEIMER:     Okay.    Your Honor, if it's that

01:49:37   21   easy to get out of this, I'm gone.

01:49:39   22            THE COURT:    There are a lot of other lawyers in

01:49:41   23   the room.    I'm just saying unless you've appeared in the

01:49:44   24   case, you need to be on the other side of the bar.

01:49:46   25            MR. MELSHEIMER:     Yes, Your Honor.
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01:49:46    1            THE COURT:     At some risk, I'll ask if there's

01:49:49    2   anything else I need to hear before I bring in the jury.

01:49:51    3            MR. SHEASBY:     Nothing from Plaintiffs, Your Honor.

01:49:55    4            THE COURT:     All right.

01:49:55    5            MS. WILLIAMS:     Nothing from Defendants, Your

01:49:57    6   Honor.

01:49:57    7            THE COURT:     Let's bring in the jury, please,

01:50:02    8   Mr. Johnston.

01:50:46    9            COURT SECURITY OFFICER:       All rise.

01:50:47   10            (Jury in.)

01:50:47   11            THE COURT:     Welcome back from lunch, ladies and

01:50:50   12   gentlemen.

01:50:50   13            I have some preliminary instructions that I need

01:50:51   14   to give you at this time before we start with opening

01:50:52   15   statements from the parties through their counsel and then

01:50:55   16   get on to the evidence.

01:50:58   17            You've been sworn as the jurors in this case, and

01:51:01   18   as the jury, you are the sole judges of the facts, and as

01:51:05   19   such, you will determine what the facts are in this case.

01:51:09   20   And as the Judge, I will give you instructions on the law,

01:51:12   21   decide questions of law that arise during the trial, handle

01:51:17   22   matters pertaining to evidence and procedure, and I'm also

01:51:20   23   responsible for maintaining the flow of the trial, and

01:51:23   24   maintaining the decorum of the courtroom.

01:51:25   25            At the end of the evidence, I'll give you detailed
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01:51:29    1   instructions about the law that you are to apply in

01:51:31    2   deciding this case, and I'll give you a list of questions

01:51:36    3   that you are then to answer.       This list of questions is

01:51:40    4   called the verdict form.

01:51:41    5            Your answers to those questions must be unanimous,

01:51:47    6   and your unanimous answers to those questions will

01:51:50    7   constitute the jury's verdict in this case.

01:51:56    8            I now want to briefly tell you what this case is

01:51:59    9   about.   This case involves a dispute regarding certain

01:52:02   10   United States patents.     Now, I know that you've all seen

01:52:05   11   the patent video this morning produced by the Federal

01:52:08   12   Judicial Center, but I want to give you some instructions

01:52:11   13   here and on the record about a patent and how one is

01:52:13   14   obtained.

01:52:13   15            Patents are granted or denied by the United States

01:52:16   16   Patent and Trademark Office, often, for short, simply

01:52:21   17   called the PTO.

01:52:22   18            A valid United States patent gives the

01:52:27   19   patentholder the right for up to 20 years from the date the

01:52:34   20   application is filed to prevent others from making, using,

01:52:34   21   offering to sell, or selling the patented invention in the

01:52:38   22   United States or from importing it into the United States

01:52:42   23   without the patentholder's permission.

01:52:44   24            A patent is a form of property called intellectual

01:52:49   25   property.   And like other forms of property, a patent can
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01:52:51    1   be bought or sold.

01:52:53    2              A violation of the patentholder's rights is called

01:52:58    3   infringement.    A patentholder may try to enforce a patent

01:53:01    4   against persons it believes to be infringers by filing a

01:53:05    5   lawsuit in federal court, and that's what we have in this

01:53:08    6   case.

01:53:08    7              The process of obtaining a patent from the PTO is

01:53:12    8   called patent prosecution.      To obtain a patent, you must

01:53:16    9   first file an application with the PTO.          The PTO, as I've

01:53:21   10   said, is an agency of the United States Government, and it

01:53:25   11   employs trained examiners who review applications for

01:53:28   12   patents.

01:53:29   13              The application includes within it what's called a

01:53:34   14   specification.    The specification contains a written

01:53:38   15   description of the claimed invention telling what it is,

01:53:42   16   how it works, how to make it, and how to use it.

01:53:45   17              The specification ends, or concludes, with one or

01:53:50   18   more numbered sentences.      These numbered sentences that

01:53:53   19   follow the specification are called the patent claims.

01:53:58   20   When a patent is granted by the PTO, it's the claims that

01:54:02   21   define the boundaries of its protection and give notice to

01:54:06   22   the public of those boundaries.

01:54:08   23              Patent claims may exist in two forms referred to

01:54:13   24   as independent claims and dependent claims.

01:54:17   25              An independent claim does not refer to any other
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01:54:20    1   claim in the patent.     It's independent.       It stands alone.

01:54:24    2   It's not necessary to look at any other claim to determine

01:54:27    3   what an independent claim covers.

01:54:29    4             On the other hand, a dependent claim refers to at

01:54:34    5   least one other claim in the patent.         A dependent claim

01:54:42    6   includes each of the limitations or elements of that other

01:54:44    7   claim or claims to which it refers, or as we sometimes say,

01:54:49    8   from which it depends, as well as the additional

01:54:51    9   limitations or elements recited within the dependent claim

01:54:56   10   itself.

01:54:56   11             Therefore, to determine what a dependent claim

01:55:00   12   covers, it's necessary to look at both the dependent claim

01:55:07   13   itself and any other independent claim or claims from which

01:55:11   14   it refers or from which it depends.

01:55:12   15             The claims of the patents-in-suit use the word

01:55:15   16   comprising.   Comprising means including or containing.            A

01:55:19   17   claim that includes the word comprising is not limited to

01:55:24   18   the methods or devices having only the elements that are

01:55:28   19   recited in the claim but also covers methods or devices

01:55:32   20   that add additional elements.

01:55:35   21             Take, for example, a claim that covers a table.

01:55:39   22   If a claim recites a table comprising a tabletop, legs and

01:55:45   23   nails, the claim will cover any table that contains these

01:55:50   24   structures, even if the claim -- excuse me, even if the

01:55:53   25   table also contains other structures such as leaves to go
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01:55:58    1   in the tabletop or wheels to go on the ends of the legs.

01:56:01    2             Now, that's a very simple example using the word

01:56:04    3   comprising and what it means.       In other words, it can have

01:56:08    4   features in addition to those that are covered by the

01:56:10    5   patent.

01:56:10    6             Now, after an applicant files their application

01:56:14    7   with the PTO, an examiner is assigned, and that examiner

01:56:18    8   reviews the application to -- to determine whether or not

01:56:21    9   the claims are patentable, that is to say, appropriate for

01:56:26   10   patent protection, and whether or not the specification

01:56:30   11   adequately describes the invention claimed.

01:56:34   12             In examining the patent application, the examiner

01:56:37   13   reviews certain information about the state of the

01:56:42   14   technology that existed at the time the application was

01:56:45   15   filed.    The PTO searches for and reviews this type of

01:56:49   16   information that's publicly available or that is submitted

01:56:54   17   by the applicant.     This type of information is called prior

01:56:57   18   art.

01:56:57   19             The examiner reviews this prior art to determine

01:57:03   20   whether or not the invention is truly an advance over the

01:57:06   21   state of the art at the time.

01:57:10   22             Prior art is defined by law, and at a later time,

01:57:12   23   I'll give you specific instructions about what constitutes

01:57:16   24   prior art.    However, in general, ladies and gentlemen,

01:57:20   25   prior art includes information that demonstrates the state
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01:57:22    1   of the technology that existed before the claimed invention

01:57:26    2   was made or before the application for a patent was filed.

01:57:30    3            A patent contains a list of certain prior art that

01:57:35    4   the examiner has considered.       The items on this list are

01:57:38    5   called the cited references.

01:57:41    6            Now, after the prior art search and examination of

01:57:46    7   the application, the examiner informs the applicant in

01:57:49    8   writing of what the examiner has found and whether the

01:57:53    9   examiner considers any claim to be patentable and thus

01:57:57   10   would be allowed.

01:57:58   11            Now, this writing from the examiner to the

01:58:00   12   applicant is called an Office Action.         If the examiner

01:58:04   13   rejects the claims, the applicant has an opportunity to

01:58:07   14   respond to the examiner to try and persuade the examiner to

01:58:10   15   allow the claims.     The applicant also has a chance to

01:58:14   16   change or amend the claims or to submit new claims.

01:58:18   17            Now, these papers generated during these

01:58:21   18   communications back and forth between the examiner and the

01:58:24   19   applicant is called the prosecution history.

01:58:28   20            Also, throughout this trial, you're going to hear

01:58:30   21   me say ladies and gentlemen because that's the way I'm

01:58:34   22   trained to say it.     I know we have one gentleman on the

01:58:37   23   jury and seven ladies, but if I use the plural, gentlemen,

01:58:42   24   instead of gentleman, please forgive me.          It will just be

01:58:45   25   simpler if I do it that way.
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01:58:47    1             Now, this process can go back and forth between

01:58:49    2   the applicant and the examiner for some time until the

01:58:52    3   examiner is satisfied that the application meets the

01:58:55    4   requirements for a patent, and in that case, the

01:58:58    5   application issues as a United States patent, or in the

01:59:03    6   alternative, if the examiner ultimately concludes that the

01:59:05    7   application should be rejected in which case no patent is

01:59:09    8   issued.

01:59:10    9             Sometimes patents are issued after appeals within

01:59:10   10   the PTO to a Court.

01:59:17   11             Now, the fact that the PTO grants a patent does

01:59:19   12   not necessarily mean that any invention claimed in the

01:59:22   13   patent, in fact, deserves the protection of a patent.

01:59:25   14             While an issued United States patent is presumed

01:59:28   15   to be valid under the law, a person accused of infringement

01:59:33   16   has the right to argue here in federal court that a claimed

01:59:36   17   invention in a patent is invalid.

01:59:39   18             It's your job, ladies and gentlemen, as the jury,

01:59:42   19   to consider the evidence presented by the parties and to

01:59:45   20   determine independently and for yourselves whether or not

01:59:48   21   the Defendant has proven that the patents of the Plaintiff

01:59:52   22   are invalid.

01:59:53   23             Now, to help you follow the evidence, I'll give

01:59:56   24   you a brief summary of the positions of the parties.

01:59:59   25             As you all know, the person that brings a lawsuit
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02:00:05    1   is called the Plaintiff.      The Plaintiff and the patent

02:00:07    2   owner in this case is United Services Automobile

02:00:11    3   Association, which you will hear routinely referred to

02:00:14    4   throughout the trial as USAA, or simply as the Plaintiff.

02:00:20    5             And as you all know, the person against whom a

02:00:23    6   lawsuit is brought is called the Defendant.           And in this

02:00:26    7   case, the Defendant is Wells Fargo Bank, NA, which you will

02:00:31    8   hear the parties refer to and the Court refer to simply as

02:00:35    9   Wells Fargo -- Wells Fargo or the Defendant.

02:00:40   10             Now, as I told you during jury selection, this is

02:00:43   11   a case of alleged patent infringement.          And as I may have

02:00:45   12   already mentioned, there are two patents at issue in this

02:00:47   13   case.

02:00:51   14             The first is United States Patent No. 10,013,605.

02:00:56   15             Now, patents are commonly referred to by their

02:00:59   16   last three digits, so I'll refer to this patent as the '605

02:01:03   17   patent.

02:01:03   18             And the second patent at issue in this case is

02:01:06   19   United States Patent No. 10,013,681, which you'll hear

02:01:14   20   referred to throughout the trial again by its last three

02:01:16   21   digits as the '681 or the '681 patent.

02:01:18   22             These patents may refer to at various times

02:01:23   23   together as the patents-in-suit or as the asserted patents.

02:01:28   24   Those phrases mean these two patents, the '605 and the

02:01:33   25   '681.
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02:01:33    1            These patents generally relate to systems and

02:01:37    2   methods for mobile check depositing.         And you're going to

02:01:40    3   have a complete copy of each of these asserted patents, the

02:01:46    4   '605 and the '681, in your juror notebooks, and those

02:01:51    5   notebooks will be passed out to you in a few minutes.

02:01:54    6            Now, in the United States, a patentee is allowed

02:01:57    7   to file a later patent application with the PTO based on

02:02:01    8   the same specification as an earlier application but with

02:02:04    9   different claims.     When that happens, the original patent

02:02:09   10   application is sometimes called the parent application, and

02:02:13   11   the later applications are sometimes called the children

02:02:18   12   applications.

02:02:18   13            These applications and the patents that issue from

02:02:21   14   them are said to be in the same patent family.

02:02:25   15            Now, the '605 patent and the '681 patent are not

02:02:30   16   part of the same patent family.        They have similar patent

02:02:34   17   numbers because they were issued by the PTO around the same

02:02:38   18   time and not necessarily because they're related.

02:02:40   19            However, you're likely -- you'll likely hear

02:02:45   20   references throughout the trial to other members of the

02:02:48   21   '605 and the '681 patent families.

02:02:51   22            While patent -- while family members of the '605

02:02:54   23   and family members of the '681 patents may be relevant to

02:03:03   24   certain issues in this case, as I'll explain in more

02:03:05   25   details later, the ultimate issues of infringement,
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02:03:08    1   invalidity, and damages must be determined for each

02:03:11    2   patent-in-suit individually and independent of its patent

02:03:16    3   family members.

02:03:16    4              The Plaintiff in this case, USAA, alleges that the

02:03:21    5   Defendant, Wells Fargo, is infringing claims -- pardon me

02:03:41    6   just a minute, ladies and gentlemen.         I want to give you

02:03:55    7   the specific claim numbers that are alleged to infringe.

02:04:00    8   There have been some recent changes in those asserted

02:04:03    9   claims, and I want to make sure I give you the right

02:04:05   10   numbers.    Let me verify that, please.

02:04:27   11              For the '605 patent, the actual asserted claims

02:04:31   12   that will be before you in this case are Claims 1, 3, 11

02:04:35   13   through 14, and 22.

02:04:37   14              For the '681 patent, the asserted claims that will

02:04:42   15   be before you in this case are Claims 12 through 14, 20,

02:04:47   16   22, and 30.

02:04:48   17              Thank you.

02:04:52   18              Now, you're going to hear these particular claims

02:04:56   19   referred to throughout the trial as the asserted claims.

02:05:00   20   You'll sometimes hear them as the claims in suit.

02:05:03   21              Now, USA -- USAA contends that Wells Fargo is

02:05:09   22   infringing these asserted claims by manufacturing, selling,

02:05:13   23   offering to sell, or importing into the United States Wells

02:05:21   24   Fargo's Mobile Deposit system, which you'll hear referred

02:05:26   25   to as the accused product.       USAA contends that this
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02:05:31    1   infringement was willful, and USAA contends that it's

02:05:33    2   entitled to money damages as a result of this infringement.

02:05:36    3            Now, the Defendant, Wells Fargo, denies that it is

02:05:40    4   infringing any of the asserted claims and contends that the

02:05:44    5   asserted claims are invalid as being anticipated or obvious

02:05:49    6   in light of the prior art.

02:05:50    7            Wells Fargo also contends that the asserted claims

02:05:58    8   are invalid because the patent's specification does not

02:06:02    9   contain a sufficient written description of the invention.

02:06:04   10            And, finally, Wells Fargo contends that even if it

02:06:09   11   does infringe the asserted claims and those claims are

02:06:12   12   valid, any damages awarded to USAA should be limited.

02:06:21   13            Now, I know that there are many new words and

02:06:24   14   concepts that have been thrown at you, ladies and

02:06:26   15   gentlemen, as a part of these instructions and what you've

02:06:28   16   heard since you appeared for jury duty this morning.

02:06:30   17            I'm going to define a lot of these words and

02:06:34   18   concepts for you as we go through these instructions.             The

02:06:37   19   attorneys for both sides are going to discuss them in their

02:06:40   20   opening statements, and the witnesses are going to help you

02:06:43   21   through their testimony to understand these words and

02:06:46   22   concepts.

02:06:46   23            So, please, do not feel overwhelmed at this stage.

02:06:50   24   I promise you, it will all come together as we go through

02:06:53   25   the trial.
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02:06:54    1            Now, one of your jobs in this case is to decide

02:06:58    2   whether or not the asserted claims have been infringed and

02:07:00    3   whether the claims are invalid.

02:07:02    4            If you decide that any of the asserted claims have

02:07:06    5   been infringed by the Defendant and are not invalid, then

02:07:10    6   you'll need to decide what amount of money damages should

02:07:13    7   be awarded to the Plaintiff as compensation for that

02:07:17    8   infringement.

02:07:18    9            Now, as I've said, my job is to tell you what the

02:07:22   10   law is, handle rulings on evidence and procedure, and to

02:07:25   11   oversee the conduct of the trial efficiently and to

02:07:29   12   maintain the decorum of the courtroom.

02:07:31   13            In determining the law, it's specifically my job

02:07:34   14   to determine the meaning of any claim language from within

02:07:38   15   the asserted patents that needs interpretation.

02:07:41   16            I've already determined the meanings of the claims

02:07:44   17   of the patents-in-suit, and you must accept the meanings or

02:07:48   18   interpretations that I give you and use those meanings when

02:07:52   19   you decide whether the asserted claims have or have not

02:07:56   20   been infringed.

02:07:58   21            And you're going to be given a document in a few

02:08:01   22   moments that reflects these meanings or constructions that

02:08:03   23   the Court has already reached, and that will be a part of

02:08:06   24   your juror notebooks that you'll receive shortly.

02:08:09   25            Now, for any term claim -- any language in the
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02:08:12    1   claims for which I have not provided you with a definition,

02:08:16    2   then you should apply the plain and ordinary meaning of

02:08:19    3   that language.

02:08:20    4            If I have provided you with a definition, however,

02:08:24    5   you must apply the definition to those terms throughout the

02:08:27    6   case that I've given you.

02:08:29    7            However, my interpretation on the language of the

02:08:33    8   claims should not be taken by you as any indication that I

02:08:37    9   have a personal opinion or any opinion at all regarding the

02:08:40   10   issues such as infringement and invalidity.           Those issues

02:08:44   11   are yours and yours alone to decide, ladies and gentlemen.

02:08:47   12            Now, I'm going to provide you with more detailed

02:08:52   13   instructions on the meanings of the claims before you

02:08:54   14   retire to deliberate on your verdict.

02:08:57   15            In deciding the issues that are before you, you'll

02:09:00   16   be asked to consider specific legal rules, and I'll give

02:09:03   17   you an overview of those rules now.         And then at the

02:09:06   18   conclusion of the case, I'll give you more detailed

02:09:08   19   instructions.

02:09:09   20            The first issue that you will be asked to decide

02:09:12   21   is whether Wells Fargo has infringed the asserted claims.

02:09:18   22   And USAA, the Plaintiff, must show by a preponderance of

02:09:22   23   the evidence that the asserted claims have been infringed.

02:09:25   24            Now, there are a few different ways that a patent

02:09:28   25   can be infringed.     I'll explain the requirements for each
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02:09:31    1   of these types of infringement to you in detail at the

02:09:35    2   conclusion of the case but, in general, a Defendant may

02:09:39    3   infringe an asserted patent by making, using, selling, or

02:09:42    4   offering for sale in the United States or importing into

02:09:46    5   the United States a product meeting all the requirements of

02:09:50    6   a claim of the asserted patent or a product that practices

02:09:55    7   a method or process covered by the asserted patent.

02:09:59    8            And I'll provide you with more detailed

02:10:00    9   instructions on the requirements for infringement at the

02:10:03   10   conclusion of the case.

02:10:04   11            Now, the second issue that you are going to be

02:10:08   12   asked to decide is whether the asserted claims are invalid.

02:10:11   13            Invalidity, ladies and gentlemen, is a defense to

02:10:16   14   infringement.    Therefore, even the PT -- even though the

02:10:19   15   PTO has allowed certain claims and even though an issued

02:10:23   16   patent is presumed to be valid, you, the jury, must decide

02:10:30   17   whether that claim is invalid after hearing the evidence

02:10:31   18   presented during the trial.

02:10:32   19            You may find a patent claim to be invalid for a

02:10:36   20   number of reasons, including because -- because it claims

02:10:40   21   subject matter that is not new.

02:10:43   22            For a patent to be invalid because it is not new,

02:10:47   23   the Defendant must show by clear and convincing evidence

02:10:51   24   that all of the elements of a claim are sufficiently

02:10:56   25   described in a single, previous printed publication or
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02:10:59    1   patent.   We call these items prior art.

02:11:02    2             If a claim is not new, it is said to be

02:11:06    3   anticipated by that prior art.        You'll need to consider a

02:11:10    4   number of questions in deciding whether the invention

02:11:13    5   claimed in the asserted patents is anticipated.            And I'll

02:11:18    6   provide you with more detailed instructions on these

02:11:21    7   questions at the conclusion of the trial.

02:11:23    8             Now, another way that a claim can be found to be

02:11:28    9   invalid is that it may have been obvious.          Even though a

02:11:32   10   claim is not anticipated because every element of the claim

02:11:35   11   is not shown or sufficiently described in a single piece of

02:11:39   12   prior art, the claim may still be invalid if it would have

02:11:44   13   been obvious to a person of ordinary skill in the field of

02:11:47   14   the technology of the patent at the relevant time.

02:11:50   15             You'll need to consider a number of questions in

02:11:54   16   deciding whether the invention claimed in the asserted

02:11:58   17   patents is obvious, and I'll provide you with more detailed

02:12:00   18   instructions on these questions at the conclusion of the

02:12:03   19   trial.

02:12:03   20             One question you will need to consider in

02:12:07   21   determining whether a patent is anticipated or obvious in

02:12:11   22   light of the prior art is what references qualify as prior

02:12:16   23   art.

02:12:16   24             A reference is prior art if it predates the

02:12:22   25   priority date of the asserted patent.         In this case,
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02:12:25    1   however, the parties disagree about the priority date of

02:12:30    2   the patents-in-suit.

02:12:31    3            The Plaintiff, USAA, contends that the

02:12:33    4   patents-in-suit are entitled to a priority date of October

02:12:37    5   the 31st, 2006, because the inventions claimed by the

02:12:42    6   patents were conceived and diligently reduced to practice

02:12:46    7   by that date.

02:12:46    8            Wells Fargo, the Defendant, on the other hand,

02:12:50    9   denies this and contends that the patents-in-suit are only

02:12:54   10   entitled to a priority date of July the 28th, 2017, which

02:12:59   11   is the date that the patents were filed in this suit -- I'm

02:13:05   12   sorry, the patents in this suit were filed when the

02:13:08   13   applications were filed with the PTO.

02:13:09   14            It will be up to you to decide and determine the

02:13:14   15   priority date for each patent-in-suit and thus what

02:13:19   16   references qualify or don't qualify as prior art as to each

02:13:23   17   of these two patents.      And I'll provide you with more

02:13:27   18   detailed instructions on these questions at the conclusion

02:13:30   19   of the trial.

02:13:31   20            Now, another way that a claim can be found to be

02:13:34   21   invalid is that there may be a lack of a written

02:13:39   22   description.    A patent may be invalid if its specification

02:13:43   23   does not describe the claimed invention in sufficient

02:13:47   24   detail so that one skilled in the art can reasonably

02:13:50   25   conclude that the inventor actually had possession of the
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02:13:53    1   invention that they're claiming.

02:13:55    2              You'll need to consider a number of questions in

02:13:58    3   deciding whether the patents-in-suit contain sufficient

02:14:02    4   written descriptions, and I'll provide you with more

02:14:04    5   detailed instructions on these questions at the conclusion

02:14:07    6   of the trial.

02:14:08    7              Now, if you find that the asserted claims have

02:14:13    8   been infringed, you'll need to decide then what amount of

02:14:16    9   money damages will be awarded to the Plaintiff, USAA, to

02:14:20   10   compensate it for that infringement, and that also pre --

02:14:25   11   predisposes that you find the patents-in-suit are not

02:14:29   12   invalid.

02:14:29   13              Now, a damage award must be adequate to compensate

02:14:34   14   the patentholder for the infringement, and damages may not

02:14:37   15   be less than what the patentholder would have received had

02:14:41   16   it been paid a reasonable royalty for the use of its

02:14:45   17   patents.

02:14:45   18              However, the damages that you award, if any, are

02:14:50   19   meant to compensate the patentholder, and they are not

02:14:53   20   meant to punish the Defendant or the infringer.            You may

02:14:57   21   not include in any damages award an additional amount as a

02:15:02   22   fine or a penalty above what is necessary to fully

02:15:05   23   compensate the patentholder for the infringement.

02:15:10   24              Additionally, damages can't be speculative, and

02:15:15   25   USAA must prove the amount of its damages regarding the
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02:15:18    1   alleged infringement by a preponderance of the evidence.

02:15:20    2            I'll give you more detailed instruction on the

02:15:24    3   calculation of damages for Defendant's alleged infringement

02:15:28    4   of the patents-in-suit at the conclusion of the trial by

02:15:31    5   giving you specific instructions regarding the calculation

02:15:35    6   of a reasonable royalty.

02:15:35    7            However, the fact that I'm instructing you on

02:15:40    8   damages does not mean that USAA is or is not entitled to

02:15:44    9   recover damages.

02:15:46   10            Now, ladies and gentlemen, you're going to be

02:15:49   11   hearing from a number of witnesses in this case over the

02:15:51   12   next several days, and I want you to keep an open mind

02:15:54   13   while you're listening to the evidence and not decide any

02:15:58   14   facts until you've heard all of the evidence.

02:16:00   15            This is important.      While witnesses are

02:16:04   16   testifying, remember that you, the jury, will have to

02:16:09   17   decide and judge the degree of credibility and

02:16:12   18   believability to allocate to each of the witnesses and all

02:16:16   19   of the evidence that's presented during the trial.

02:16:19   20            So while the witnesses are testifying, you should

02:16:22   21   be asking yourselves things like:        Does this witness

02:16:26   22   impress you as being truthful?        Does he or she have a

02:16:30   23   reason not to tell the truth?       Does he or she have any

02:16:33   24   personal interest in the outcome of the case?           Does the

02:16:36   25   witness seem to have a good memory?         Did he or she have an
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02:16:41    1   ability and opportunity to observe accurately the things

02:16:44    2   that they testified about?       Did the witness appear to

02:16:47    3   understand the questions clearly and to answer them

02:16:50    4   directly?   And, of course, does the witness's testimony

02:16:53    5   differ from the testimony of any other witness?            And if it

02:16:57    6   does, how does it differ?

02:17:00    7            These are some of the kinds of things that you

02:17:02    8   should be thinking about while you're listening to each and

02:17:04    9   every witness over the course of the trial.

02:17:06   10            I also want to talk to you briefly, ladies and

02:17:09   11   gentlemen, about expert witnesses.         When knowledge of a

02:17:15   12   technical subject may be helpful to you, the jury, a person

02:17:18   13   who has special training and experience in that particular

02:17:20   14   technical field, we call them an expert witness, is

02:17:23   15   permitted to testify to you about his or her opinions on

02:17:28   16   those technical matters.

02:17:31   17            However, you're not to -- you're not required to

02:17:34   18   accept an expert witness's or any witness's opinions at

02:17:38   19   all.   It's up to you to decide who you believe and whether

02:17:41   20   you believe an expert witness, or any witness for that

02:17:45   21   matter, and whether you believe what they're testifying to

02:17:47   22   is correct or incorrect, whether or not you want to believe

02:17:50   23   what they have to say.

02:17:52   24            Now, I anticipate that they're going to be expert

02:17:56   25   witnesses testifying in support of each side in this case.
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02:17:59    1   But when they do, it will be up to you, the jury, to listen

02:18:03    2   to their qualifications, and when they give you an opinion

02:18:06    3   and explain the basis for it, you'll have to evaluate what

02:18:09    4   they say and whether you believe it and to what degree, if

02:18:17    5   any, you want to give that opinion weight.

02:18:19    6             Remember, ladies and gentlemen, judging and

02:18:23    7   evaluating the credibility and believability of each and

02:18:26    8   every witness is an important part of your job as jurors.

02:18:29    9             Now, during the course of the trial, it's possible

02:18:42   10   that there will be testimony from one or more witnesses

02:18:45   11   that are going to be presented to you through what we --

02:18:48   12   through what we call a deposition.         In trials like this,

02:18:51   13   it's difficult to get all the witnesses together in the

02:18:55   14   same place at the same time so that they can testify in

02:18:58   15   person.

02:18:59   16             So lawyers for each side before the trial starts

02:19:05   17   take the depositions of the witnesses.          In a deposition,

02:19:07   18   the witness is present, they are sworn and placed under

02:19:12   19   oath, a court reporter is present, and counsel for the

02:19:14   20   parties are present, at which time the witness is asked

02:19:18   21   questions and under oath answers those questions, and both

02:19:21   22   the questions and the answers are transcribed and taken

02:19:26   23   down.

02:19:26   24             Sometimes they are not only taken down in writing

02:19:30   25   but they are transcribed with a video recording, as well.
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02:19:33    1            Portions of these recordings of the questions and

02:19:36    2   answers that have been asked at the deposition can be

02:19:39    3   played back to you as a part of the evidence in this trial

02:19:42    4   so that you can see the witness and hear their testimony,

02:19:46    5   even though they're not physically present and testifying

02:19:49    6   from the witness stand like live witnesses will.

02:19:52    7            Now, this deposition testimony, ladies and

02:19:54    8   gentlemen, is entitled to the same consideration and,

02:20:00    9   insofar as possible, is to be judged as to its credibility,

02:20:04   10   weight, and otherwise to be considered by you, the jury, in

02:20:08   11   the same way as if the witness had been present in person

02:20:12   12   and testified live from the witness stand in open court.

02:20:15   13            Now, over the course of the trial, it's possible

02:20:19   14   that the lawyers from time to time will make certain

02:20:23   15   objections, and when they do, I will issue rulings on those

02:20:26   16   objections.

02:20:26   17            It's the duty of an attorney to object when the

02:20:29   18   other side offers testimony or other evidence that the

02:20:33   19   attorney believes is not proper under the orders of the

02:20:36   20   Court or the rules of the Court, including the rules of

02:20:39   21   civil procedure -- civil procedure and the rules of

02:20:41   22   evidence.

02:20:41   23            Now, upon allowing the testimony or other evidence

02:20:45   24   to be introduced over the objection of an attorney, the

02:20:48   25   Court does not, unless expressly stated, indicate to you
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02:20:52    1   any opinion about the weight or effect of such evidence.

02:20:56    2   As I've said before, you, the jury, are the sole judges of

02:21:01    3   the credibility and believability of all the witnesses and

02:21:04    4   the weight and effect to give to all of the evidence.

02:21:07    5            Now, I'd like to compliment the parties in this

02:21:10    6   case, both Plaintiff and Defendant, because today, they

02:21:14    7   have worked with the Court very diligently to go through

02:21:20    8   and review with the Court all the possible exhibits that

02:21:23    9   will be used during the course of this trial.

02:21:25   10            That means, ladies and gentlemen, that with the

02:21:27   11   parties' cooperation, the Court has already considered any

02:21:31   12   and all objections regarding the admissibility of exhibits

02:21:34   13   that will be used during the course of the trial, and the

02:21:36   14   Court has ruled on those objections so that you do not have

02:21:40   15   to sit here over the course of the next week and listen to

02:21:43   16   those objections being raised, argued, and then the Court

02:21:46   17   ruling on them one-by-one, and there have been hundreds of

02:21:50   18   exhibits presented in this case.

02:21:54   19            So whether you understand it or not, all the rest

02:21:56   20   of us have saved you a lot of time by taking that up and

02:22:00   21   dealing with that before we got to this point today with

02:22:02   22   you in the jury box.     Through these pre-trial procedures,

02:22:06   23   the Court already made rulings about the admissibility of

02:22:10   24   all the exhibits, and this, I promise you, has saved you a

02:22:14   25   lot of time that has been achieved by the Court working
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02:22:19    1   with the parties in advance of today.         That's why I want to

02:22:24    2   commend the parties for their cooperation with the Court in

02:22:27    3   this regard.

02:22:27    4            What this means is, during the course of the

02:22:28    5   trial, when the parties show you an exhibit, it means I

02:22:30    6   have already ruled on the admissibility of it.            And if I

02:22:34    7   have not approved its admissibility, you would not be

02:22:37    8   seeing it.

02:22:38    9            So they are simply able to show it to you without

02:22:41   10   going through the objection process because the Court's

02:22:43   11   already ruled on the admissibility, and it can be shown to

02:22:49   12   you and placed in its proper context without all the

02:22:52   13   predicate presentation that's otherwise required, because

02:22:55   14   we've already done that.

02:22:56   15            As I say, both sides have worked diligently to

02:22:59   16   streamline this process, and I promise you this will save

02:23:03   17   you a lot of time over the course of the next week.

02:23:05   18            However, it's still possible that over the course

02:23:08   19   of the trial, objections are going to arise during the

02:23:11   20   trial.

02:23:12   21            If I should sustain an objection to a question

02:23:15   22   addressed to a witness, then you must disregard the

02:23:19   23   question entirely, and you may draw no inference from its

02:23:23   24   wording or speculate about what the witness would have said

02:23:26   25   if I had allowed them to answer the question.
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02:23:29    1            On the other hand, if I overrule an objection

02:23:34    2   addressed to a witness regarding a question, then you

02:23:38    3   should consider the question and the answer from the

02:23:40    4   witness just as if no objection had ever been made in the

02:23:43    5   first place.

02:23:44    6            Now, you should understand that the law of the

02:23:47    7   United States permits a United States District Judge to

02:23:50    8   comment to a jury, such as yourselves, regarding the

02:23:54    9   evidence in the case, but such comments by the judge on the

02:24:01   10   evidence are only an expression of the judge's opinion as

02:24:02   11   to that evidence, and the jury may disregard those comments

02:24:05   12   entirely.     Because as I've told you, you, the jury, are the

02:24:10   13   sole judges of the facts in the case, you are the sole

02:24:14   14   judges of the credibility and believable -- believability

02:24:17   15   of the witnesses, and you are the sole judges as to how

02:24:21   16   much weight to give to all the testimony in the case.

02:24:23   17            Even though the law permits me to make such

02:24:29   18   comments to you, as I've indicated to you earlier, it's my

02:24:32   19   intention not to do that and to work very hard not to

02:24:34   20   comment on any of the evidence presented over the course of

02:24:37   21   this trial.

02:24:40   22            Now, in front of me is our court reporter,

02:24:42   23   Ms. Holmes, and she is taking down everything that is said

02:24:45   24   by anybody in this courtroom throughout the entire trial.

02:24:49   25   But the written transcription of everything that's said,
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02:24:52    1   both questions and -- and answers and arguments made and

02:24:56    2   rulings by the Court, everything that's said, the

02:24:59    3   transcription of all of that is not going to be available

02:25:02    4   to you to take with you to the jury room and to review when

02:25:06    5   you consider the questions in the jury -- excuse me, in the

02:25:09    6   verdict form.

02:25:10    7            So as a consequence, ladies and gentlemen, you're

02:25:12    8   going to have to rely on your memories of the evidence

02:25:16    9   that's presented over the course of this trial.

02:25:19   10            In a moment, you're each going to be given a juror

02:25:22   11   notebook.    You'll find in that notebook at the back a brand

02:25:26   12   new legal pad, and you'll find in the front pocket a brand

02:25:30   13   new pen that you may use to take notes over the course of

02:25:33   14   the trial with regard to the testimony and arguments that

02:25:36   15   are presented.    It's up to each of you to decide whether or

02:25:39   16   not you want to take notes, and if you do, how detailed you

02:25:43   17   want your notes to be.

02:25:44   18            But if you take notes, remember, those notes are

02:25:47   19   for your own personal use, and you're going to still have

02:25:52   20   to rely on your memory of the evidence, and that's why you

02:25:55   21   should pay close attention to the testimony of each and

02:25:58   22   every witness.

02:25:59   23            You should not abandon your own recollection

02:26:01   24   because some other juror's notes indicate something

02:26:04   25   different.    Notes are to reflect your recollection, and
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02:26:10    1   that's the only reason you should be keeping them if you

02:26:12    2   decide to take notes over the course of the trial.

02:26:15    3            I'm now going to ask our Court Security Officer to

02:26:17    4   hand out these juror notebooks to each member of the jury

02:26:20    5   at this time.

02:26:49    6            In these notebooks, ladies and gentlemen, you'll

02:27:01    7   see that you each have a copy of each of the two asserted

02:27:04    8   patents that we've talked about.        You'll also find that

02:27:07    9   there's a section of pages for each witness who may testify

02:27:10   10   during the course of the trial, including a picture of that

02:27:14   11   witness and their name to help you remember and recall

02:27:17   12   their testimony.

02:27:17   13            You'll also find a list of the terms from the

02:27:21   14   claim language that the Court has already defined, or

02:27:24   15   construed, and those constructions that you must use in

02:27:28   16   deciding the issues that are presented to you.

02:27:30   17            And as I've indicated, at the back, you'll find a

02:27:35   18   new unused legal pad for note taking, and there should be a

02:27:38   19   pen in the front cover if you don't already have one.

02:27:41   20            Now, those juror notebooks, ladies and gentlemen,

02:27:44   21   should be in your possession at all times.           When you leave

02:27:48   22   for the day, you should take them to the jury room and

02:27:50   23   leave them closed on the table in the jury room, so that

02:27:53   24   they'll be there the next morning when you come back.

02:27:58   25   Otherwise, they should be in your possession.
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02:28:00    1             Now, there may be times during the trial when

02:28:02    2   we're going to take a short recess, and I may simply say,

02:28:06    3   ladies and gentlemen, you may leave your notebooks in your

02:28:08    4   chairs.     In that case, you can just close them and leave

02:28:11    5   them in your chairs, and they'll be there when you get back

02:28:14    6   from recess.

02:28:20    7             But unless I give you instructions to the

02:28:20    8   contrary, they should either be in your possession, or they

02:28:21    9   should be in the jury room on the table, not otherwise left

02:28:25   10   around or available for anybody who shouldn't see them to

02:28:25   11   see them.

02:28:26   12             Now, in a moment, the lawyers are going to present

02:28:30   13   their opening statements to you, the jury.           These opening

02:28:35   14   statements are designed to give you a roadmap from each

02:28:37   15   side as to what they expect the evidence will show over the

02:28:42   16   course of the trial.

02:28:43   17             And you should remember, ladies and gentlemen,

02:28:45   18   throughout the trial, that what the lawyers tell you is not

02:28:48   19   evidence.     I'll say that again.     What the lawyers tell you

02:28:53   20   is not evidence.

02:28:54   21             The evidence is the sworn testimony that you're

02:28:58   22   going to hear from the witness stand from the witnesses who

02:29:01   23   are called to testify under oath and subject to

02:29:03   24   cross-examination.     And the evidence are those exhibits

02:29:05   25   which the Court has reviewed for their compliance with the
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02:29:09    1   rules of evidence and their admissibility and the Court has

02:29:12    2   admitted into evidence.

02:29:13    3              Those two things constitute the evidence in this

02:29:16    4   case.     What the lawyers tell you is not evidence.         What the

02:29:23    5   lawyers tell you is their impression of what the evidence

02:29:26    6   is.     And they have a duty to point out to you what they

02:29:28    7   believe the evidence shows.       But, remember, what they tell

02:29:32    8   you is not evidence.

02:29:33    9              Now, after the opening statements have been made,

02:29:37   10   the Plaintiff, as I told you during jury selection, will

02:29:41   11   then call its witnesses and put on what's called its

02:29:43   12   case-in-chief.

02:29:44   13              And after all the Plaintiff's witnesses have

02:29:47   14   testified, it will rest its case-in-chief, and then the

02:29:50   15   Defendant will do the same thing.        The Defendant will call

02:29:53   16   its witnesses, present its evidence through what's called

02:29:57   17   the Defendant's case-in-chief.

02:29:58   18              When the Defendant rests or completes its

02:30:01   19   case-in-chief, then the Plaintiff has an opportunity to

02:30:04   20   call additional witnesses that are designated as rebuttal

02:30:08   21   witnesses, to rebut what the Defendants have shown.

02:30:10   22              If the Plaintiff calls rebuttal witnesses, when

02:30:13   23   those witnesses have finished testifying and the

02:30:17   24   Plaintiff's rebuttal case has been concluded, then you will

02:30:20   25   have heard all the testimony and the evidence in this case.
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02:30:23    1            After you've heard all the evidence in this case,

02:30:28    2   I'll give you written instructions on the law as we've

02:30:31    3   talked about it, and I'll give you a copy of these written

02:30:36    4   instructions that I'll give to you orally at that time.              In

02:30:39    5   other words, I will give you an oral rendition of my final

02:30:43    6   instructions to you, but you will have your own written

02:30:46    7   copy of the same instructions that you'll be able to take

02:30:48    8   to the jury room when you deliberate on your verdict.

02:30:52    9            These instructions that I'll give you, first

02:30:57   10   orally and then in written form, to take with you to the

02:31:00   11   jury room are called the Court's charge to the jury.

02:31:03   12            And after I've given you those instructions, those

02:31:06   13   final instructions, then the lawyers will be able to

02:31:10   14   present to you their closing arguments, which are designed

02:31:12   15   to point out to you what they believe they proved through

02:31:15   16   the evidence that's been presented over the course of the

02:31:18   17   trial.

02:31:18   18            And when you've heard closing arguments from both

02:31:20   19   Plaintiff and Defendant, then I'll instruct you to retire

02:31:23   20   to the jury room and to deliberate on your verdict.

02:31:25   21            Let me remind you one more time how critical it is

02:31:37   22   that you not discuss or communicate about this case with

02:31:40   23   anyone, including among the eight of yourselves, until such

02:31:43   24   time as you retire to the jury room at my instruction and

02:31:47   25   begin your deliberations.       Then, you are required to
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02:31:50    1   discuss the evidence you've heard over the course of the

02:31:53    2   trial among yourselves in attempting to reach a unanimous

02:31:56    3   decision on the questions set forth in the verdict form.

02:31:59    4            Let me also remind you, as I did earlier today,

02:32:04    5   that over the course of the trial when you come in close

02:32:06    6   contact with one or more members of each trial team or

02:32:10    7   witnesses or anyone associated with either side of this

02:32:13    8   case, they're not going to enter into conversation or speak

02:32:16    9   to you or be friendly, and that's not because they're rude.

02:32:19   10   It's simply because that's what the Court has required of

02:32:22   11   them.

02:32:23   12            And as I've indicated, it's because the sole

02:32:28   13   source of the information that you will ultimately draw on

02:32:34   14   to answer the questions in the verdict form must be limited

02:32:34   15   to the live testimony and deposition testimony that you

02:32:38   16   hear from witnesses under oath and subject to

02:32:41   17   cross-examination and the exhibits that the Court admits

02:32:45   18   into evidence.    That must be the sole source and the sole

02:32:50   19   universe of the information that you draw on when you

02:32:53   20   consider and answer the questions in the verdict form.

02:32:57   21            All right.    At this time, ladies and gentlemen,

02:32:59   22   we'll proceed to hear opening statements for the attorneys

02:33:01   23   for both of the parties.

02:33:04   24            Mr. Sheasby, you may now present your opening

02:33:07   25   statement for the Plaintiff.
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02:33:08    1             MR. SHEASBY:     May it please the Court.

02:33:14    2             THE COURT:     Please proceed.

02:33:15    3             MR. SHEASBY:     Good afternoon, ladies and gentlemen

02:33:17    4   of the jury.    My name is Jason Sheasby.        And I have been

02:33:20    5   asked to speak on behalf of USAA.

02:33:22    6             Let me begin by thanking you for your service.              I

02:33:26    7   know each of you have obligations, each of you have things

02:33:29    8   that require doing, and this week you're giving your time

02:33:33    9   and your service to USAA, and we are very grateful.

02:33:37   10             I'd like to introduce myself.        I was born in

02:33:41   11   California.    I've lived my whole life in California.           My

02:33:44   12   wife and I have two girls, and we also raise a niece and

02:33:48   13   nephew.

02:33:48   14             We are here because of patent infringement.           And

02:33:55   15   the Court spoke about a very important constitutional

02:34:00   16   right, which is the right to a jury trial.           But there's

02:34:02   17   another right that was actually enshrined in our

02:34:06   18   Constitution from the beginning.

02:34:08   19             231 years ago, the founders of our nation granted

02:34:12   20   and specified that the Congress of the United States would

02:34:17   21   allow and create patent rights.        And the reason why our

02:34:20   22   founders did this was for a very particular reason.             231

02:34:24   23   years ago, they knew that this country would be strong and

02:34:28   24   powerful and protected if there was innovation.            And the

02:34:32   25   way you protect innovation is through patent rights.
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02:34:36    1            Patent rights are an absolute constitutional

02:34:42    2   right.   And what that means is that when you file an

02:34:45    3   application with the United States Patent Office, anyone

02:34:50    4   can use the ideas in that patent application until

02:34:53    5   something occurs.

02:34:55    6            When the United States Patent Office grants you

02:34:58    7   your property right, when the United States Patent Office

02:35:02    8   grants you that patent, there is only two options.            If

02:35:07    9   someone is using your inventions, they must either vacate

02:35:11   10   or they must seek permission.       Those are the only two

02:35:14   11   options available to third parties, and the reason for that

02:35:18   12   is because the property right is absolute.

02:35:21   13            And we are here today because Wells Fargo is not

02:35:25   14   respecting that property right.

02:35:27   15            I'd like to introduce USAA to you.          USAA was

02:35:32   16   founded in 1922 by 25 Army officers.         And what they did is

02:35:37   17   they pooled substantial portions of their life savings

02:35:43   18   together to create a mutual insurance company.            And what a

02:35:46   19   mutual insurance company means is that the members insure

02:35:50   20   themselves.

02:35:51   21            Now, much has changed since 1922, but some things

02:35:55   22   remain the same.    To this day, USAA serves active military

02:35:59   23   members, honorably retired military members, and their

02:36:03   24   families.

02:36:03   25            And the second thing that has never changed is
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02:36:07    1   that all of the money USAA has comes from its members.

02:36:13    2   Every dollar that was spent on the research and development

02:36:16    3   of this patent came from our members.         Who are our members?

02:36:21    4   Our members are the members of the armed services, retired,

02:36:25    5   and their family who we serve.

02:36:27    6            Now, I want to talk briefly, and you'll hear much

02:36:32    7   more, about the invention at issue in this case.            The

02:36:36    8   invention relates to the use of a powerful software system

02:36:40    9   to enable essentially any consumer device that has a

02:36:45   10   digital camera to capture a high quality image of a check

02:36:49   11   and to deposit in real-time.

02:36:50   12            Now, there's a paradox.        Things that are

02:36:53   13   incredibly easy for humans are incredibly difficult for

02:36:58   14   computers and vice versa.       So, for example, it's easy for

02:37:01   15   us to take a picture of a check, and it's easy for us to

02:37:04   16   interpret the information on that check.          It's actually

02:37:06   17   incredibly hard for a computer to do that.

02:37:08   18            But a computer must do that because it's computers

02:37:14   19   that analyze and deposits the billions of checks each year

02:37:18   20   that are processed.

02:37:19   21            USAA focused on creating this disruptive

02:37:24   22   invention.   And what I mean by disruptive is something that

02:37:27   23   has never been created before, consumer remote deposit

02:37:34   24   capture, using consumer devices.        And there's this phrase

02:37:37   25   that people use.    It's, necessity is the mother of
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02:37:38    1   invention.

02:37:38    2              USAA serves military members throughout the world.

02:37:44    3   And in the 1980 -- in the 1980s, the military members asked

02:37:46    4   it to create a bank because they wanted cheap, low cost

02:37:49    5   banking.     But there was a problem.      USAA has no branches.

02:37:54    6   It has military members throughout the world, and it has no

02:37:57    7   branches.

02:37:58    8              So how do you solve that problem?        Well, the way

02:38:01    9   they decided to solve the problem was by connecting their

02:38:03   10   members to them digitally.       They would create what they

02:38:07   11   described as a virtual branch.

02:38:09   12              And consumer remote deposit capture was a critical

02:38:15   13   part of that virtual branch.

02:38:16   14              Now, they did something else which was very

02:38:19   15   important, which is they invested.         USAA created an elite

02:38:27   16   Applied Research Division, and that elite Applied Research

02:38:28   17   Division was solely focused on creating next generation

02:38:31   18   technology that would serve their members.

02:38:35   19              The vision that was associated with this is

02:38:40   20   described in an email from Chuck Oakes.          Chuck Oakes is an

02:38:45   21   inventor on these patents.       He has over a hundred patents

02:38:48   22   to his name, and he is also the head of Applied Research

02:38:51   23   during the relevant time period.        He's now retired from

02:38:54   24   USAA.

02:38:55   25              But you see in this effort from June 2006, he
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02:38:58    1   said:   This effort can and will revolutionize the banking

02:39:04    2   industry.     I strongly believe that the effort of producing

02:39:07    3   this innovation is an example of what USAA is made of,

02:39:10    4   vision, strength, determination, member focused, and

02:39:14    5   commitment.

02:39:15    6            The Applied Research Division had this strong

02:39:19    7   vision of what they could create, and it turns out that

02:39:23    8   they were right.     USAA's technology was widely heralded

02:39:32    9   throughout the United States as ground-breaking and

02:39:34   10   powerful.

02:39:35   11            This is AdAge.     AdAge is a banking industry

02:39:39   12   publication.     And it announces that USAA recently launched

02:39:45   13   mobile check deposit technology which let's users deposit

02:39:49   14   checks anywhere using an iPhone.        This was the extension of

02:39:54   15   USAA's technology that occurred in 2009.

02:39:57   16            And what they say -- and this is very important --

02:40:00   17   they say USAA represents the leading edge of mobile banking

02:40:04   18   technology.     Leading edge -- cutting edge and the leading

02:40:07   19   edge.   USAA was at the forefront of this technology.

02:40:11   20            Counsel for Wells Fargo said something very

02:40:14   21   important.     Listen.   But listen to facts and listen to

02:40:20   22   documents.     And the facts and documents make clear that

02:40:25   23   USAA was the first.

02:40:27   24            Now, it wasn't just banking industry publications.

02:40:30   25   It wasn't just publications from Texas.          It was
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02:40:33    1   publications from the East Coast recognized the powerful

02:40:37    2   nature of what USAA has created.        In fact, The New York

02:40:41    3   Times talked about it.

02:40:42    4              So they got one thing wrong.       They call us an

02:40:45    5   unlikely innovator.     They know nothing about our Applied

02:40:50    6   Research Division.     We're not an unlucky innovator.          We

02:40:51    7   innovate all the time through our members.

02:40:53    8              But they got one thing right, and what they got

02:40:55    9   right is that three years ago in 2007 (sic), USAA

02:40:59   10   introduced the first version of consumer remote deposit

02:41:05   11   capture.    And that laid the foundation for the

02:41:07   12   ground-breaking technology that's used today.

02:41:09   13              To this day, no one has created anything more

02:41:12   14   powerful.    No one has created anything better than what

02:41:17   15   USAA's Applied Research Division envisioned in 2006.

02:41:20   16              This is one of the two patents at issue in this

02:41:26   17   case, and I can actually show you the official patents.

02:41:29   18   These are signed by the Commissioner of Patents, who's

02:41:31   19   confirmed by the United States Senate, and these are the

02:41:34   20   official documents that are sent to us when the Patent

02:41:38   21   Office grants our patents.

02:41:40   22              And the patents, you'll see, were originally filed

02:41:46   23   in 2006.    And the applications at issue in this case were

02:41:48   24   filed in 2017.    Now, I want to explain to you why that

02:41:53   25   happens.
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02:41:53    1              In the United States patent system, you'll file an

02:41:58    2   original application.      In this case, we filed the original

02:42:01    3   application in 2006.     A patent was granted based on that

02:42:04    4   original application, but the laws of the United States

02:42:07    5   allow you to file additional applications that have the

02:42:11    6   same specification as the original patent but have

02:42:16    7   different claims.     That's called a continuation

02:42:20    8   application, and that continuation application has the same

02:42:23    9   priority date as the original application in 2006.

02:42:26   10              And we did that, and we received additional

02:42:30   11   patents.    And you can do it multiple times.         And the

02:42:34   12   patents that are at issue today were patents that were

02:42:37   13   based -- that have that original specification from 2006,

02:42:39   14   and in 2017, we presented a set of claims to the United

02:42:44   15   States Patent Office and asked them to confirm that it

02:42:46   16   represented our constitutional property right.

02:42:50   17              And the patent examiners in this case, two

02:42:53   18   separate, independent patent examiners skilled in the

02:42:58   19   field, skilled in the law, both granted the property rights

02:43:03   20   at issue in this case.

02:43:04   21              The second patent at issue was the '605 patent.

02:43:08   22   It was also filed in 2006.       And you'll see it's granted to

02:43:12   23   the United States Automobile Association.

02:43:16   24              Here's the timeline of events that have occurred.

02:43:19   25   In 2004, the research program began at USAA.           In 2005, USAA
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02:43:23    1   actually created its first working prototype using a common

02:43:27    2   consumer three-in-one copier, scanner, fax machine, printer

02:43:35    3   from Lexmark that was bought at Best Buy.          We could use a

02:43:38    4   simple consumer device to allow the deposit of check

02:43:45    5   images.

02:43:45    6              The patent applications were filed in October of

02:43:49    7   2006 after we established the working system, and quickly

02:43:54    8   over time, we added new devices as they became popular.               We

02:43:58    9   added Macintosh in 2007.      We added an iPhone application in

02:44:02   10   2009.     We added an Android application in 2010.         We added

02:44:07   11   an iPad application in 2011.       And in September of 2011,

02:44:11   12   recognizing the explosion of consumer devices that had

02:44:15   13   digital cameras, USAA enabled technology so that any -- any

02:44:19   14   consumer device you have, if it can go on the Internet and

02:44:23   15   if it has a digital camera, we can use it.

02:44:27   16              And that relates to something very powerful, a

02:44:31   17   value of USAA, which is we meet our members where they are.

02:44:35   18   And what I mean by that is we don't force them to buy

02:44:39   19   expensive devices, we don't force them to work with us, we

02:44:42   20   work with them.     We use what they have to create this

02:44:45   21   powerful tool.

02:44:46   22              The application at issue in this case became

02:44:50   23   publicly available to anyone who wanted to read it in 2011.

02:44:56   24   Anyone could read it at that point.

02:44:58   25              The other application at issue in this case became
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02:45:01    1   publicly available in 2014.       At that point, anyone could

02:45:05    2   read it.     But in 2018 when the patents were granted, there

02:45:12    3   was only one option available to Wells Fargo, vacate or

02:45:17    4   seek permission.

02:45:18    5              So the Judge explained that you have a jury

02:45:22    6   notebook, and I explained to you that what's most important

02:45:30    7   is facts, not argument from lawyers.         And you see this

02:45:33    8   little yellow box down in the corner, that is an exhibit

02:45:36    9   number, and you can write down exhibit numbers.            And in

02:45:40   10   your deliberations, you can ask for them because they're

02:45:43   11   evidence.     They're not just argument.

02:45:44   12              And the evidence, I will respectfully submit to

02:45:49   13   you, speaks loudly.

02:45:50   14              Where was Wells Fargo while USAA was innovating?

02:45:55   15   Well, in 2009, they were watching.         They actually report on

02:46:01   16   USAA's use of its Deposit@Home system with iPhone, and they

02:46:06   17   note how popular it is.      Over a few months of time, over

02:46:11   18   40,000 customers had already used this.

02:46:13   19              This is an internal document at Wells Fargo.           It's

02:46:17   20   for Wells Fargo's executives.       It's confidential.       But we

02:46:20   21   were able to obtain it through this litigation process.

02:46:22   22              Now, why was Wells Fargo interested in what USAA

02:46:30   23   was doing?     Well, the reason is that Wells Fargo had made a

02:46:39   24   mistake.     They had decided to invest in a system in which

02:46:46   25   its businesses, they called it the CEO system, could
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02:46:50    1   deposit checks using specialized scanning machines.             This

02:46:55    2   only does one thing.     It cost hundreds of dollars at the

02:46:59    3   time, and all it would do is image checks.

02:47:04    4            But after USAA had invented consumer remote

02:47:09    5   deposit capture system, they quickly realized their system

02:47:14    6   was unacceptable.     It was useless.      Consumers would not buy

02:47:18    7   a specialized scanner machine.        Consumers wanted to use the

02:47:22    8   devices they had available.       And over time, the pressure

02:47:26    9   increased on Wells Fargo.

02:47:26   10            In January of 2010, now USAA had over 125,000

02:47:34   11   downloads of its application.       It was the No. 1 ranked --

02:47:40   12   8th ranked application in popularity among finance

02:47:44   13   applications on the iPhone.       And the internal confidential

02:47:46   14   advice is that mobile RDC would play an important

02:47:50   15   transformative role in the bank.        It got more intense.

02:47:55   16            In 2011, the internal reports to the company was

02:47:58   17   that MRDC was table stakes.       I'm not a gambler.       This is a

02:48:02   18   gambling term that Wells Fargo is using.          Table stakes

02:48:06   19   means you must have it to be able to sit at the table.             The

02:48:09   20   internal records from Wells Fargo's executives made clear

02:48:13   21   they must have remote deposit check capture consumer based

02:48:20   22   services.   They must have it.

02:48:21   23            THE COURT:     15 minutes have been used, counsel.

02:48:24   24            MR. SHEASBY:     But there was another problem.          In

02:48:25   25   the candid advice to their executives, Wells Fargo made
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02:48:28    1   clear in PX-14 that they did not have the internal ability

02:48:31    2   to create their own research and development program.             They

02:48:35    3   were already years behind USAA, and it would take them

02:48:38    4   another nine to 18 months to build their own.           And what's

02:48:43    5   worse, they had no R&D capability to sustain it, unlike

02:48:46    6   USAA's Applied Research division that continued to sustain

02:48:49    7   the system year after year after year.

02:48:51    8             In August of 2010, a candid report to Wells

02:48:59    9   Fargo's executives described the benefits of the USAA

02:49:03   10   system.   The incredible value to the bank, cost savings,

02:49:10   11   deposit growth, people would actually deposit more money in

02:49:14   12   the bank if they had mobile remote deposit capture.

02:49:22   13   Acquisition tool and cross-sell, people would use more of

02:49:22   14   the bank's services if they had mobile remote deposit

02:49:24   15   capture and the WOW/innovation factor.          Wells Fargo wanted

02:49:29   16   to be known as an innovator.

02:49:31   17             What did they do, on the left, is the 2010

02:49:36   18   assessment of the USAA system.        On the right is the

02:49:40   19   confidential plan of what Wells Fargo was going to do, and

02:49:49   20   it lists them doing the exact same thing that USAA's system

02:49:54   21   was doing.

02:49:54   22             Wells Fargo wanted what USAA had.         Wells Fargo

02:50:01   23   couldn't create what USAA had.        Wells Fargo coveted USAA's

02:50:06   24   Applied Research division.

02:50:08   25             Now, let's do the timeline for Wells Fargo.           In
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02:50:13    1   2006, USAA launched our -- launches its system.            In 2009 to

02:50:18    2   2010, the system was fully built out such that any consumer

02:50:22    3   device with a digital camera and a down -- that could

02:50:25    4   download an application or access the Internet could use

02:50:28    5   it.   The patents were published first in January of 2011.

02:50:34    6   And after the publication of those patents, Wells Fargo

02:50:37    7   launched its own system.      And since 2012 to today, Wells

02:50:43    8   Fargo has continued to use that system.

02:50:46    9              Now, let me be clear, the law is the law.          From

02:50:50   10   the publication of that application to the grant of our

02:50:51   11   property right, Wells Fargo had the right to use our ideas.

02:50:56   12   But the moment the United States Patent Office granted our

02:51:00   13   property right, it had only two options, vacate or seek

02:51:06   14   permission.

02:51:07   15              The record will show that USAA actually in

02:51:10   16   December of 2016 told the public that its mobile remote

02:51:15   17   deposit capture system was protected by the families of

02:51:19   18   patents at issue in this case.        Remember, the Judge told

02:51:22   19   you about earlier patents that were in the same family.              We

02:51:25   20   marked our application, our mobile app with the patent

02:51:30   21   family numbers so that folks would know that this was our

02:51:34   22   property right.

02:51:35   23              In 2017 to 2018, we actually approached Wells

02:51:42   24   Fargo about licensing.      The PTO granted the rights in July

02:51:47   25   of 2018.    Once the rights were granted, we promptly filed
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02:51:51    1   this suit, and here we are today.

02:51:54    2             The only damages we seek is for the period of time

02:52:00    3   the United States Patent Office granted our patents, and

02:52:02    4   that is the issues and the facts that we -- what we believe

02:52:06    5   the facts will show.

02:52:07    6             There are four questions you will be asked to

02:52:11    7   consider.     The first is infringement.      Infringement is

02:52:14    8   USAA's burden, and it's a burden by a preponderance of the

02:52:18    9   evidence.     And that means we must show if the Scales of

02:52:23   10   Justice tip ever so slightly in our favor, USAA prevails.

02:52:28   11             And in addition, for infringement, there's no

02:52:31   12   intent or knowledge or recklessness required.           This is a

02:52:35   13   constitutional property right.        It's strict liability.         It

02:52:36   14   doesn't matter if it was an accident.         It doesn't matter if

02:52:39   15   they were shocked to find out that we had a patent.             If

02:52:43   16   they're using our patent, they have an obligation.

02:52:47   17             I'll show you an example claim.        We will map the

02:52:49   18   claim to each element of Wells Fargo's system.            It

02:52:53   19   describes the use of a general purpose computer and a

02:52:56   20   digital camera.     It describes the use of a downloaded

02:52:59   21   application that will control the system.          It describes the

02:53:02   22   use of image assessment.      And we will march through Wells

02:53:06   23   Fargo's source code, the instructions for their system, and

02:53:10   24   establish that each of these elements are present in the

02:53:15   25   system.     We will show you the code, the actual code.
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02:53:18    1             You'll note that the claims refer to a general

02:53:29    2   purpose computer and a digital camera.          That's what the

02:53:32    3   system is.     You'll also note that Wells Fargo's own

02:53:35    4   witnesses can see that the iPhones and the Android phones

02:53:38    5   that they use, what are they, they're general purpose

02:53:40    6   computers with digital cameras.

02:53:41    7             Wells Fargo has infringement defenses, lots of

02:53:49    8   defenses, lots of excuses, I would submit.           One of those is

02:53:53    9   that, oh, well, we do things different than USAA.            We do

02:53:58   10   something called OCR on the system, not on the phone, and

02:54:02   11   the claims require that it occur on the phone, not the

02:54:06   12   system.

02:54:06   13             But the claims, you will see, describe a system

02:54:10   14   for deposit.     They describe the use of a customer's

02:54:14   15   handheld device.     They describe the use of a computer

02:54:18   16   associated with the bank, separate from the handheld

02:54:20   17   device.     And they describe that the system performs image

02:54:27   18   quality analysis.

02:54:27   19             Now, Wells Fargo will tell you, oh, no, we don't

02:54:30   20   infringe because the phone doesn't do the image quality

02:54:34   21   analysis.     We do that at our servers.      But they're

02:54:38   22   contradicting the language of the claims that say -- and

02:54:41   23   this is an important insight that USAA found -- to create

02:54:44   24   the power, to create the processing power that's necessary,

02:54:50   25   we don't just use the phone.       We use a distributed system
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02:54:52    1   that uses both the phones and servers.

02:54:55    2            There's another argument that Wells Fargo makes.

02:54:57    3   Wells Fargo said, oh, we're not the ones doing the

02:55:00    4   infringement.    No, no, no, no, no, it's our customers.

02:55:04    5   It's our customers that are doing the infringement.             They

02:55:07    6   call it a divided infringement problem.

02:55:11    7            Wells Fargo will argue that they don't benefit

02:55:14    8   from each and every element of the claims, and, therefore,

02:55:16    9   they shouldn't be held liable.        That's an argument they

02:55:18   10   will make to you.

02:55:19   11            Ladies and gentlemen of the jury, the facts will

02:55:22   12   establish that every single time a Wells Fargo customer

02:55:25   13   deposits a check using the system, Wells Fargo saves at a

02:55:29   14   minimum one dollar, and Wells Fargo is going to argue that

02:55:33   15   they're not responsible for the system, and they don't

02:55:36   16   benefit from each of these elements.

02:55:38   17            The second issue you'll be asked to decide is

02:55:41   18   validity.   Validity is Wells Fargo's burden.          Validity

02:55:46   19   requires clear and convincing evidence of invalidity.

02:55:50   20            Now, you may ask yourself why is that fair?            Why

02:55:53   21   does USAA have to only show infringement by 51 percent but

02:55:58   22   Wells Fargo must show invalidity by a much stricter burden?

02:56:04   23            Well, the answer is the following:          There actually

02:56:07   24   is an independent third party who looked at these patents.

02:56:11   25   It's the United States patent examiners.          There were two of
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02:56:14    1   them.   They were trained in the art.        They analyzed the

02:56:17    2   applications, and they determined that they were valid.

02:56:20    3   And it's because of that effort by the expert, trained

02:56:24    4   patent examiners that we're entitled to the presumption of

02:56:28    5   validity.

02:56:29    6            Now, to be clear, we should look at the evidence,

02:56:38    7   and you will ask yourself, did the trained patent

02:56:41    8   examiners, expert in this field, get it wrong?

02:56:45    9            One of Wells Fargo's arguments is they say, oh,

02:56:48   10   well, you don't disclose consumer devices or mobile devices

02:56:52   11   or portable devices that have digital cameras.            You don't

02:56:56   12   disclose that limitation in your specification.

02:56:58   13            And you'll see here on the left-hand side it talks

02:57:01   14   about an image and processing system for use with a digital

02:57:07   15   camera or a portable device.

02:57:10   16            But the actual language in the specification

02:57:10   17   describes exactly that.      It describes the vision of USAA

02:57:11   18   from 2006 onwards, the use of electronics that consumers

02:57:15   19   actually owned with digital cameras.

02:57:19   20            It describes the use of cellular networks with

02:57:22   21   cellular phones.    It actually describes the use of various

02:57:26   22   digital devices including PDAs.

02:57:28   23            What are PDAs?     In 2006, PDAs were a combination

02:57:33   24   of general purpose computers, cameras, and wireless

02:57:39   25   capability.   The insight that USAA had from the beginning
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02:57:42    1   and is reflected in these claims is that any device could

02:57:47    2   be used.    We would meet our members where they were.

02:57:49    3              The third question you'll be asked to decide is

02:57:51    4   willfulness.     The facts will establish that beginning in

02:57:55    5   2010, even before our patent was public, Wells Fargo had

02:58:00    6   found out that we had published -- that we had filed

02:58:04    7   applications on our mobile remote deposit capture system.

02:58:07    8   This is testimony from Alan Hecht.         He's their corporate

02:58:11    9   representative, and he admitted it under oath.

02:58:13   10              We were also able to access Wells Fargo's records,

02:58:19   11   their confidential records.

02:58:21   12              THE COURT:     Five minutes remaining.

02:58:23   13              MR. SHEASBY:     And what we found -- what we found

02:58:26   14   was an internal experimentation with USAA's application,

02:58:30   15   and we actually found -- looking at the patent marking

02:58:34   16   page.   This is from our application, that red arrow

02:58:39   17   pointing to our patents, that's a red arrow that they

02:58:43   18   added, not us.     It was in their records.

02:58:45   19              The fourth issue you'll be asked to decide is

02:58:47   20   damages.    The record will show that solely from the damages

02:58:50   21   period, Wells Fargo has generated 1.2 billion in profits

02:58:53   22   from the use of this system -- 1.2 billion in profits.

02:58:56   23              And we will ask for a reasonable royalty of no

02:59:00   24   less than 85 cents per successful mobile deposit.            We're

02:59:06   25   asking for less than they make every single time they use
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02:59:09    1   this system.

02:59:11    2             At the beginning of this conversation, I talked

02:59:14    3   about one constitutional right, the right to a patent as

02:59:18    4   property.    I now want to go back to the other

02:59:21    5   constitutional right that Judge Gilstrap had, and I'd like

02:59:23    6   you to think about it in a different way.

02:59:26    7             So we talk about jury service.        We talk about jury

02:59:28    8   duty.    We talk about the fact that USAA has a right to a

02:59:32    9   jury.    But it's also your right.      When the founders of our

02:59:37   10   nation created this Constitution, they said that citizens

02:59:40   11   get to decide the important questions.

02:59:43   12             This is not just your duty.       This is your right.

02:59:48   13   It's your power.    You have the authority to make a decision

02:59:51   14   in this profoundly important matter.

02:59:53   15             Ladies and gentlemen of the jury, thank you for

02:59:55   16   your time and thank you for your service.

03:00:04   17             MR. MELSHEIMER:     May we approach briefly, Your

03:00:05   18   Honor?

03:00:05   19             THE COURT:   Approach the bench.

03:00:07   20             (Bench conference.)

03:00:20   21             THE COURT:   What's the problem?

03:00:21   22             MR. MELSHEIMER:     Your Honor, I want to raise a

03:00:22   23   potential motion in limine violation.         Remember, back in

03:00:25   24   chambers, we talked about the slides where we'd objected to

03:00:30   25   them as arguing copying.      And the Plaintiffs said, no, no,
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03:00:33    1   we're going to argue commercial success.

03:00:36    2              And what he did when those slides were up is he

03:00:40    3   used the term "coveted."       He said Wells Fargo wanted and

03:00:44    4   coveted what he was saying they had.          I think that's a

03:00:47    5   violation of the Court's MIL.          He didn't seek leave to do

03:00:50    6   that.

03:00:50    7              And, in fact, it was represented that those slides

03:00:52    8   were going to be used for a different purpose.

03:00:54    9              THE COURT:     What's your response, Mr. Sheasby?

03:00:56   10              MR. SHEASBY:     Your Honor, covet is not the same as

03:00:58   11   copy.   That slide was clearly directed at the commercial

03:01:03   12   value of the technology, and there was no suggestion

03:01:05   13   whatsoever made.    It's not done in the willfulness section.

03:01:09   14   It was not done when we were talking about the use of our

03:01:12   15   application.    I don't believe there's been any violation of

03:01:15   16   our MIL.

03:01:16   17              THE COURT:     All right.    I'm going to overrule the

03:01:18   18   objection.

03:01:19   19              Let's proceed with --

03:01:19   20              MR. MELSHEIMER:     Thank you, Your Honor.

03:01:20   21              THE COURT:     -- opening statement.

03:01:25   22              MS. WILLIAMS:     Thank you, Your Honor.

03:01:26   23              (Bench conference concluded.)

03:01:28   24              THE COURT:     All right.    The Defendant may now

03:01:30   25   present its opening statement to the jury.
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03:01:33    1            Ms. Williams, you may proceed.

03:01:35    2            MS. WILLIAMS:     May it please the Court.

03:01:37    3            This case is about respecting the rules, what the

03:01:39    4   law gives and also what it requires.

03:01:41    5            My name is Danielle Williams, and I represent

03:01:46    6   Wells Fargo.   Let me tell you a little bit about myself, as

03:01:49    7   you did earlier today.

03:01:50    8            I'm born and raised in North Carolina.           I live

03:01:52    9   there in my hometown with my husband -- he's a lawyer,

03:01:57   10   too -- and our two boys.      My parents live there, too.          They

03:02:00   11   celebrated their 50th wedding anniversary last year.

03:02:04   12            Last week, one son got his driver's license and

03:02:10   13   the other one finished driver's ed.         Getting a driver's

03:02:16   14   license has given me the opportunity to teach my sons about

03:02:20   15   something I think is really important, respect.            Respect

03:02:23   16   for people, respect for processes, and respect for rules.

03:02:27   17   They may not like sitting in 30 hours of driver's ed class,

03:02:34   18   and they may not like logging 60 hours of supervised

03:02:41   19   driving, but they will respect the process and the rules

03:02:44   20   for getting a driver's license.

03:02:45   21            This case is about respect.        And in the time I

03:02:49   22   want to -- in the time I have with you today, I want to

03:02:52   23   talk with you about three things.

03:02:54   24            First, I want to talk with you about respect for

03:02:59   25   property rights and their lawful extent, respect for the
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03:03:04    1   process and place to assess those property rights, and,

03:03:09    2   lastly, respect for the value of those specific property

03:03:12    3   rights.

03:03:12    4              It can be frustrating when there isn't enough

03:03:17    5   respect.    We've seen trials on TV where lawyers are overly

03:03:21    6   dramatic, levelling accusations at each other, using sound

03:03:27    7   bytes, plain old-fashioned yelling.         They take things out

03:03:33    8   of context.    They use the sound bytes, and that's good for

03:03:37    9   drama, but it's not good for getting us to the truth.

03:03:44   10              And in that situation, it's not what Judge

03:03:46   11   Gilstrap so eloquently described earlier today about our

03:03:51   12   jury trial, tracing it from the Old Testament to the Magna

03:03:55   13   Carta to the Declaration of Independence, and finally to

03:03:58   14   our Constitution.

03:04:03   15              Respect is why we stand up for you when you come

03:04:03   16   in.   It's why we stand up for Judge Gilstrap when he comes

03:04:08   17   in.   And it's why we will call everyone Dr., Mr., Mrs.

03:04:12   18   during trial this week.

03:04:13   19              So let's talk first about respect for property

03:04:17   20   rights.    Our Constitution gives Congress the power to pass

03:04:24   21   laws relating to patents.       The right to a patent is not a

03:04:28   22   constitutional right.      It's a right that is created by

03:04:31   23   Congress and subject to the rules laid out by the Patent

03:04:34   24   Office that we must respect.

03:04:36   25              You heard about some of those in the video today,
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03:04:39    1   as well as from Judge Gilstrap.        And as we heard and see on

03:04:42    2   the screen, a patent is an official grant by the United

03:04:48    3   States Government of exclusive rights to the invention

03:04:50    4   claimed in the patent.

03:04:52    5            Nothing less, but nothing more.

03:04:58    6            The law doesn't favor these exclusive rights or

03:05:03    7   monopolies, and for good reason.        Monopolies can make

03:05:07    8   things more expensive for everybody and can hurt

03:05:11    9   competition.

03:05:11   10            So the patent law requires -- requires that your

03:05:16   11   patent monopoly must be limited to what you specifically

03:05:20   12   described in your patent and not a square inch more than

03:05:25   13   that.

03:05:25   14            Just like the deed to a piece of property

03:05:31   15   describes the boundaries of the -- of the landowner's

03:05:34   16   property, the patent claims describe the boundaries of the

03:05:37   17   patent owner's property.

03:05:39   18            The landowner and the patent owner are limited to

03:05:44   19   what they described in their patent and described in their

03:05:49   20   deed.

03:05:50   21            The application submitted to the Patent Office

03:05:53   22   includes what is called a specification.          Judge Gilstrap

03:05:56   23   talked with us about that earlier today.          And the law

03:06:00   24   requires that the specification contain a written

03:06:04   25   description of the claimed invention telling what the
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03:06:06    1   invention is.

03:06:10    2              And this is true for the two patents that are

03:06:12    3   asserted in this case against Wells Fargo.           The '605 patent

03:06:17    4   and the '681 patent, both are in your notebooks.

03:06:20    5              So let's look at the first page of these two

03:06:24    6   patents.    Here we have them on the screen.         The first page

03:06:28    7   tells us that both patents issued on July 3rd, 2018, just a

03:06:35    8   few weeks before USAA filed this lawsuit on August 17th,

03:06:40    9   2018.

03:06:42   10              The first page also tells us that USAA filed both

03:06:48   11   applications on July 28th, 2017, and claimed that they were

03:06:58   12   continuations of some old, earlier filed -- earlier filed

03:07:02   13   applications from Halloween of 2006.

03:07:05   14              So dates are important in this case.         So let's

03:07:07   15   look at these dates and some other ones on a timeline.

03:07:12   16              USAA just told you that they claimed these patents

03:07:17   17   filed in July 2017 and issued in July 2018 get the benefit

03:07:24   18   of the filing date of some old patents -- patent

03:07:29   19   applications filed in October 2006.

03:07:35   20              And as you can see, that is more than 10 years.

03:07:38   21   There's a 10-year gap between the October 2006 application

03:07:45   22   and the July 2017 application.

03:07:51   23              A lot can happen in 10 years.       The evidence will

03:07:56   24   show the first iPhone was available in 2007.           Wells Fargo

03:08:03   25   was the first bank to offer mobile banking in 2007.             Wells
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03:08:07    1   Fargo began offering mobile deposit in 2012, right along

03:08:14    2   with the rest of the industry, and years before USAA filed

03:08:16    3   for the patents asserted in this case in July of 2017.

03:08:19    4            Now, you might ask yourself, how can USAA file

03:08:28    5   patents in 2017 and claim they invented it in 2006?             Well,

03:08:36    6   the law allows USAA to file new applications on these old

03:08:43    7   original applications but only if -- only if those 2006

03:08:52    8   specifications describe the full scope of the invention in

03:08:57    9   the new claims.

03:08:57   10            That means for USAA to get the benefit of the

03:09:02   11   October 31st, 2006, date, the original 2006 applications

03:09:09   12   have to include a written description of the invention

03:09:14   13   claimed in the 2018 patent.

03:09:18   14            The law will not allow claims to something that

03:09:23   15   was not written down.

03:09:27   16            The evidence will show USAA did not write down in

03:09:32   17   2006 what they claimed to invent in 2018.          The claims in

03:09:36   18   the 2018 patents for the first time -- for the first time

03:09:41   19   talk about using a mobile device with a digital camera for

03:09:46   20   check deposit.

03:09:47   21            But none of that specificity was or ever has been

03:09:52   22   in those October -- was or have -- none of that specificity

03:09:57   23   was or ever has been in those October 2006 applications.

03:10:01   24            The old 2006 specifications only describe using a

03:10:09   25   desktop or a laptop computer connected to a separate camera
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03:10:15    1   or scanner.     And as you see on our timeline, this is from

03:10:19    2   Figure 1 of both the '605 and the '681 patents.            This is

03:10:24    3   all that is described.

03:10:25    4              You'll have the chance to look at the 2006

03:10:30    5   specifications which are the same as the 2018

03:10:34    6   specifications.

03:10:35    7              If you look at the '605 patent, for example,

03:10:37    8   everything from where the pictures start to the beginning

03:10:42    9   of the claims on the second to the last page is the

03:10:48   10   specification from 2006.      The first page and the claims are

03:10:54   11   the new part from 2017.      And it's the same for the '681

03:11:00   12   patent.

03:11:00   13              So what happened between October 2006 and July

03:11:12   14   2017?     Well, the iPhone happened.     Mobile banking happened.

03:11:19   15   Mobile deposit happened.      And not just at Wells Fargo.           The

03:11:23   16   evidence will show USAA and its witnesses claim October

03:11:31   17   2006 as their invention date.       But without the written

03:11:32   18   description and the 2006 specifications, USAA can't claim

03:11:36   19   these more than 10 years of innovation as its own.

03:11:41   20              The patent laws don't allow an inventor to add or

03:11:44   21   expand claims.     Just like we can't expand our property line

03:11:48   22   to include our neighbor's new house, we can't secure a

03:11:52   23   Lotto ticket after the winning numbers have been announced.

03:11:57   24              Here we are limited to the property rights

03:12:01   25   described in the deed originally before the new house was
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03:12:06    1   built, before the Lotto winner was announced, and before

03:12:11    2   banking moved to mobile phones.

03:12:14    3            The evidence will show that in 2006, USAA didn't

03:12:19    4   write down what it is now claiming its invention is.             So

03:12:23    5   its 2018 patents are not valid.

03:12:31    6            Well, so what is USAA saying about this?            Well,

03:12:33    7   we've heard from USAA.      They're pointing to PDAs as it's

03:12:41    8   used in the '605 patent.      PDA is an old term, personal

03:12:46    9   digital assistant.     And in 2006, they weren't smartphones,

03:12:49   10   and they weren't mobile phones.        More importantly, the '605

03:12:54   11   patent mentions PDAs exactly two times.

03:12:58   12            And here we see those two times on the screen.

03:13:02   13   And the context is important.       We talk -- the patent talks

03:13:08   14   about PDAs in the context of network or distributed

03:13:15   15   computing environment, and in the same breath as MP3

03:13:21   16   players and televisions.

03:13:26   17            The context is important in life, and it's

03:13:29   18   important in patent law.      And when we look at the context

03:13:32   19   here, we see PDAs are in the same list as MP3 players and

03:13:39   20   televisions.

03:13:40   21            The '605 patent doesn't say MP3 players or PDAs

03:13:46   22   and televisions have cameras, and it doesn't say that PDAs

03:13:53   23   and MP3 players and televisions are used for check deposit.

03:14:01   24   And the '605 patent is about check deposit.

03:14:02   25            What about the '681 patent?        Well, it doesn't
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03:14:07    1   mention PDAs at all.     So when you look at what they're

03:14:12    2   pointing to, PDAs, and we think about it in the context,

03:14:21    3   the specifications from 2006 did not include what they're

03:14:22    4   trying to claim today.

03:14:26    5            Now, as you heard in the video, the patent system

03:14:31    6   works because the inventor is required to describe the

03:14:34    7   invention in clear and specific terms so that the public

03:14:39    8   knows what the boundaries of the invention are.

03:14:44    9            And the evidence will show that USAA is claiming

03:14:44   10   it wrote down its invention in 2006.         But there's nothing

03:14:49   11   in the 2006 specification to support that.           It's not enough

03:14:53   12   to find the word PDA, like it's a game of word search.             The

03:15:00   13   rules require USAA to write down the invention in clear and

03:15:04   14   specific terms, and the evidence will show they didn't do

03:15:09   15   that.

03:15:09   16            That leads me to respect for the process, the

03:15:15   17   process in place to assess property rights.           The video that

03:15:19   18   Judge Gilstrap showed you, the Federal Judicial Center

03:15:23   19   created that just for you, especially for you, to explain

03:15:29   20   why there are disputes about patents that require your

03:15:33   21   help.   You are a critical part of the process.

03:15:37   22            As Mr. Hill talked with you about earlier today,

03:15:40   23   as well, a part of the process that we greatly respect.              As

03:15:45   24   the video told us, a party accused of infringement is

03:15:48   25   entitled to challenge the accusation of infringement and is
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03:15:52    1   entitled to challenge the patentability of the patent.

03:15:55    2   These aren't excuses as USAA suggested.          This is the

03:16:03    3   process in place to assess the property rights that we must

03:16:06    4   respect.

03:16:09    5              We heard also in the video why you're being asked

03:16:13    6   to review these questions.       Here, prosecution of a patent

03:16:19    7   application takes place without input from other people.

03:16:24    8   And so it's important to give other people the opportunity

03:16:27    9   to challenge it in court.

03:16:29   10              And, second, of course, of course, there's an

03:16:37   11   opportunity for mistakes to be made and for information to

03:16:41   12   be overlooked.    As we learned -- as the video told us,

03:16:46   13   examiners have a lot to work -- a lot of work to do, and no

03:16:51   14   process is perfect.

03:16:52   15              Just like the law allows us to contest the

03:17:03   16   property tax bills from the county appraisal district that

03:17:07   17   Mr. Hill talked with you about earlier today, anyone

03:17:11   18   accused of infringement is entitled to contest -- to

03:17:16   19   contest the accusation of infringement and to contest the

03:17:19   20   validity of that patent, and that process includes you.

03:17:22   21              Of course, mistakes can be made and information

03:17:27   22   can be overlooked by the Patent Office.          Your role in the

03:17:29   23   process is to be the check and balance on that Patent

03:17:32   24   Office.    The evidence will show mistakes were made here,

03:17:36   25   and catching and fixing those mistakes is exactly what our
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03:17:39    1   patent system includes and depends on this very proceeding.

03:17:44    2              So let's go back to our timeline.        The evidence

03:17:49    3   will show USAA paid to put the patent applications on

03:17:53    4   Track 1, meaning the Patent Office had to act on them

03:17:59    5   within a year.    You heard in the video that it takes an

03:18:01    6   average of three years for the Patent Office to act on a

03:18:04    7   patent.

03:18:04    8              Here in the one year preceding -- in the one --

03:18:17    9   the evidence will show that during the one year preceding,

03:18:18   10   the Patent Office gave no express indication that they

03:18:21   11   looked at the 2006 specifications to confirm or to see

03:18:25   12   whether mobile phones were described during that one-year

03:18:29   13   process.

03:18:29   14              Now, in response, we heard, well, there were two

03:18:31   15   patent examiners who reviewed that and who issued the

03:18:37   16   patents.    Well, but that doesn't answer the debate.           That

03:18:43   17   doesn't end the discussion.       Here Wells Fargo is entitled

03:18:49   18   to challenge the patentability because mistakes can be made

03:18:52   19   and because information can be overlooked, and that's

03:18:55   20   exactly why we are here and why you are part of the process

03:19:02   21   to be the check and balance on the Patent Office.

03:19:04   22              You will have the opportunity to see those old

03:19:06   23   2006 specifications for yourself and use your common sense

03:19:11   24   to determine what is in there and what is not in there.

03:19:14   25              Respect for the process includes giving you the
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03:19:17    1   information through documents and witnesses so you can

03:19:20    2   decide for yourself, and that is our plan to give you the

03:19:25    3   information.

03:19:29    4            In addition to the absence of written description,

03:19:32    5   Wells Fargo is going to present evidence that mobile

03:19:38    6   deposit does not infringe the patents.          USAA cannot prove

03:19:41    7   that Wells Fargo Mobile Deposit practices every element of

03:19:45    8   the claims that they're asserting.

03:19:46    9            So for the '681 patent, the claims require that

03:19:51   10   certain things happen on the mobile phone, including OCR,

03:19:54   11   or optical character recognition.        And the OCR must be

03:20:02   12   performed of the amount.      OCR is a -- an old technology

03:20:09   13   from the 1980s.    It is technology that allows a computer to

03:20:13   14   read the words and numbers on a document as the document is

03:20:18   15   being scanned.

03:20:19   16            Here -- here, the evidence will show that Wells

03:20:24   17   Fargo's system does not do what the claims require as far

03:20:28   18   as OCR of the check amount.

03:20:31   19            The evidence will also show that as to the '605

03:20:35   20   and the '681 patents, that USAA cannot prove infringement

03:20:38   21   because of the way that they chose to write its claims.

03:20:41   22   And you'll hear a lot more of that later.

03:20:43   23            Members of the jury, sometimes in a patent case,

03:20:51   24   as was mentioned in the video, jurors may feel that they

03:20:57   25   are somehow not qualified enough or lack expertise to judge
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03:21:00    1   technical issues.     And there are three reasons why that

03:21:07    2   should not be of any concern for you in this case.

03:21:10    3            First, much of what you need to decide in this

03:21:14    4   case is in your notebooks.       The 2006 specification does not

03:21:18    5   include what USAA is trying to claim their invention is

03:21:23    6   today.

03:21:24    7            Second, we have brought you experts who will talk

03:21:28    8   with you about the technical issues, and they will be able

03:21:31    9   to explain to you all of the technology in a way that can

03:21:37   10   be understood by all.

03:21:40   11            And, third, you will be able to assess the

03:21:43   12   credibility and the believability of the witnesses that

03:21:45   13   come before you based on your common sense, your own

03:21:49   14   experiences, and your judgment about who can be trusted and

03:21:53   15   who you need to be a little more cautious about.

03:21:56   16            Lastly, let's talk about respect for the value of

03:22:00   17   the property rights.     The evidence will show that the

03:22:07   18   patents are not valid and not infringed, but out of respect

03:22:10   19   for the process, as Mr. Hill told you earlier, Wells Fargo

03:22:13   20   will present evidence about the value of any legitimate

03:22:18   21   invention in the patents.       To be clear, the law allows USAA

03:22:21   22   to be compensated for the value of what it actually

03:22:28   23   invented and nothing more, and in this case, no earlier

03:22:32   24   than August 2018 when it filed its lawsuit.

03:22:39   25            Here the evidence will show USAA is trying to
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03:22:42    1   broaden its invention to capture the value of things that

03:22:46    2   already existed in 2006.      USAA is claiming the value of

03:22:52    3   pre-existing technologies -- other people's property as its

03:22:56    4   invention.    So how -- how do we know that?

03:23:01    5            Well, you didn't hear much of this from USAA in

03:23:04    6   its opening, but you'll hear from their damages expert,

03:23:08    7   Mr. Weinstein, and he believes that the value of the

03:23:12    8   inventions in these patents are fraud prevention and fraud

03:23:16    9   detection.    And he relies on another USAA witness,

03:23:21   10   Mr. Calman.    I'm not sure whether you'll hear from him or

03:23:25   11   not in this case.

03:23:26   12            But they say that the value of the patents is

03:23:31   13   fraud prevention and fraud detection.         But when you look at

03:23:34   14   those patents, you won't see the word fraud, you won't see

03:23:39   15   the words fraud prevention, and you won't see the words

03:23:44   16   fraud detection.

03:23:44   17            One kind of fraud prevention is called duplicative

03:23:49   18   detection.    It's what banks use to make sure the same check

03:23:55   19   isn't deposited twice, whether by mistake or intentionally.

03:23:59   20   And there are many ways to do it, and the evidence will

03:24:02   21   show that Wells Fargo has been using duplicate detection

03:24:04   22   for decades, even before October 2006.

03:24:07   23            But Wells Fargo began as a bank in the 1850s.             As

03:24:12   24   you might imagine, a bank that's been around for nearly 170

03:24:16   25   years has many customers across the United States.            Wells
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03:24:22    1   Fargo has over 5,500 branches, over 13,000 ATMs across the

03:24:27    2   United States to serve its customers, including members of

03:24:34    3   the armed forces, but Wells Fargo serves everybody.

03:24:36    4              In addition to these physical locations, Wells

03:24:39    5   Fargo offers online banking, and the evidence will show

03:24:45    6   that Wells Fargo was -- was first in Internet banking,

03:24:48    7   first in remote deposit capture, and first in mobile

03:24:55    8   banking.

03:24:55    9              Wells Fargo has never been sitting on the

03:24:57   10   sidelines.    It has never been watching for innovation.

03:25:01   11   Wells Fargo has been an innovator and an innovator in

03:25:08   12   online technology since the beginning.

03:25:09   13              Now, let me introduce you to one of Wells Fargo's

03:25:12   14   engineers Mr. Byron Chun.

03:25:14   15              Mr. Chun, will you please stand up?        Thank you.

03:25:20   16              Mr. Chun has been a software engineer for 23 years

03:25:25   17   at Wells Fargo.    In 2004, Mr. Chun created an online

03:25:29   18   website for Wells Fargo for its customers to use with an

03:25:32   19   existing scanner so they could deposit checks without

03:25:36   20   having to go to the branch and deposit them in person.

03:25:40   21   This service is called Desktop Deposit.

03:25:43   22              By March 2005, Desktop Deposit was launched

03:25:50   23   nationwide, and it is still in use today.          At the time,

03:25:54   24   Desktop Deposit was available in 2004.          Duplicate

03:25:57   25   detection, amount verification, customer authentication,
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03:26:02    1   logging, endorsement checking, these fraud prevention --

03:26:11    2   these fraud prevention measures were already in place at

03:26:16    3   the time Desktop Deposit was made nationwide in 2005.

03:26:18    4            So all of the fraud benefit -- excuse me, all the

03:26:22    5   fraud prevention and detection benefits that USAA points to

03:26:26    6   as the value of these patents was already in place at least

03:26:34    7   by 2005 when this Desktop Deposit was launched nationwide.

03:26:39    8            THE COURT:    You have five minutes remaining.

03:26:42    9            MS. WILLIAMS:     Thank you, Your Honor.

03:26:42   10            Now, USAA may point to the language and the claim

03:26:44   11   that duplicate detection is performed.          Well, the patent

03:26:47   12   claims don't describe any particular approach or method for

03:26:50   13   duplicate detection, just that it occurs.          And so let me

03:26:54   14   give you an illustration.

03:26:57   15            And here we have on the screen a patent that

03:27:00   16   has -- or is not a patent.       It has never been issued.        But

03:27:05   17   just to give you an illustration of what I'm talking about.

03:27:07   18            If you got a patent on landing on the moon and the

03:27:09   19   first step was getting into a rocket ship, the second is

03:27:14   20   flying the rocket ship to the moon and the second is

03:27:16   21   landing on the moon, well, that second step, flying the

03:27:19   22   rocket ship, is a little more complicated than just flying

03:27:23   23   the rocket ship.

03:27:25   24            And that's exactly what we have here.           We've got

03:27:28   25   duplicate detection and these other fraud prevention
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03:27:32    1   methods just simply stated in the patent.          But there's no

03:27:36    2   description of any new method.        It can just be any old way

03:27:39    3   of doing those.

03:27:42    4            Now, we're surprised in this case to hear that

03:27:49    5   USAA is saying Wells Fargo should pay for the benefit of

03:27:51    6   duplicate detection and these other features, especially

03:27:57    7   since Wells Fargo has been doing duplicate detection and

03:27:59    8   these other fraud prevention measures since well before the

03:28:02    9   patent applications were filed, and certainly before 2006.

03:28:07   10            And since USAA didn't actually do any of the work

03:28:14   11   inventing any of those fraud prevention features, and we're

03:28:18   12   certainly surprised to hear Wells Fargo -- excuse me, hear

03:28:21   13   USAA say that the inventions are worth over a hundred

03:28:25   14   million dollars and 85 cents per deposit because the

03:28:28   15   evidence will show we're not using it.          USAA didn't invent

03:28:30   16   these fraud prevention features.        And nobody, nobody has

03:28:34   17   ever paid USAA to license these patents.

03:28:38   18            Here, USAA is trying to take credit for work it

03:28:43   19   didn't do and for value it doesn't provide.

03:28:48   20            So let's talk about what happens now.           USAA is

03:28:51   21   going to go first and present its witnesses.           As Mr. Hill

03:28:54   22   mentioned this morning, we will have the opportunity to

03:28:57   23   cross-examine them.     We will respect your time by bringing

03:29:01   24   out information that's important to our case.

03:29:03   25            Now, some questioning will be longer and others
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03:29:07    1   will be shorter, but we will take the time to bring out the

03:29:11    2   information that's important to this case.

03:29:13    3            Then we will present our witnesses, and let me

03:29:17    4   just take a minute to introduce a few of those I expect you

03:29:20    5   may meet this week if time permits.

03:29:23    6            So Mr. Al Hecht, will you please stand up?

03:29:26    7            So Mr. Hecht has spent nearly his 35-year career

03:29:32    8   all in check processing.      He has been at the forefront of

03:29:35    9   all check processing technology during his career.            And I

03:29:39   10   think you will be surprised to hear what USAA is claiming

03:29:43   11   in this case after you hear from Mr. Hecht.

03:29:46   12            Mr. Bill Saffici, will you please stand up?

03:29:51   13   Mr. -- thank you.

03:29:53   14            Mr. Saffici will talk with you about why the

03:29:55   15   patents are invalid and what he has looked at.            He has

03:29:59   16   spent his entire 50-year career in check processing, and I

03:30:04   17   think that you will find him very refreshing.           He has

03:30:10   18   hands-on experience all of those 50 years, and will be --

03:30:13   19   bring that practical objective perspective to you.

03:30:15   20            Dr. Villasenor, will you please stand up?            Thank

03:30:22   21   you.

03:30:22   22            This is Dr. Villasenor.        He has taught me the

03:30:24   23   technology in this case, and he will teach you the

03:30:27   24   technology in this case as well.

03:30:29   25            And then, lastly, Mr. Chris Gerardi, will you
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03:30:35    1   please stand up?    Thank you.

03:30:37    2            Mr. Gerardi has over 25 years experience in

03:30:40    3   valuing patents, and he will talk with you about the proper

03:30:44    4   measure of damages, if any, in this case.

03:30:47    5            Members of the jury, this case is about respect

03:30:50    6   for rules.   If you didn't write down your invention in

03:30:56    7   2006, you can't claim it in 2018.        If you can't prove

03:31:01    8   infringement element-by-element, then you haven't proven

03:31:07    9   infringement.    It's that simple.

03:31:10   10            Thank you for your time, and we look forward to

03:31:12   11   presenting our case to you.

03:31:16   12            THE COURT:    All right.     Ladies and gentlemen of

03:31:19   13   the jury, you've now heard the opening statements from both

03:31:21   14   Plaintiff and Defendant.

03:31:23   15            Before we proceed with the Plaintiff's

03:31:24   16   case-in-chief and they call their first witness, we're

03:31:27   17   going to take a short recess.

03:31:29   18            This is one of those times when you can simply

03:31:31   19   close your juror notebooks and leave them in your chairs.

03:31:34   20   My intention is to have you back shortly, and we'll

03:31:37   21   continue then with the Plaintiff's first witness.

03:31:39   22            Remember, during this recess, not to discuss the

03:31:41   23   case among yourselves.      Follow all the instructions I've

03:31:44   24   given you.   Get a drink of water, stand up, shake your legs

03:31:48   25   around, and then come back in, and we'll continue with the
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03:31:51    1   Plaintiff's first witness.

03:31:52    2            The jury is excused for recess.

03:32:11    3            (Jury out.)

03:32:14    4            THE COURT:    Be seated, please.

03:32:19    5            Off the record.

03:32:34    6            (Pause in proceedings.)

03:32:34    7            THE COURT:    Back on the record.

03:32:37    8            Couple of things.      I know that Judge Payne denied

03:32:42    9   granting an order in limine on describing and making

03:32:47   10   reference to the PTO.      I just heard enough of making them

03:32:54   11   angels and devils at the same time to lead me to tell you

03:32:57   12   all I don't want to hear about the expert, trained

03:33:00   13   examiners who are flawless anymore, on the PTO.            And I

03:33:04   14   don't want to hear about the crazy, sloppy, they're always

03:33:07   15   wrong examiners, from the other side, of the PTO.            I do not

03:33:11   16   want to hear descriptions or characterizations of the

03:33:14   17   United States Patent and Trademark Office or its examiners

03:33:17   18   any further in this trial unless you come and get prior

03:33:20   19   permission from me at the bench.        All right?

03:33:23   20            I'm, in effect, granting that order in limine from

03:33:26   21   the bench now because of what I heard from both sides

03:33:29   22   during opening statements.

03:33:30   23            Secondly, I want to remind Defendants of something

03:33:35   24   we talked about in chambers this morning when I precluded

03:33:40   25   them from using a demonstrative slide under their written
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03:33:43    1   description defense that called for a requirement of an

03:33:47    2   integrated camera which I struck and told them they

03:33:51    3   couldn't use that slide with that language in it because

03:33:53    4   that was really a description of the product, not the claim

03:33:57    5   language.

03:33:57    6              Your written description defense is going to have

03:34:00    7   to hew to the claim language, not to the products that may

03:34:03    8   have presented themselves in the marketplace later.             You

03:34:06    9   can't take old language and then say because some new

03:34:10   10   product that we say falls within that broad language isn't

03:34:16   11   fitting the description, then we win on written

03:34:17   12   description.    You're going to have to live or die by the

03:34:19   13   language of the claims and not any products or their

03:34:22   14   descriptions or their absence from the actual language in

03:34:26   15   the specification.

03:34:27   16              And I want to reiterate that on the record, and

03:34:30   17   I'm doing it now, because I see a tendency for the

03:34:32   18   Defendants to go away from the claim language and toward

03:34:38   19   products that are beyond the scope of the claim language

03:34:41   20   with regard to this written defense -- written description

03:34:44   21   defense.    And I want to make it crystal clear on the record

03:34:47   22   that that's not permissible, and I'm going to instruct the

03:34:49   23   Defendants to avoid that going forward.

03:34:54   24              I thought we covered that off the record in

03:34:56   25   chambers this morning, but I am concerned about that,
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03:35:00    1   having heard the opening arguments that I just heard.

03:35:02    2            All right.     With those clarifications, we're going

03:35:04    3   to take about a five-minute recess, then we'll come back in

03:35:06    4   and proceed with Plaintiff's first witness.

03:35:08    5            The Court stands in recess.

03:35:11    6            COURT SECURITY OFFICER:        All rise.

03:35:12    7            (Recess.)

03:46:04    8            (Jury out.)

03:46:05    9            COURT SECURITY OFFICER:        All rise.

03:46:06   10            THE COURT:     Mr. Sheasby, the Plaintiff's first

03:46:08   11   witness is Brady; is that correct?

03:46:09   12            MR. SHEASBY:     Yes, Your Honor.

03:46:10   13            THE COURT:     What's your expected time for direct

03:46:12   14   examination?

03:46:13   15            MR. SHEASBY:     An hour and 15 minutes, Your Honor.

03:46:14   16            THE COURT:     All right.    And, Mr. Hill, you're

03:46:16   17   going to cross?

03:46:18   18            MR. HILL:     I am, Your Honor.

03:46:19   19            THE COURT:     What's your best guess on time to

03:46:22   20   cross?

03:46:22   21            MR. HILL:     It could be 60 to 90 minutes, Your

03:46:26   22   Honor.

03:46:26   23            THE COURT:     How long is the Oakes deposition, both

03:46:30   24   designations and counters, estimated?

03:46:41   25            MS. GLASSER:     18 minutes.
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03:46:42    1              MR. SHEASBY:     18 minutes.

03:46:43    2              THE COURT:     It doesn't look like we're going to

03:46:45    3   get to Mr. Conte today.       I understand that we have disputes

03:46:48    4   that are still unresolved.         We'll have to do that either

03:46:51    5   after I send the jury out or tomorrow morning.

03:46:51    6              My -- my question was calculated to determine

03:46:56    7   whether we realistically were going to get to Conte today

03:46:58    8   or not.    It does not look like it.

03:47:01    9              Anybody see it differently?

03:47:03   10              MR. HILL:    No, sir.

03:47:03   11              MR. SHEASBY:     No, Your Honor.

03:47:04   12              THE COURT:     Okay.

03:47:04   13              MR. SHEASBY:     Your Honor, there are a couple of

03:47:05   14   issues, with your permission.

03:47:07   15              THE COURT:     All right.   What have you got?

03:47:08   16              MR. SHEASBY:     One, we would like to invoke the

03:47:10   17   Rule, if you would allow us to do so.

03:47:15   18              THE COURT:     I intend to ask you that as soon as we

03:47:16   19   get the jury back in the box.

03:47:16   20              MR. SHEASBY:     The second issue is, we did want to

03:47:17   21   flag two issues relating to limine.         One, that we had an

03:47:21   22   express agreement in front of Judge Payne that Wells Fargo

03:47:25   23   would only say there are no licenses to the asserted

03:47:28   24   patents.

03:47:28   25              THE COURT:     You need to go to the podium,
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03:47:30    1   Mr. Sheasby.    When you turn and look at your notes and

03:47:32    2   start talking, I don't hear you.

03:47:34    3              MR. SHEASBY:   I apologize.

03:47:35    4              We had an express agreement with Judge Payne that

03:47:38    5   the only description of licensing was, quote, no licenses

03:47:42    6   to the asserted patents.      Counsel referred to no one has

03:47:46    7   paid for a license to the asserted patents.           And may -- I

03:47:49    8   understand you made -- it is of particular sensitive to us,

03:47:54    9   and we just request that the actual language that Judge --

03:47:57   10   Judge Payne used be used in the future.          That's our first

03:48:00   11   concern.

03:48:01   12              The second concern is that there was reference

03:48:03   13   made to a fast-track process, that the Patent Office only

03:48:08   14   had a year to -- to conduct the examination, and I don't

03:48:12   15   believe that's proper.      This is not about angels versus

03:48:16   16   devils.    I take the Court's admonition, but that was

03:48:19   17   clearly not proper to suggest that somehow the Patent

03:48:24   18   Office -- this got railroaded through or that because we

03:48:27   19   used this procedure, that there was something improper.

03:48:30   20   And there was reference to that in the opening.

03:48:33   21              I'm not so concerned -- I don't want to ask for a

03:48:36   22   curative instruction at this point, but I am concerned that

03:48:38   23   it will continue in Mr. Brady's deposition --

03:48:44   24   cross-examination.

03:48:44   25              And then the third issue that I have is there was
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03:48:47    1   reference to monopolies increasing the prices on -- on

03:48:50    2   customers.

03:48:50    3            And, once again, I don't want a limine

03:48:54    4   instruction, but that has no place in this case to suggest

03:48:58    5   that somehow this patent right is going to increase cost on

03:49:01    6   customers.   I don't think that's a proper argument.            And --

03:49:04    7   and I would just want to state for the record my objection

03:49:06    8   to those three points, Your Honor.

03:49:07    9            THE COURT:    All right.

03:49:17   10            MR. HILL:    May I respond, Your Honor?

03:49:19   11            THE COURT:    You may respond briefly.

03:49:20   12            MR. HILL:    Thank you.

03:49:21   13            Your Honor, with regard to the licenses issue,

03:49:24   14   that's cutting it pretty thin.        He's seeking to

03:49:28   15   micromanage, not keep a skunk out of the jury box, the

03:49:32   16   purpose of a limine, but micromanage how the same fact is

03:49:34   17   delivered to the jury.

03:49:35   18            Saying the patents have not been licensed or no

03:49:37   19   one has licensed or no one has paid USAA for a license,

03:49:41   20   Your Honor, all state the same fact.         None in a more

03:49:46   21   inflammatory way than another.

03:49:49   22            And so we would ask for the freedom to try our

03:49:50   23   case, both having different perspectives, since that

03:49:53   24   doesn't implicate any concerns that ought to be of concern

03:49:54   25   to confusing or creating some unfairness properly for a
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03:49:58    1   limine issue.

03:49:59    2            On the fast-track issue, Your Honor -- fast track

03:50:01    3   was not said -- let's be clear about that -- in the opening

03:50:05    4   statement.   What was said is that they were given Track

03:50:09    5   1 -- a Track 1 request was made and that that required that

03:50:11    6   it occur within a year.

03:50:12    7            Your Honor, part of our defense, properly so, is

03:50:15    8   that we believe a mistake was made.         We have to say that.

03:50:19    9   We -- we get to say that.       And as part of common sense,

03:50:24   10   when things happen faster, sometimes mistakes are made.

03:50:27   11   That's the whole basis of the -- of putting that forward

03:50:30   12   for the jury to consider.       It's also a plain fact of record

03:50:34   13   that appears in the prosecution history.

03:50:37   14            And so we don't believe there's anything improper

03:50:39   15   about pointing out the timeline as part of the holistic

03:50:44   16   picture of the issuance of these patents.

03:50:46   17            Final issue, Your Honor, on the issue of

03:50:49   18   monopolies, the Georgia-Pacific factors reference the

03:50:53   19   patent monopoly.    The patent videos themselves discuss this

03:50:56   20   exclusive right.    It is what it is.       There's nothing

03:50:57   21   pejorative about discussing that a patent is a monopoly.

03:51:03   22            And if -- so beyond that, there's been references

03:51:05   23   by both parties to cost associated with -- they say it

03:51:09   24   saves us lots of money.      As such, that, you know, it saves

03:51:12   25   consumers money, saves -- and for us to suggest that the
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03:51:16    1   patent monopoly -- a patent monopoly in the abstract used

03:51:20    2   improperly could drive up prices is not improper.

03:51:24    3              THE COURT:    All right.   Well, I don't want to hear

03:51:31    4   any more argument.       There was an agreement worked out

03:51:34    5   before Judge Payne during the pre-trial process on precise

03:51:37    6   language.    I want that precise language used.

03:51:40    7              MR. HILL:    And, Your Honor, that's where I

03:51:41    8   quarrel.    I don't believe that there is a stipulation of

03:51:44    9   precise language before Judge Payne.         Judge Payne said,

03:51:46   10   when we asked, can we say that the patents have never been

03:51:51   11   licensed, he said, yeah.       It wasn't as if we stipulated to

03:51:55   12   a text of a stipulation.

03:51:56   13              THE COURT:    All right.   Then I'll give you a

03:51:57   14   stipulation right now or I'll give you guidance right now.

03:52:00   15              You can say that there are no licenses.         You're

03:52:03   16   not going to say that someone didn't pay for a license.

03:52:07   17   The language you're -- both sides will use is that there

03:52:11   18   are -- there is not a license.        Simple fact.     Don't

03:52:19   19   characterize it.       Don't put the word "paid," "rejected,"

03:52:19   20   "offered," no characterization.        Simply the statement,

03:52:21   21   there are no -- there is no license.         And that's how I want

03:52:25   22   it handled from this point forward.

03:52:28   23              Part of my instruction after the jury left for

03:52:41   24   recess after openings with regard to denigrating the PTO

03:52:45   25   had to do with this Track 1 or fast-track process.             It's
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03:52:49    1   clear that these patents were submitted to the PTO under

03:52:53    2   that Track 1 procedure.

03:53:03    3              But at this point I do not and I'm not going to

03:53:03    4   permit a characterization of that procedure as inherently

03:53:05    5   flawed or -- or error-ridden or some other denigrating way

03:53:11    6   to describe it.     It is what it is.      These applications were

03:53:14    7   submitted under it.     And that's all that needs to be said

03:53:18    8   about that process.

03:53:19    9              That doesn't preclude the Defendant from saying

03:53:22   10   they think the Patent Office made a mistake.           You have the

03:53:25   11   right to say you think they made a mistake and to show why

03:53:28   12   you think they made a mistake.

03:53:31   13              But you don't get to say that the application

03:53:32   14   process is somehow rushed up, hurried, imprecise, improper,

03:53:39   15   inefficient, ineffective, whatever adjective you can put

03:53:44   16   with it.     I don't want to characterize the fast-track or

03:53:47   17   Track 1 process other than identify it for what it is.

03:53:51   18              Then separate and apart from that, if there's an

03:53:54   19   argument about a mistake made and a substantive basis for

03:53:56   20   it in the evidence, then we'll cross that bridge when it

03:54:00   21   comes to closing arguments about how you characterize it.

03:54:02   22   All right?

03:54:03   23              MR. HILL:   Your Honor, just out of -- out of full

03:54:05   24   disclosure -- well, I'll bring this up, Your Honor, after

03:54:09   25   we see Mr. Brady's direct examination.
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03:54:12    1              THE COURT:    If there are any questions about

03:54:14    2   following my instructions, come to the bench for

03:54:18    3   clarification.

03:54:18    4              MR. HILL:    Yes, sir.

03:54:18    5              THE COURT:    That goes to both sides.

03:54:20    6              And with regard to the monopoly character of a

03:54:23    7   patent as raising prices for consumers, that's -- that's no

03:54:31    8   more proper than the old arguments if you pay this much per

03:54:35    9   this component, then the price of your cell phone is going

03:54:38   10   to be $10,000.00.       Those arguments are -- are not proper.

03:54:44   11   They never have been.

03:54:45   12              There is a -- there is a monopoly characteristic

03:54:48   13   inherent for a set term as a part of the patent issuance

03:54:52   14   process.    We all know that.       That's a fact.    It doesn't

03:54:55   15   need to be characterized.       It doesn't need to be attributed

03:54:58   16   to higher prices or consumer impacts or anything either

03:55:03   17   overtly positive or overtly negative.         It needs to be

03:55:07   18   stated as a fact, if it's stated at all, but not

03:55:10   19   characterized.

03:55:10   20              MR. HILL:    Thank you, Your Honor.       And just --

03:55:11   21   just to make sure, because our goal, Your Honor, of course,

03:55:14   22   is to stay on the right side of everything with you, and so

03:55:18   23   I want to make sure that the issue is not saying the word

03:55:21   24   monopoly.    Are you telling us we can say that or we cannot

03:55:25   25   say that, I just want to be clear.
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03:55:27    1              THE COURT:     As long as you're describing the

03:55:28    2   characteristics of an issued patent as granting a -- a

03:55:36    3   monopoly for a limited time.

03:55:37    4              MR. HILL:    Yes, sir.      Yes, sir.   That's all I

03:55:39    5   wanted to clarify.

03:55:39    6              THE COURT:     But that's all.

03:55:40    7              MR. HILL:    Thank you.

03:55:41    8              THE COURT:     All right.     Any questions about that

03:55:43    9   guidance from either Plaintiff or Defendant?

03:55:44   10              MR. SHEASBY:     Nothing from Plaintiffs, Your Honor.

03:55:46   11              MR. MELSHEIMER:     Well-understood, Your Honor.

03:55:48   12              THE COURT:     All right.     Mr. Sheasby, this is your

03:55:51   13   witness.    You can go to the podium and prepare.

03:55:54   14              While you're doing that, you can bring in the

03:55:56   15   jury, please.

03:56:28   16              (Jury in.)

03:56:28   17              THE COURT:     Welcome back, ladies and gentlemen.

03:56:33   18   Please be seated.

03:56:33   19              Counsel, does either party wish to invoke the Rule

03:56:37   20   at this time?

03:56:37   21              MR. SHEASBY:     Plaintiffs wish to invoke the Rule,

03:56:40   22   Your Honor.

03:56:40   23              THE COURT:     All right.     Is this request, counsel,

03:56:45   24   to exclude expert witnesses?

03:56:47   25              MR. SHEASBY:     It is not, Your Honor, only fact
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03:56:50    1   witnesses.

03:56:52    2              THE COURT:     No, the request to invoke the Rule

03:56:54    3   would exclude its application to expert witnesses.

03:56:57    4              MR. SHEASBY:     Yes, Your Honor.

03:56:58    5              THE COURT:     That's what I thought you meant.

03:57:00    6              Okay.   The Rule has been invoked.       That means

03:57:03    7   unless you are a corporate representative, a designated

03:57:06    8   expert witness, then you are to excuse yourself from the

03:57:12    9   courtroom and remain outside until you're called, which

03:57:15   10   categorically should leave fact witnesses -- fact witnesses

03:57:19   11   as those that are covered by the invocation of the Rule

03:57:21   12   here.

03:57:22   13              So if you're a fact witness in this case and

03:57:24   14   you're not an expert witness and you're not a corporate

03:57:27   15   representative, then you should excuse yourself and remain

03:57:30   16   outside until you're called to testify, and then only be

03:57:33   17   present in the courtroom during your testimony.

03:57:35   18              For the record, the Rule on that basis has been

03:57:38   19   invoked.

03:57:39   20              MR. SHEASBY:     Thank you, Your Honor.

03:57:40   21              THE COURT:     All right.   Plaintiff, call your first

03:57:43   22   witness.

03:57:43   23              MR. SHEASBY:     Your Honor, Plaintiffs call their

03:57:46   24   first witness, Mr. John Brady, USAA's corporate

03:57:49   25   representative.
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03:57:49    1               THE COURT:     All right.   If you'll come forward and

03:57:51    2   be sworn by our courtroom deputy, please, Mr. Brady.

03:57:57    3               (Witness sworn.)

03:57:58    4               THE COURT:     Please come around, sir.     Have a seat

03:58:09    5   on the witness stand.

03:58:12    6               All right.     Counsel, you may proceed with your

03:58:25    7   direct examination.

03:58:25    8               MR. SHEASBY:     Thank you, Your Honor.

03:58:25    9                 JOHN BRADY, PLAINTIFF'S WITNESS, SWORN

03:58:25   10                              DIRECT EXAMINATION

03:58:26   11   BY MR. SHEASBY:

03:58:26   12   Q.   Good afternoon, Mr. Brady.         Can you introduce yourself

03:58:29   13   to the jury?

03:58:30   14   A.   Yes.    My name is John Brady.

03:58:32   15   Q.   Why are you testifying today, Mr. Brady?

03:58:35   16   A.   I was one of the technology leaders at USAA at the bank

03:58:39   17   when we initially implemented consumer remote deposit

03:58:45   18   capture.     I was also the technology sponsor or the

03:58:49   19   technology lead for the project.          And I -- I've been with

03:58:54   20   USAA for 15 years, and have been involved in pretty much

03:59:00   21   every technology project with the bank for the past 15

03:59:02   22   years.

03:59:03   23               MR. SHEASBY:     Can you turn to PX-1186 and PX-1187,

03:59:09   24   Mr. Huynh, can you put those on the screen?

03:59:11   25               THE WITNESS:     I forgot to bring my exhibits.       Can
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03:59:13    1   I grab my exhibits, please?

03:59:16    2              MR. SHEASBY:     Your Honor, with your permission, I

03:59:18    3   will approach the witness with the exhibits.

03:59:19    4              THE COURT:     You may approach the witness.

03:59:33    5              THE WITNESS:     Thank you very much.

03:59:34    6   Q.   (By Mr. Sheasby)      We're looking -- Mr. Brady, do you

03:59:37    7   recognize PX-1186 and PX-1187?

03:59:39    8   A.   Yes, these are the two patents involved in the case,

03:59:41    9   the '605 patent and the '681 patent.

03:59:43   10   Q.   Can you point out USAA's name on both?

03:59:46   11   A.   USAA is listed as the assignee, which means that the

03:59:53   12   U.S. Government awarded those patents to USAA.

03:59:55   13   Q.   Can you tell us a bit about yourself, please?

03:59:58   14   A.   Sure.   I was -- I was born in Little Rock, Arkansas.

04:00:05   15   I -- I moved here around 15 years ago to go to work for

04:00:09   16   USAA.     I now live in San Antonio, Texas.       And I have a -- a

04:00:15   17   wonderful wife.     We've been married for 33 years.         And I

04:00:19   18   have a -- a son, who is now 28, and he is -- I'm very proud

04:00:25   19   of him.

04:00:26   20   Q.   What is your position at USAA?

04:00:28   21   A.   I am vice president of platform management at USAA.

04:00:32   22   Q.   Is that an executive-level position?

04:00:34   23   A.   Yes, it is an executive-level position.          I'm also an

04:00:39   24   officer of the company.

04:00:40   25   Q.   What is the size of the team that you lead at USAA?
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04:00:43    1   A.   Currently, my team is -- is just over a thousand

04:00:51    2   people.    That includes both contractors as well as

04:00:53    3   employees.

04:00:53    4   Q.   What is consumer remote deposit capture?

04:00:56    5   A.   Consumer remote deposit capture is a sophisticated set

04:01:04    6   of technologies that USAA has developed that allows a --

04:01:07    7   a -- one of our members to deposit a check using -- using a

04:01:12    8   portable device that can capture a digital image and then

04:01:17    9   deposit that check into their -- into their checking

04:01:21   10   account.

04:01:22   11   Q.   Can you show an example of USAA's current consumer

04:01:31   12   remote deposit capture system?

04:01:31   13   A.   Yes, I can.   I believe we have a video.

04:01:34   14              MR. SHEASBY:   Mr. Huynh, can we have PDX-06,

04:01:39   15   please?

04:01:39   16   A.   So here someone check -- clicks the deposit button.

04:01:39   17   They say they want to deposit a check.          At that point, the

04:01:43   18   app instructs them to take a picture of the front of the

04:01:47   19   check, and then it will ask them to turn the check over,

04:01:51   20   capture a picture of the back of the check, notice it does

04:01:54   21   it automatically, and then at that point, we asked them to

04:02:05   22   enter the -- verify the -- the check by looking at the

04:02:09   23   thumbnail images, and then looking at the checking account,

04:02:11   24   and then enter the amount of the check.

04:02:15   25              And then at this point, we call all of the
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04:02:19    1   validation that's necessary to -- to make sure that we have

04:02:23    2   a good image quality, that we meet all the fraud checks at

04:02:27    3   that point, and that we are -- we are ready to accept the

04:02:31    4   check, and then we give that confirmation back to the -- to

04:02:34    5   our members.

04:02:35    6   Q.   (By Mr. Sheasby)    What -- what technology teams had a

04:02:37    7   role in the creation of consumer remote deposit capture?

04:02:40    8   A.   There were two technology teams.        There was our Applied

04:02:45    9   Research team, as well as our bank IT technology team.

04:02:49   10   Q.   What was the scale of the research budget at USAA in

04:02:54   11   the 2005 to 2009 time period?

04:02:56   12   A.   2005 to 2009?

04:02:58   13   Q.   Yes.

04:02:59   14   A.   We -- we actually do quite a bit of research and

04:03:06   15   development for a company our size.         During that time

04:03:09   16   frame, I would say that we spent probably close to

04:03:13   17   $1.5 billion in -- in technology and software development.

04:03:16   18   Q.   What is the Applied Research division at USAA?

04:03:19   19   A.   The -- the Applied Research division is actually a

04:03:25   20   subset of that overall research and development group, and

04:03:28   21   it is a group of research engineers that is specifically

04:03:32   22   focused on looking at more advanced technologies, more

04:03:37   23   forward thinking technologies, thinking longer term

04:03:40   24   about -- about some of those technologies and how we can --

04:03:43   25   how we can bring those -- those technologies to our
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04:03:46    1   members.

04:03:48    2               MR. SHEASBY:   Mr. Huynh, can we put back up

04:03:51    3   PX-1186 and PX-1187?

04:03:53    4   Q.   (By Mr. Sheasby)      Mr. Brady, can you tell us who are

04:03:56    5   the inventors on the patents-in-suit?

04:03:57    6   A.   Yes.    They're actually spread across the two patents

04:04:02    7   here.     We have a total of 10 inventors, most of them are on

04:04:06    8   the '605 patent, the -- the one that is at the -- the top

04:04:13    9   left.     Let's see, let me start, Chuck Oakes, let me list

04:04:19   10   the people from our Applied Research team first.

04:04:21   11               Chuck Oakes is from our Applied Research team,

04:04:24   12   Randy Morlen is from our Applied Research team, Mike Morris

04:04:28   13   is from our Applied Research team, along with Rey Medina.

04:04:33   14   And then a couple of names down is a gentleman named Bharat

04:04:38   15   Prasad.     So those are the five members off of our -- our

04:04:41   16   Applied Research team.

04:04:42   17               We also have some members here from our bank IT

04:04:46   18   technology team.     We have Greg Harpel, who is about halfway

04:04:51   19   down on the -- on the top left.        We have Frank Major.       We

04:04:58   20   also have Jeff Pollack.       And then the other member of our

04:05:04   21   IT bank technology team is on the other patent, the '681

04:05:07   22   patent, he's down at the bottom, Troy Huth.

04:05:13   23               There's one other name on here that I want to

04:05:14   24   point out on here, as well, that's in the middle of the --

04:05:19   25   the one in the top -- top left corner, that is Gabe Gavia.
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04:05:24    1   Gabe was a member of our business area that performed

04:05:28    2   check -- check processing.

04:05:29    3   Q.    Between the inventors, how many years of engineering

04:05:31    4   experience did they have at the time of the inventions?

04:05:34    5   A.    I would say this is a really talented group of these

04:05:41    6   10.    This -- we have close to a hundred -- 150 patents that

04:05:48    7   these -- these named -- these 10 people are listed as the

04:05:52    8   inventors on.     I think we're really lucky to have such a

04:05:55    9   great talented group at USAA.

04:05:57   10   Q.    Are these the only engineers who have worked in the

04:06:07   11   mobile remote deposit program between 2004 and 2009?

04:06:08   12   A.    No, they're not.   I would say that we had quite a --

04:06:12   13   excuse me -- quite a large group at times.           We had close to

04:06:15   14   40 people working on developing the technology.

04:06:17   15   Q.    How many years of engineering experience did the

04:06:20   16   inventors have?

04:06:21   17   A.    I believe that's 150, yes.

04:06:26   18   Q.    And to clarify, how many United States patents have

04:06:29   19   been issued --

04:06:30   20   A.    I'm sorry, I got that -- I -- I -- it's 239 patents

04:06:35   21   that they are listed as inventors on.

04:06:37   22   Q.    What is your professional background?

04:06:38   23   A.    I -- I have a Bachelor's degree and a Master's degree

04:06:43   24   in computer science.     I went to University of Arkansas at

04:06:48   25   Little Rock.     I -- I have been involved in bank technology
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04:06:54    1   for 35 years building bank systems and -- and bank

04:06:59    2   software.    And I -- like I said earlier, I have worked at

04:07:03    3   USAA for 15 years.

04:07:04    4   Q.   You were here during the opening; is that correct, sir?

04:07:10    5   A.   Yes, I was.

04:07:11    6   Q.   Did you hear Wells Fargo state that they invented

04:07:14    7   mobile banking in 2007?

04:07:17    8   A.   I heard that, yes.

04:07:18    9   Q.   Do you know what feature Wells Fargo was offering in

04:07:20   10   2007?

04:07:21   11   A.   I'm not sure I do.

04:07:24   12   Q.   Do you know -- have you heard of an SMS text deposit

04:07:31   13   system?

04:07:31   14   A.   Yes, I have.

04:07:32   15   Q.   Do you know if Wells Fargo was operating -- offering

04:07:37   16   SMS text deposit in 2007?

04:07:40   17   A.   I'm not sure.

04:07:42   18   Q.   I'll move on.

04:07:42   19   A.   Okay.

04:07:43   20   Q.   During the development of consumer remote deposit

04:07:53   21   capture, what was your position at USAA?

04:07:53   22   A.   I was the chief architect of the bank, and the -- what

04:07:56   23   that -- what that means is that the chief architect is

04:07:59   24   responsible for setting the overall technology strategy of

04:08:04   25   the bank and then working -- in addition, I worked with a
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04:08:08    1   lot of projects, almost every project, to ensure that those

04:08:12    2   projects were meeting and following the technology strategy

04:08:17    3   of the bank.     I -- I -- I was also one of the -- the -- the

04:08:22    4   technology leaders that helped influence our -- our -- our

04:08:28    5   business -- our business team to help -- to move forward

04:08:32    6   with -- with consumer remote deposit capture.

04:08:38    7   Q.   Mr. Brady, have you ever testified in court before?

04:08:46    8   A.   No, I haven't.    I'm a little nervous.       Sorry.

04:08:48    9   Q.   I'd like you to describe the history of USAA as you

04:08:53   10   describe it to outsiders when you talk about your job.

04:08:56   11   A.   Sure.   So USAA was founded in 1922 by a group of 25

04:09:03   12   Army officers.     They -- they met there in downtown

04:09:08   13   San Antonio to initially form the company.           They -- they

04:09:13   14   decide -- at -- with -- with the military, they often move

04:09:17   15   around a lot.     And as a result of moving around a lot,

04:09:22   16   they -- they often have trouble getting insurance.

04:09:24   17            So this group of 25 Army officers decided to come

04:09:27   18   together and -- and -- and insure themselves.           Even today,

04:09:33   19   USAA is -- is a member -- member-owned organization where

04:09:39   20   the members insure themselves.

04:09:41   21            We -- we are open to the -- to the -- to active

04:09:44   22   military, retired military, as well as their families.              We

04:09:47   23   also encourage employees to become members.

04:09:51   24   Q.   Who owns USAA?

04:09:52   25   A.   As I said, USAA is member-owned.        So it's the -- we
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04:09:59    1   don't have shareholders.      We are not a public company.         And

04:10:03    2   so we actually come from -- the members own it, and the

04:10:08    3   members insure themselves.

04:10:10    4   Q.   What are the consequences, in your mind, of being

04:10:13    5   member-owned?

04:10:14    6   A.   The -- there's a couple of consequences.          First, I

04:10:22    7   believe since we don't have to answer to Wall Street and we

04:10:25    8   don't have to answer to quarter-by-quarter earnings, it

04:10:29    9   allows us to be a little more strategic in terms of the

04:10:33   10   thought process and -- and projects that we work on.

04:10:35   11              I believe the consumer remote deposit capture was

04:10:37   12   a real good example of that where we -- we were able to be

04:10:40   13   more strategic.

04:10:40   14              The other thing that it enables is for -- we do

04:10:45   15   things specifically to benefit our members.           And so since

04:10:48   16   our members are owners, we do things to benefit the

04:10:53   17   members.

04:10:53   18              So we -- a good example of that is with ATM fees.

04:10:59   19   If one of our members goes to another bank's ATM and -- and

04:11:04   20   withdraws money -- let's say they go to a Wells Fargo ATM

04:11:07   21   and withdraw money, they could be charged up to $3.50 for

04:11:12   22   the use of that ATM.     We -- we reimburse our members that

04:11:16   23   full fee of $3.50.

04:11:20   24   Q.   What is the source of the money that is used to run

04:11:22   25   USAA, for example, to invest in new technology?
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04:11:26    1   A.   It all comes from -- from the members themselves,

04:11:31    2   whether it's used for -- whether it's used for claims, for

04:11:34    3   loans to members to pay out claims, loans to members, or

04:11:38    4   for the research and development.

04:11:40    5   Q.   Do you have a financial interest in the outcome of this

04:11:43    6   lawsuit, sir?

04:11:44    7   A.   Indirectly, I do.    I am a member.      I've been a member

04:11:49    8   for 33 years now.     And every year, USAA takes a significant

04:11:54    9   portion of their -- of their profits and -- and we return

04:11:59   10   that -- that money to our members in terms of benefits

04:12:04   11   and -- and dividends.

04:12:06   12              And, for example, in 2018, we returned

04:12:11   13   approximately $1.8 billion to our membership.

04:12:15   14   Q.   How many members does USAA have?

04:12:18   15   A.   We have 12.4 million members.

04:12:22   16   Q.   How many employees does USAA have and where are they

04:12:25   17   located?

04:12:25   18   A.   We -- we have 32,000 employees.        Most of them are

04:12:31   19   located there at our headquarters in San Antonio.            We also

04:12:35   20   have -- we also have locations near -- near some military

04:12:42   21   bases -- for example, in Tampa.        We have -- we have

04:12:45   22   locations in Colorado Springs, Virginia, as well as some

04:12:51   23   overseas locations, such as Germany.

04:12:53   24   Q.   You said that USAA was founded by Army officers as an

04:12:56   25   insurance mutual.     Did USAA decide to create a bank at some
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04:13:01    1   point?

04:13:01    2   A.   Yes -- yes, we did.     We decided to create a -- create

04:13:05    3   the bank in 1983.     And so we were hearing a lot from our

04:13:11    4   members at the time, that they were looking for a low cost

04:13:14    5   banking alternative.     And so at that point, we decided to

04:13:18    6   open up a bank.

04:13:20    7               Here we are now 35 years later, and we are now one

04:13:24    8   of the -- the larger banks in the U.S.          We -- we have been

04:13:28    9   growing pretty consistently at about 8 percent year over

04:13:31   10   year, which I believe is the -- twice -- around twice the

04:13:36   11   industry average.

04:13:37   12               Since I joined the company, we have tripled the

04:13:39   13   size of the bank.

04:13:40   14   Q.   In your role as chief architect of the bank, did you

04:13:45   15   come to understand the history of consumer remote deposit

04:13:48   16   capture at USAA?

04:13:48   17   A.   Yes.    I -- I have been involved with consumer remote --

04:13:55   18   remote deposit capture pretty much since the beginning.

04:14:01   19   Even when I -- even when I -- yeah, pretty much since the

04:14:04   20   beginning.

04:14:05   21   Q.   Can you describe the inspiration for consumer remote

04:14:09   22   deposit capture at USAA?

04:14:09   23   A.   So we -- you know, our -- our members are -- are active

04:14:20   24   military, retired military, and -- and their families.                We

04:14:23   25   have -- we actually have members all over the world.             We
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04:14:26    1   have since we launched USAA as a bank in 1983 because we

04:14:30    2   were already a -- an insurance company.          So we -- we've

04:14:36    3   had -- we have members all over the world.           So it -- it

04:14:38    4   never has really made a lot of sense to us to build out a

04:14:43    5   branch network because we have members pretty much

04:14:46    6   everywhere.

04:14:46    7            So in -- instead, you know, we -- we've served --

04:14:52    8   we served our members through digital channels.

04:14:56    9   Q.   Why was it important to USAA to have rapid digital

04:15:02   10   deposit with consumer devices?

04:15:04   11   A.   So our -- our military members get paid through direct

04:15:11   12   deposit, for example, so the money is directly deposited

04:15:14   13   into their checking account on -- on payroll day.

04:15:17   14            We -- but even with that, we have a lot of members

04:15:22   15   that are living paycheck to paycheck.         A lot of them are

04:15:25   16   enlisted or E-1 level.      And so they are definitely living

04:15:30   17   paycheck to paycheck.      And so we -- we -- they -- they rely

04:15:37   18   on checks from other sources, such as, you know, spouse's

04:15:42   19   income, maybe second jobs.       They rely on -- on checks from

04:15:48   20   parents or other family members, grandparents.

04:15:52   21            And they need -- since they are living paycheck to

04:15:55   22   paycheck, they need access to those funds quickly.            And so

04:15:59   23   our real inspiration is how -- you know, how do we -- how

04:16:03   24   do we deposit those checks quickly without branches?

04:16:11   25   Q.   Did other banks offer ways to deposit checks other than
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04:16:16    1   ATMs or tellers before your work?

04:16:18    2   A.    Before we did our consumer RDC project, other banks did

04:16:26    3   offer services to large businesses that allowed them to

04:16:29    4   deposit checks remotely, primarily using specialized

04:16:33    5   scanners.

04:16:33    6   Q.    Can you show a demonstrative of the specialized

04:16:38    7   scanners that were used before USAA's work?

04:16:39    8   A.    Yes, we have one here.    This -- this is actually one of

04:16:43    9   the -- one of the types of specialized scanners that would

04:16:46   10   be used by -- by, for example, a business.           And it has

04:16:51   11   actually a -- a special slot here where you feed the check

04:16:57   12   in.    It's got some rollers back here that -- that's

04:17:00   13   motorized that will -- that will load the check

04:17:02   14   automatically into a reader.

04:17:04   15             Within this environment, it's in a controlled

04:17:07   16   environment where we capture -- where they capture an image

04:17:09   17   of the check.    And it -- it also has a -- it makes sure

04:17:15   18   it's perfectly aligned when it goes in there because it --

04:17:18   19   it has the alignment to perfectly calibrate where the check

04:17:21   20   is.

04:17:24   21             Also, these -- these devices have a magnetic

04:17:27   22   reader inside of them that will read the magnetic ink off

04:17:30   23   the check so that it can extract the -- the data off the

04:17:34   24   check, things like the account number, routing number,

04:17:37   25   those kind of things.
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04:17:38    1            And so the other -- the other thing that these

04:17:40    2   will do is they will physically alter the check either by

04:17:44    3   doing some sort of indelible ink.        I've seen -- I've seen

04:17:44    4   these in the past, too, that will punch holes in the bottom

04:17:49    5   of the check to make sure that it cannot be deposited

04:17:52    6   again.

04:17:52    7            These -- these do -- I mean, these - these do it

04:18:02    8   really well.    They scan the checks really well, but they

04:18:02    9   only do one thing.     And -- and so we -- it never has made

04:18:05   10   sense to ask our members to -- to purchase one of these

04:18:08   11   because, first of all, they are rather expensive, and they

04:18:12   12   only do one thing.

04:18:16   13   Q.   Other than specialized scanners, were there other

04:18:19   14   options that existed before USAA's work?

04:18:23   15   A.   We -- we knew about more industrial strength scanners.

04:18:31   16   In fact, there were -- you know, we have some -- we had

04:18:35   17   industrial-strength-type scanners even in our offices

04:18:39   18   where, you know, they -- they will -- they will read --

04:18:42   19   they will read multiple types of documents so they can be

04:18:44   20   used for multiple things, but they -- and then you can

04:18:48   21   adapt them to specific sizes of documents and adapt them to

04:18:53   22   a check size.

04:18:54   23            They have really good quality.         They -- they --

04:18:59   24   you know, they will -- they will align a document as it's

04:19:03   25   being pulled in.     They will -- they will crop the document
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04:19:07    1   for you.

04:19:08    2              So they get a really good -- really good image.

04:19:12    3   But they are very expensive.      I would say hundreds to maybe

04:19:17    4   thousand of dollars.      And -- and -- and they're not

04:19:23    5   really -- I mean, they're -- they're very heavy, too.             The

04:19:26    6   other thing is they weigh several hundred pounds.           And so

04:19:30    7   they're not really -- they're not really movable.           They're

04:19:34    8   not portable.    You know, they're not -- they're not mobile.

04:19:37    9   And so those didn't really make sense to us either.

04:19:41   10              So what -- what we were looking for instead was,

04:19:52   11   you know, a -- devices that, first of all, did multiple

04:19:52   12   things so that our members, you know, may already have

04:19:55   13   something like that, like one of these devices.           It --

04:19:58   14   it -- and -- or they could use it for other things, as

04:20:03   15   well.

04:20:03   16              And then, you know, the other criteria that we

04:20:05   17   were looking for was something that was mobile or portable,

04:20:08   18   so that if they -- if they had, for example, a -- a

04:20:10   19   permanent change of station and were moved, it's -- it's

04:20:13   20   likely something they would move with them.

04:20:16   21              MR. SHEASBY:   Mr. Huynh, can you pull up PDX-11.1?

04:20:24   22              THE TECHNICIAN:   I couldn't hear you.

04:20:25   23              MR. SHEASBY:   PDX-11.1, Mr. Huynh.

04:20:39   24   A.   Yeah, this -- this is an example of one of those more

04:20:42   25   industrial-type scanners you can see.         And it's -- this is
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04:20:46    1   the Fujitsu M4 model.     And you can see it's -- it's even

04:20:50    2   sitting on a crate.     So these are very heavy and very

04:20:53    3   expensive.

04:20:53    4   Q.   (By Mr. Sheasby)   What did USAA focus on for its

04:20:55    5   program?

04:20:55    6   A.   So -- so we focused on a -- on -- on getting a portable

04:21:02    7   device that could capture an image, and we wanted to be

04:21:05    8   able to use any -- any consumer device that had a -- a

04:21:11    9   general purpose computer, as well as could capture a

04:21:15   10   digital image, and then upload that -- that to -- to our

04:21:16   11   bank.

04:21:16   12   Q.   What does that mean in practical terms, what types of

04:21:20   13   devices?

04:21:20   14   A.   In practical terms, you know, it meant -- it -- it

04:21:25   15   meant -- it meant really any type of device that could --

04:21:28   16   that could capture an image of a check.           Practically, I

04:21:32   17   would say our members were using -- initially were using

04:21:37   18   digital cameras.    They were using home scanners.         They were

04:21:41   19   also using -- they were also using pretty much any device

04:21:45   20   that could -- that could capture -- capture an image.

04:21:48   21              We -- the first thing that we used was actually

04:21:51   22   the -- the -- a flatbed scanner which was the Lexmark.             We

04:21:56   23   used the -- the Lexmark initially.        So --

04:21:59   24   Q.   Where did you get the Lexmark from?

04:22:01   25   A.   We -- we actually bought the -- the Lexmark.          We sent
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04:22:05    1   our team down to Best Buy to pick up the Lexmark.           It was

04:22:11    2   one of those all in one scanners that was a -- it was a

04:22:13    3   printer, a copier, a fax machine, as well as a scanner,

04:22:19    4   pretty much all in one.     It was a type of device that a lot

04:22:23    5   of consumers either already had in their home or -- or

04:22:27    6   would likely purchase.     So it was just an everyday

04:22:32    7   consumer-based scanner.

04:22:33    8   Q.   What was the long-term goal of the consumer remote

04:22:36    9   deposit capture program?

04:22:37   10   A.   Our long-term goal for the program was we -- we wanted

04:22:43   11   to create an infrastructure that would handle the images,

04:22:47   12   and then be able to adapt to new -- new devices over time.

04:22:50   13   We knew that devices were changing very quickly, and so we

04:22:53   14   wanted to -- you know, we wanted to have all the -- all the

04:22:57   15   pieces in place, and then -- then we knew -- we knew things

04:23:02   16   were changing, so we wanted to -- our long-term was to

04:23:05   17   adapt to new technologies.

04:23:06   18   Q.   When was a working prototype of consumer remote deposit

04:23:10   19   capture created?

04:23:10   20   A.   I -- I know it was created in 2005 because I saw a

04:23:16   21   demonstration of it down in our lab.

04:23:18   22   Q.   And what was the consumer device used with that -- was

04:23:18   23   that --

04:23:22   24   A.   That was the Lexmark, yes.

04:23:23   25   Q.   Did USAA face unique challenges when developing
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04:23:28    1   consumer remote deposit capture?

04:23:29    2   A.   We had -- we had quite a number of challenges.          I mean,

04:23:32    3   we -- we didn't have -- you know, we didn't have physical

04:23:36    4   access to the check.     We had to worry about, you know, with

04:23:39    5   taking an image even, taking an image, you know, a -- the

04:23:44    6   check could be anywhere in the image, and so we had to deal

04:23:47    7   with, first of all, coming up with tools to help find where

04:23:52    8   the image was within the -- where the check was within the

04:23:56    9   image.

04:23:56   10            We also had to come up with tools to help us, you

04:24:02   11   know, deal with the check being at an angle, so, you know,

04:24:06   12   de-skewing the check.     Also, with -- with certain devices,

04:24:09   13   you may have, you know, a different angle that you're

04:24:12   14   holding the device at in order to capture the picture which

04:24:16   15   gives you a distorted view of the check and, you know, kind

04:24:19   16   of a prospective view, and so we had to deal with software

04:24:24   17   to handle that, as well.

04:24:28   18            Also, we didn't have physical access to the check,

04:24:31   19   so all the data that we gather off the check we have to get

04:24:37   20   off the image.   We can't rely on a magnetic ink reader like

04:24:42   21   these things have to read the data and the information off

04:24:45   22   the check.   So we had to rely on the image.         So getting a

04:24:48   23   really good quality image was extremely important to us.

04:24:51   24            At that time, well, we -- you know, and getting a

04:24:56   25   good quality image off -- getting a good quality check
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04:25:00    1   image off of the overall check is a challenge, too, because

04:25:04    2   it may be on a -- it may be on a dark desktop.           It may be

04:25:09    3   on a light counter top, and so there's challenges involved

04:25:12    4   with that.

04:25:12    5            At that time, too, even now a lot of people like

04:25:19    6   to have backgrounds printed on their check.          Some of our

04:25:25    7   military members like to have military scenes printed on

04:25:27    8   the back of their checks.

04:25:28    9            At that time, those Care Bear checks were really

04:25:31   10   popular, and I specifically remember having to deal with

04:25:35   11   what are the issues that we've got to deal with reading the

04:25:38   12   data off of a Care Bear.      I mean, those turned out to be

04:25:41   13   kind of a nightmare.

04:25:41   14   Q.   Do you remember whose wife had Care Bear checks back

04:25:45   15   then?

04:25:46   16   A.   I believe it was Chuck -- Mr. Oakes, yeah.

04:25:49   17   Q.   Why was -- how did USAA solve these problems?

04:25:56   18   A.   We solved these problems by creating a sophisticated

04:26:00   19   set of software that allowed -- that allowed our members to

04:26:03   20   use consumer devices to capture the images and then have

04:26:08   21   them deposited into their checking account.

04:26:10   22   Q.   Why was USAA in a position to build this system?

04:26:12   23   A.   I would say we were in a position to build this system

04:26:17   24   because we invested in our Applied Research team.           I was

04:26:20   25   actually on the committee that helped prioritize the
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04:26:24    1   projects that we worked on for that committee -- for that

04:26:28    2   team.

04:26:28    3   Q.   When did you make the first system fully available to

04:26:30    4   members?

04:26:31    5   A.   We -- we made the first system fully available June of

04:26:38    6   2006, and then we continued to roll that out 2006 into

04:26:44    7   2007.

04:26:44    8   Q.   What did the system work with by 2007?

04:26:47    9   A.   It worked with flatbed scanners, digital cameras, and

04:26:52   10   webcams, as well as -- by 2007?

04:26:55   11   Q.   Yes, yes, Mr. --

04:26:57   12   A.   By 2007, we also enabled any device that could take an

04:27:03   13   image of a check and then upload that check to our website.

04:27:07   14              MR. SHEASBY:   Mr. Huynh, can we pull up PX-0039

04:27:13   15   and can we pull up the top email?

04:27:17   16   Q.   (By Mr. Sheasby)     Mr. Brady, do you recognize this

04:27:18   17   email?

04:27:19   18   A.   Yes, I do.   This is a -- this is an email from Chuck

04:27:24   19   Oakes from June of 2006.      This was about three weeks before

04:27:28   20   we launched.

04:27:30   21   Q.   Who is Chuck Oakes?

04:27:32   22   A.   Mr. Oakes, he was the manager for our Applied Research

04:27:39   23   lab.     He -- Mr. Oakes is retired now.      He managed that team

04:27:43   24   for quite a number of years.      He retired a couple years

04:27:48   25   ago.
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04:27:49    1            In -- in Mr. Oakes's time down in the lab, in the

04:27:53    2   research lab, he -- he was named inventor for over a

04:27:58    3   hundred different patents.

04:28:00    4   Q.   What is the context of this email?

04:28:02    5   A.   This -- this email, Mr. Oakes is discussing the vision

04:28:07    6   that we had.   If you look at the second line down, the

04:28:10    7   first sentence, starting with "this effort," he calls out

04:28:16    8   this effort can and will revolutionize the banking

04:28:20    9   industry, the virtual -- the virtual bank branch, that's

04:28:23   10   what we were trying to solve.

04:28:25   11            We didn't have -- you know, we didn't have

04:28:25   12   physical branches, and so we were trying to figure out how

04:28:28   13   do we put branches in our members' hands?         How do we create

04:28:33   14   a virtual branch?

04:28:34   15            And let me go down to the next line there, I

04:28:37   16   strongly believe -- Chuck goes on here:         I strongly believe

04:28:40   17   that the effort of producing this innovation is an example

04:28:42   18   of what USAA is made of, vision, strength, determination,

04:28:46   19   member focused, and commitment.       We've been told that this

04:28:49   20   product will not work, that it can't be done, you can't do

04:28:55   21   that, no one else is doing this, so we can't either.            I

04:28:59   22   believe this company can do anything.         I think this is a

04:29:02   23   great email.

04:29:03   24            THE COURT:    Mr. Brady, if I can ask you not to

04:29:05   25   refer to Mr. Oakes simply as Chuck or using first names
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04:29:09    1   only.

04:29:09    2            THE WITNESS:     Thank you.     Yes, I will.

04:29:10    3            THE COURT:     All right.     Let's continue, counsel.

04:29:12    4            MR. SHEASBY:     Mr. Huynh, can you pull up PX-0036?

04:29:22    5   And if you could turn to Page 3 of that document.

04:29:26    6            Mr. Huynh, if you can pull up the bottom email

04:29:28    7   from Chuck Oakes dated October 25th, 2006.

04:29:32    8   Q.   (By Mr. Sheasby)    Mr. Brady, do you recognize this

04:29:34    9   email?

04:29:35   10   A.   Yes, I do.   This is another email from Mr. Oakes,

04:29:38   11   October 25th, 2006.     This was later.     This was after --

04:29:41   12   after we had launched the system.

04:29:48   13   Q.   What is the relevance of this email to you?

04:29:48   14   A.   So what -- what Mr. Oakes is calling out here is that

04:29:50   15   this is the first time one of our members had used a

04:29:54   16   digital camera to capture an image of a check, and we

04:29:58   17   actually -- we actually knew that it would work.

04:30:02   18            If you look down at the kind of second paragraph.

04:30:04   19   We knew it would work, but we -- because it was in the

04:30:10   20   original design that we had from a year -- from about a

04:30:13   21   year previous because we had talked about using digital

04:30:17   22   cameras even a year previous.

04:30:19   23            But then the second -- I guess the third line down

04:30:23   24   in the second paragraph, he's also calling out the use of a

04:30:26   25   camera to capture the check image and process it through
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04:30:30    1   the Deposit@Home application can be a huge competitive

04:30:34    2   advantage.

04:30:35    3   Q.   What is the relationship between the date of this email

04:30:37    4   and the date of the filing of the patents?

04:30:39    5   A.   October 26th, that was about a week before we filed our

04:30:44    6   patents.

04:30:45    7   Q.   Did mobile phone digital cameras exist in 2006 that

04:30:51    8   could be used with the system?

04:30:52    9   A.   We -- there were several mobile phones that were on the

04:30:56   10   market that had a high enough pixel image resolution to be

04:31:01   11   used.     We -- we knew at the time those -- those phones were

04:31:06   12   more expensive and most of our members wouldn't have those,

04:31:09   13   though.

04:31:09   14   Q.   What was the first full end-to-end successful test of a

04:31:13   15   mobile phone image using the system?

04:31:14   16   A.   We -- we had the -- we had the infrastructure to handle

04:31:20   17   the images available in 2006.       We first started up a

04:31:25   18   project to begin working with -- with mobile phones in

04:31:32   19   2007, early 2007, and by -- by really the -- early 2007,

04:31:38   20   we -- we were successfully running end-to-end using mobile

04:31:42   21   phones.

04:31:42   22   Q.   You said the word project.      What does project mean at

04:31:47   23   Wells -- at USAA?

04:31:48   24   A.   For -- for me, a project is when we officially start up

04:31:50   25   a -- start up a project either in our Applied Research lab
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04:31:54    1   or through -- through development.        We do a lot of

04:31:57    2   experimentation before that, but that's the -- that's what

04:32:00    3   I'm considering to be a project.

04:32:02    4            MR. SHEASBY:    Can you -- Mr. Huynh, can you turn

04:32:04    5   to Pages 1 to 2 of PX-36 and pull up the email from Troy

04:32:10    6   Huth?

04:32:11    7   Q.   (By Mr. Sheasby)   I'm showing an email from Troy Huth.

04:32:15    8   First, who is Troy Huth?

04:32:17    9   A.   Troy Huth was one of the inventors.        He was in our bank

04:32:21   10   technology team.

04:32:22   11   Q.   And the subject is use of a camera for Deposit@Home

04:32:25   12   check image --

04:32:26   13   A.   Right, this is a reply.     It's part of the same email

04:32:28   14   chain that we looked at just previously.

04:32:31   15   Q.   In your mind, what is the relevance of this document?

04:32:34   16   A.   So a couple of things, if you can go down to the third

04:32:37   17   paragraph, starting with Mike Morris, so this is still

04:32:41   18   talking about the use of a camera, and Mike -- Mike Morris

04:32:47   19   did check with the use -- Mike Morris did check and the use

04:32:50   20   of a camera to capture the image is included in our patent

04:32:55   21   application.     So I wanted to point that out.

04:32:57   22            Also, Mr. Huth in this email is discussing the use

04:33:00   23   of camera phones up in the first paragraph.          And while we

04:33:04   24   knew at the time that the camera phones would work, we also

04:33:09   25   knew that there were -- there would be challenges with the
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04:33:14    1   pixel quality on some of those camera phones.          And so we

04:33:19    2   knew it would work, but we -- we needed to work on

04:33:23    3   improving the experience in order to make the experience

04:33:25    4   flawless for our members.

04:33:27    5   Q.   Okay.   Who is Mike Morris?

04:33:28    6   A.   Mike Morris was another one of the inventors.          Mike is

04:33:33    7   extremely talented.      He's a developer.

04:33:35    8   Q.   Did USAA have a complete working consumer remote

04:33:39    9   deposit capture system that could accept images from

04:33:41   10   consumer digital cameras by the time of the patent filing?

04:33:44   11   A.   Yes, we did.

04:33:46   12            MR. SHEASBY:     Can you turn to PX-0044, please?

04:33:51   13   Q.   (By Mr. Sheasby)     Do you recognize PX-0044?

04:33:54   14   A.   Yes, I do.     This is a -- this is the -- looks like the

04:34:02   15   last page of a -- of a status report from our Applied

04:34:08   16   Research team.      This is actually describing a project that

04:34:12   17   Rey Medina was working on.      Rey was another one of our

04:34:16   18   inventors.

04:34:16   19   Q.   How many patents does Rey Medina have?

04:34:19   20   A.   I believe Rey has close to 90 patents that he's the

04:34:24   21   inventor on.

04:34:24   22            THE COURT:     Mr. Brady, I'm going to ask you again

04:34:26   23   not to refer to individuals by first name.

04:34:29   24            THE WITNESS:     I apologize, I'm sorry.

04:34:30   25            THE COURT:     There's a reason for that.       At some
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04:34:32    1   point, what's said in this courtroom may be reviewed on

04:34:37    2   appeal and it will be a written transcription of what was

04:34:40    3   said.   And if people are referred to by first name only,

04:34:43    4   we're going to end up with more than one person with the

04:34:46    5   same first name, and it's going to be unavoidably

04:34:49    6   confusing, so we try to not refer to any individuals by

04:34:52    7   first name only.

04:34:52    8              THE WITNESS:     I apologize, sir.

04:34:54    9              THE COURT:     Okay.

04:34:55   10              THE WITNESS:     I'll be mindful.

04:34:56   11              THE COURT:     Let's continue.

04:34:57   12   Q.   (By Mr. Sheasby)      What does this document show?

04:34:59   13   A.   This shows that Mr. Medina was working on a project

04:35:05   14   called remote check deposit via cellular phone camera.            It

04:35:10   15   shows -- it was from -- the date is April 9th of 2007.            It

04:35:16   16   also shows that it's an L3 project, which stands for a

04:35:19   17   Level 3 research project, which was the highest more

04:35:23   18   advanced type of research that we were working on at the

04:35:25   19   time.

04:35:26   20              And then if you look at the second and third

04:35:31   21   bullet there, it shows that he had a solution, a prototype

04:35:34   22   solution.    And then the last bullet shows that he was

04:35:36   23   working on knowledge transfer over to the execution team

04:35:40   24   who would then take this on to their -- bring it out to

04:35:44   25   members.
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04:35:46    1              MR. SHEASBY:   Can you turn to PX-0043, Mr. Huynh?

04:35:49    2   Q.   (By Mr. Sheasby)     And do you recognize this document?

04:35:55    3   A.   Yes, this is a presentation from Bharat Prasad.          Bharat

04:36:00    4   was another one -- Bharat Prasad was another one of the --

04:36:03    5   the inventors, and this is from 2007.

04:36:09    6              MR. SHEASBY:   Can you turn to Page 12 of that

04:36:11    7   document, Mr. Huynh?

04:36:12    8   Q.   (By Mr. Sheasby)     Do you have an understanding as to

04:36:14    9   why the iPhone is listed as one of four cameras?

04:36:19   10   A.   Well, the -- the iPhone -- the iPhone is a camera.

04:36:22   11   It's a -- it's a digital camera, a phone, a general purpose

04:36:27   12   computer, and, you know, a wireless communication device

04:36:32   13   pretty much all in one.

04:36:33   14   Q.   Do you remember the dates on which USAA expanded to

04:36:36   15   different consumer devices?

04:36:38   16   A.   We -- yes, we -- we announced the -- the iPhone in May

04:36:47   17   of 2009.    We started rolling it out in June of 2009 to our

04:36:53   18   members, and continued to roll it out through -- through

04:36:56   19   August.    And in January of the following year, 2010, we

04:37:02   20   also introduced the -- the Android app, and then also in --

04:37:10   21   let's see, in 2011, we introduced the iPad application to

04:37:15   22   allow you to take a -- a picture of a check with a -- with

04:37:19   23   an iPad.

04:37:21   24              Also, in 2011, we did the Windows Mobile phone,

04:37:24   25   and we did -- we also enabled our mobile website so
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04:37:29    1   that any -- any device that had access to our mobile

04:37:33    2   website and could capture an image could upload a check.

04:37:36    3   And so that covered things like BlackBerries, for example.

04:37:40    4   Q.   Did you continue to improve the image capture

04:37:44    5   software used with this system?

04:37:45    6   A.   The image capture software?

04:37:47    7   Q.   The image quality, yes.

04:37:48    8   A.   The image quality software, yes, we continued to

04:37:52    9   improve it.   We are even improving it today.         We're always

04:37:56   10   making enhancements to it.

04:37:58   11   Q.   Did you have team members assist you with mobile --

04:38:01   12   with consumer remote deposit capture?

04:38:01   13   A.   Yes, we did.   We expanded the team to include support

04:38:07   14   organizations, additional development organizations, as

04:38:10   15   well as we brought in additional executives.          And then at

04:38:15   16   some point, I ended up turning over the technical

04:38:18   17   sponsorship to a gentleman named Michael Bueche.

04:38:22   18   Q.   At some point did the name of the system change?

04:38:25   19   A.   When -- yes.   When we -- when we introduced the -- when

04:38:31   20   we introduced the iPhone -- the iPhone application, we

04:38:35   21   allowed our members to download the application from the

04:38:41   22   Apple App Store, rather than from our own USAA.com website.

04:38:46   23   So to reflect that new experience, we -- we changed the

04:38:52   24   name to Deposit@Mobile.

04:38:54   25            MR. SHEASBY:    Let's turn to PX-0143, Mr. Huynh.
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04:38:58    1   Q.   (By Mr. Sheasby)      Do you recognize this document,

04:39:00    2   Mr. Brady?

04:39:02    3   A.   Yes, I do.     This is a -- this is an industry trade

04:39:09    4   article that talks about -- this was -- this was a good

04:39:11    5   example of the type of press we were getting right after we

04:39:14    6   released the -- the iPhone application.         And this is --

04:39:19    7   this is calling out the -- the application that we did.             I

04:39:26    8   think this -- can you zoom into the second paragraph there,

04:39:31    9   as well?

04:39:31   10               Yes, so -- yeah, this is calling out that the

04:39:38   11   military bank and insurance provider USAA recently launched

04:39:43   12   mobile check deposit technology.

04:39:43   13   Q.   Mr. Brady --

04:39:43   14   A.   Yes.

04:39:44   15   Q.   -- can I -- can I ask you to slow down for Madam Court

04:39:47   16   Reporter?

04:39:47   17   A.   Yes, I can, sorry.

04:39:49   18               And so it -- it talks about users being able to

04:39:54   19   deposit checks from anywhere using an iPhone.          Also, down

04:39:58   20   at the bottom -- bottom paragraph down there, it calls out

04:40:03   21   that right now, USAA represents the bleeding edge of mobile

04:40:07   22   banking technology, which means that we were ahead of

04:40:10   23   everybody -- ahead of everybody else here.

04:40:15   24               MR. SHEASBY:   Can you turn to PX-57, please?

04:40:17   25   Mr. Huynh?
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04:40:18    1   A.   Can we go back to that for one -- one minute?

04:40:21    2   Q.   (By Mr. Sheasby)     Of course, Mr. Brady.

04:40:23    3   A.   There was one thing I also wanted to point out on here.

04:40:23    4             MR. SHEASBY:     Can we turn back to PX-143,

04:40:27    5   Mr. Huynh?

04:40:31    6             MR. HILL:    Your Honor, I'll ask that question to

04:40:31    7   be asked to elicit a response, rather than the witness

04:40:31    8   volunteering information.

04:40:31    9             THE WITNESS:     Okay.   Sure.

04:40:36   10             MR. SHEASBY:     Absolutely.

04:40:36   11             THE COURT:     Well, we're here for the lawyers to

04:40:37   12   ask questions and the witnesses to give answers, but we're

04:40:42   13   back there, so ask a question you want to ask on this

04:40:44   14   slide.    And then let's move forward, Mr. Sheasby.

04:40:47   15   Q.   (By Mr. Sheasby)     Mr. Brady, is there something else

04:40:50   16   you wanted to -- was there another relevant sentence on

04:40:54   17   PX-143?

04:40:54   18   A.   I did want to point out that they -- they actually

04:40:57   19   called out the fact that we -- the bank -- the bank only

04:41:00   20   has one branch located in San Antonio.

04:41:04   21   Q.   Turning now to PX-57, do you recognize this article,

04:41:10   22   Mr. Brady?

04:41:10   23   A.   Yes, I do.   This is -- the -- the last article was a --

04:41:19   24   was an industry trade journal.       This is actually The New

04:41:25   25   York Times, so this is actually a -- you know, a public
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04:41:27    1   newspaper.     And so, again, this one is calling out -- and

04:41:29    2   this is from August -- yes, this is one is also calling out

04:41:32    3   and talking about when we -- when we launched the iPhone

04:41:35    4   application.

04:41:36    5   Q.   Is this article about USAA's --

04:41:40    6   A.   Yes, it is -- it is specifically about USAA's iPhone

04:41:43    7   application to deposit a check.

04:41:44    8   Q.   If you turn to Page 2 of that document --

04:41:46    9            MR. SHEASBY:    And, Mr. Huynh, can you pull up the

04:41:48   10   first two paragraphs?

04:41:50   11   Q.   (By Mr. Sheasby)   What is the article talking about

04:41:52   12   here?

04:41:53   13   A.   So it -- the first line, USAA may seem like an unlikely

04:41:59   14   inventor [sic] in mobile banking.        I -- again, I -- I think

04:42:03   15   they didn't know our -- our Applied Research team really

04:42:05   16   well.   I -- I think we have a lot of innovation in our

04:42:08   17   Applied Research team.

04:42:09   18            It also points out later in that paragraph that

04:42:13   19   we -- you know, we're a smaller bank.         We're just below the

04:42:16   20   top 20 banks.     And then also in -- yeah, the first -- the

04:42:21   21   first -- right there, yes.

04:42:23   22            Also, at the second paragraph, but with just one

04:42:28   23   branch in San Antonio and customers deployed all over the

04:42:32   24   world, the company has been aggressively developing an

04:42:36   25   anytime, anywhere banking strategy, which is, again,
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04:42:38    1   exactly what we were trying to do.

04:42:41    2   Q.   The -- the article says:     Three years ago, it

04:42:43    3   introduced the option of depositing a check from home using

04:42:46    4   a scanner.   That laid the groundwork for the phone deposit

04:42:49    5   feature which USAA plans to offer on other phones this

04:42:53    6   year.   Do you know what that is referring to?

04:42:55    7   A.   That actually is -- is calling out our own long-term

04:42:58    8   strategy that we had to build an infrastructure that would

04:43:01    9   adapt to new technologies.

04:43:03   10            MR. SHEASBY:    Let's pull that down, Mr. Huynh.

04:43:06   11            Let's put up PX-0195.

04:43:13   12   Q.   (By Mr. Sheasby)   Do you recognize PX-0195, Mr. Brady?

04:43:22   13   A.   Yes, I do.   This is -- this -- this is discussing the

04:43:29   14   patents that we have pending.

04:43:32   15   Q.   Is this a page from USAA's public website?

04:43:34   16   A.   Yes, this is from our public website.        I believe this

04:43:37   17   went up in 2016.

04:43:41   18            MR. SHEASBY:    And, Mr. Huynh, if you could

04:43:43   19   highlight the numbers on the bottom.

04:43:44   20   A.   The '681 and the '605 patent.

04:43:47   21   Q.   (By Mr. Sheasby)   So the document says:        USAA's

04:43:50   22   Deposit@Mobile and Deposit@Home include innovative features

04:43:53   23   that are protected by multiple patents issued by the United

04:43:56   24   States Patent and Trademark Office.

04:43:56   25            Is that correct, sir?
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04:43:57    1   A.   That's correct.

04:43:57    2   Q.   And did USAA publicly identify the patents-in-suit in

04:44:01    3   this case as protecting its products?

04:44:07    4   A.   Yes, we did.    You can see here specifically we called

04:44:10    5   out the '681 and the '605 patent.        It says other patents

04:44:15    6   pending, as well.

04:44:16    7   Q.   Do you have personal knowledge about how the

04:44:17    8   Deposit@Mobile system at USAA works?

04:44:19    9   A.   Yes, I'm familiar with it.

04:44:21   10   Q.   Does it include a downloaded application that is run on

04:44:24   11   a customer's mobile device?

04:44:25   12   A.   Yes, it includes a downloaded application.

04:44:28   13   Q.   Does the system employ the use of mobile or portable

04:44:31   14   devices with digital cameras in general purpose computers?

04:44:34   15            MR. HILL:     Objection, Your Honor.      May we

04:44:35   16   approach?

04:44:36   17            THE COURT:     Approach the bench, counsel.

04:44:38   18            (Bench conference.)

04:44:50   19            THE COURT:     What's the objection, Mr. Hill?

04:44:52   20            MR. HILL:     Your Honor, this is improper opinion

04:44:54   21   testimony from a non-expert.      He is reading the claim

04:44:57   22   limitations and asking this witness whether or not the USAA

04:45:03   23   system meets the claim limitations.

04:45:05   24            He's doing a claim analysis.        And this witness

04:45:08   25   can't do that as a fact witness.       That necessarily requires
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04:45:12    1   opinion testimony and necessarily requires an understanding

04:45:14    2   of the claim construction, application of claim

04:45:18    3   construction terms and definitions to answer these

04:45:20    4   questions.     It's expert opinion testimony and improper.

04:45:23    5              THE COURT:     Response?

04:45:24    6              MR. SHEASBY:     Your Honor, he's the corporate

04:45:26    7   representative.     A corporate representative was offered on

04:45:27    8   the exact issue of whether USAA's patents practice the

04:45:31    9   patent-in-suit.     He gave full technical testimony in the

04:45:34   10   subject.     He had a full opportunity to examine someone on

04:45:37   11   this subject.

04:45:38   12              Mr. Brady has personal knowledge of how this

04:45:40   13   system operates.     He's not comparing claim construction

04:45:43   14   to -- he's not putting up claim language.         He's merely

04:45:47   15   describing the factual information.

04:45:48   16              The only claim construction term that was in

04:45:51   17   dispute was mobile device and portable device, which they

04:45:54   18   concede are present.       There's no claim construction that is

04:45:56   19   being done.

04:45:57   20              We are right -- we are entitled to have a

04:45:59   21   corporate representative do this.

04:46:01   22              THE COURT:     Well, he may be asked a question based

04:46:05   23   on what the claim language calls for, but the question as

04:46:08   24   presented is a fact question that he's answered yes or no,

04:46:14   25   this is or isn't present in this product.         And he has
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04:46:18    1   personal knowledge of what -- it appears to me to be a fact

04:46:19    2   question and one that does not call for an opinion.            He is

04:46:23    3   a fact witness.   He's not an expert witness.

04:46:24    4           And I will hold him to avoiding opinions or other

04:46:28    5   type of expert testimony.      But I'm going to overrule this

04:46:30    6   objection.

04:46:31    7           MR. HILL:     Your Honor, may I -- may I ask,

04:46:32    8   Your Honor, if I can get a running objection if he's going

04:46:34    9   to go through the entire list of these claim elements

04:46:38   10   because I don't want to have to object to each one?

04:46:40   11           THE COURT:     The claim elements may be the basis

04:46:42   12   for Mr. Sheasby's questions, but as to the witness and the

04:46:45   13   jury, he's just simply asked, does this have that, which is

04:46:48   14   a simple fact question.

04:46:49   15           Now, the claim language may be the reason why

04:46:52   16   Mr. Sheasby asked that question, but there's nothing

04:46:55   17   improper about that.

04:46:55   18           MR. HILL:     Your Honor, the reason it's misleading

04:46:57   19   to the jury is because -- and that's another basis for my

04:47:00   20   objection is because he necessarily -- to answer that

04:47:03   21   question and it have relevance, it has to be in the context

04:47:06   22   of the claim language, which means he has to apply the

04:47:08   23   Court's claim constructions.      Otherwise, the fact that

04:47:11   24   these things he reads, this witness says are present in

04:47:15   25   their product, the answer is not relevant.
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04:47:18    1            THE COURT:     Every fact question asked of a fact

04:47:22    2   witness doesn't have to relate to the claim language to

04:47:22    3   have relevance.   I don't necessarily agree with that broad

04:47:24    4   of a statement.

04:47:24    5            MR. SHEASBY:     I'm fine with you having a running

04:47:26    6   objection, Mr. Hill.

04:47:29    7            THE COURT:     Well, that's not your call,

04:47:30    8   Mr. Sheasby.

04:47:30    9            MR. SHEASBY:     I apologize.    That was

04:47:33   10   disrespectful, Your Honor.      I was just trying to --

04:47:36   11            THE COURT:     You're free to make the same objection

04:47:38   12   as you think is necessary, Mr. Hill, but I'm going to

04:47:41   13   overrule this objection.

04:47:42   14            MR. SHEASBY:     I apologize for stepping on --

04:47:44   15            THE COURT:     Let's proceed.

04:47:48   16            (Bench conference concluded.)

04:47:49   17            THE COURT:     All right.    Counsel, let's proceed.

04:47:50   18   Q.   (By Mr. Sheasby)    As part of the process, does the

04:47:55   19   mobile application provide instructions to users?

04:47:58   20   A.   Yes, we provide instructions on how to best capture

04:48:03   21   the -- the best image of the check.

04:48:05   22   Q.   Does it instruct -- does the mobile application that

04:48:08   23   USAA produces instruct the customer to take the photos of

04:48:12   24   the front and back of the check?

04:48:13   25   A.   Yes, we instruct them to take photos of the front and
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04:48:16    1   back.

04:48:16    2   Q.   Does the USAA system display a graphical illustration

04:48:20    3   to assist of the customer in having a digital camera take

04:48:23    4   the photos of the check?

04:48:24    5   A.   Yes.    Yes, we do.

04:48:25    6   Q.   Do -- does -- do the illustrations provided to the

04:48:28    7   customer assist the customer in placing the digital image a

04:48:33    8   proper distance away from the check for taking a photo, and

04:48:36    9   how do they do that?

04:48:37   10   A.   Yes, they -- they provide assistance.        They have a -- a

04:48:41   11   guide on there and they will review --

04:48:42   12               MR. HILL:    Objection, Your Honor.    He got his

04:48:45   13   answer started before I got my objection.         Improper opinion

04:48:50   14   testimony.

04:48:50   15               THE COURT:    Overruled.

04:48:56   16   A.   So they will -- the application will -- will give

04:48:57   17   guidance on are you too close in, are you too far out, do

04:49:02   18   you need to move up, do you need to move -- move back?

04:49:05   19   We -- we -- it will give the instructions on the screen of

04:49:08   20   the app.

04:49:09   21               We also have a technology that we released for --

04:49:15   22   for the visually impaired which gives them verbal

04:49:19   23   instructions on how to position the check.

04:49:20   24   Q.   (By Mr. Sheasby)      Does the application provide

04:49:22   25   assistance to ensure a proper image?
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04:49:24    1   A.   Yes, it does.

04:49:25    2   Q.   Does the application present the captured images to the

04:49:28    3   user?

04:49:28    4   A.   Yes, it provides the images back to the user as

04:49:33    5   thumbnails for their verification.

04:49:36    6   Q.   Is there a transmission over a wireless network after

04:49:39    7   presenting and after the system checks for errors?

04:49:43    8              MR. HILL:    Objection, Your Honor.     Calls for

04:49:46    9   improper opinion testimony.

04:49:48   10              THE COURT:    Overruled.

04:49:49   11   A.   Yes, it does.

04:49:50   12   Q.   (By Mr. Sheasby)     Are the captured images sent to USAA

04:49:55   13   over a wireless network?

04:49:56   14   A.   They are -- yes, they are sent to USAA over a wireless

04:50:01   15   network, either WiFi or cellular.

04:50:04   16   Q.   Does the submission of the image only occur after the

04:50:04   17   user has been authenticated and presented with the approved

04:50:10   18   images?

04:50:10   19   A.   Yes, it occurs after the authentication, after we walk

04:50:14   20   our members through the process of capturing the check, and

04:50:18   21   then -- and then it is submitted.

04:50:22   22   Q.   Do USAA computers update the account balance based on

04:50:27   23   the check image provided?

04:50:30   24   A.   Yes, our -- our computers do update the account

04:50:33   25   balance.
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04:50:34    1   Q.   Does USAA perform an OCR of the MICR line and a

04:50:38    2   separate OCR of the check amount?

04:50:40    3   A.   Yes.    Yes, we do.   We actually -- we've experimented

04:50:45    4   with that a little bit.      We -- we initially offered two

04:50:49    5   different OCRs of the -- of the check amount.          And we --

04:50:57    6   we've always offered OCR of the -- the MICR line, as well.

04:51:01    7   That's the -- the letters and the numbers in the bottom

04:51:05    8   left-hand corner.

04:51:07    9               For a period of time we decided to only do one OCR

04:51:11   10   for the amount, but after -- after we looked at it, you

04:51:18   11   know, I -- I actually learned that -- that that check

04:51:21   12   was -- the second OCR check on the amount was even more

04:51:25   13   important, and so we -- we have now added that back in.

04:51:30   14   Q.   Is there a confirmation step that is performed?

04:51:35   15   A.   Is there a confirmation step that is performed?

04:51:39   16   Q.   By the system, yes.

04:51:40   17   A.   Yes, the -- the mobile app will -- will call the --

04:51:45   18   will call a component for -- to do the OCR and confirm that

04:51:49   19   it's been done.

04:51:50   20   Q.   Does the system check for errors?

04:51:52   21   A.   Yes, it checks for -- checks for errors, checks for

04:51:57   22   image quality errors, checks for fraud errors, checks for

04:52:01   23   quite a number of errors.

04:52:02   24   Q.   Is there an initiation of deposit after confirmation?

04:52:07   25   A.   Yes, after confirmation.
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04:52:08    1   Q.   Is there any data generated as part of the system?

04:52:11    2   A.   We -- we generate a log file that logs all of the data

04:52:17    3   that we extract off the image, plus the image of the check.

04:52:26    4               MR. SHEASBY:   Can you turn, Mr. Huynh, to PX-1187?

04:52:29    5   Q.   (By Mr. Sheasby)      Do you have personal knowledge of

04:52:43    6   when the specification of the '681 patent became publicly

04:52:48    7   available?

04:52:50    8   A.   Of the '681 patent?

04:52:52    9   Q.   Yes.

04:52:56   10               MR. SHEASBY:   Why don't we turn -- Mr. Huynh, if

04:52:58   11   you could turn to the -- let me do the following.

04:53:04   12   Q.   (By Mr. Sheasby)      First, do you have personal knowledge

04:53:05   13   of the specification of the '681 patent?

04:53:07   14   A.   I'm familiar with the specifications, yes.

04:53:09   15   Q.   And why is that?

04:53:11   16   A.   As -- as part of my job as chief architect, part of my

04:53:18   17   responsibility was to work with the developers and

04:53:20   18   engineers and make sure that they were patenting their

04:53:23   19   ideas.      We were obviously -- obviously spending a lot of

04:53:27   20   our members' money, and we wanted to make sure we protected

04:53:31   21   that.

04:53:31   22   Q.   When was the original patent specification for the '681

04:53:34   23   patent filed?

04:53:34   24   A.   For the parent application or for --

04:53:39   25   Q.   Yes, sir.
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04:53:40    1   A.   For the parent application, it was October -- October

04:53:44    2   31st of 2006.

04:53:46    3   Q.   Can you show this on the '681 patent?

04:53:49    4   A.   Yes.

04:53:51    5               MR. SHEASBY:     Mr. Huynh, could we have Page 3,

04:53:54    6   please?

04:53:54    7   A.   Page 3.    So you can see here in the related U.S.

04:53:58    8   application data, we have the -- the earliest date for the

04:54:04    9   parent application is October 31st of 2006.           That's the

04:54:11   10   '200 patent.

04:54:13   11   Q.   (By Mr. Sheasby)       Do you know -- so the original

04:54:16   12   application -- I withdraw the question.

04:54:18   13               Do you know when the '200 patent became publicly

04:54:22   14   available?

04:54:22   15   A.   I believe that was in 2011.          And at that point, anybody

04:54:26   16   could look at the specifications.

04:54:27   17   Q.   Have you looked at the specifications of the '200

04:54:30   18   patent that was filed on October 31st, 2006, and the

04:54:34   19   specification of the '681 patent?

04:54:36   20   A.   The specifications from the two patents are -- are

04:54:39   21   identical.

04:54:41   22               MR. SHEASBY:     Your Honor, may I -- may I approach?

04:54:43   23               THE COURT:     The witness?

04:54:44   24               MR. SHEASBY:     No.   May I approach the bench, Your

04:54:46   25   Honor?
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04:54:46    1              THE COURT:     Approach the bench, counsel.

04:54:48    2              (Bench conference.)

04:55:00    3              MR. SHEASBY:     Your Honor, I would request

04:55:02    4   permission that I be allowed to ask Mr. Brady if he has

04:55:07    5   knowledge of the reason that USAA filed for patent

04:55:11    6   applications in 2017.       I don't believe this is -- he does

04:55:14    7   have knowledge, and I don't think it's a -- it's a

04:55:15    8   violation of Your Honor's admonition to not discuss patent

04:55:20    9   examiners.    But in the excess of caution, I did want to

04:55:23   10   approach before I did so.

04:55:24   11              THE COURT:     And the question you want to ask the

04:55:26   12   witness is what?

04:55:27   13              MR. SHEASBY:     If he has knowledge as to why USAA

04:55:29   14   filed the continuation applications in 2017.

04:55:33   15              THE COURT:     And what do you anticipate his answer

04:55:35   16   will be?

04:55:36   17              MR. SHEASBY:     He's going to say that -- he's going

04:55:39   18   to say that the reason the applications were filed is

04:55:41   19   because there was a change in the standards of

04:55:45   20   patentability, and there was a decision made at USAA to

04:55:49   21   re-present the -- or to present new claims to the Patent

04:55:52   22   Office.    And that was the reason why the applications were

04:55:54   23   filed in 2017.

04:55:57   24              THE COURT:     Is there an objection from the

04:55:58   25   Defendant?
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04:55:59    1             MR. HILL:    Yes, Your Honor.     That's not relevant

04:56:00    2   to any issue in the case.        At most, it can -- at best, it

04:56:09    3   would inject confusion to the jury about standards for

04:56:09    4   patentability.   It certainly doesn't explain any reason for

04:56:10    5   why they waited as long as they did, why they didn't do it

04:56:14    6   sooner.

04:56:15    7             I just don't see the relevance, Judge.         I mean,

04:56:20    8   the fact is they filed it when they filed them.           And that's

04:56:23    9   going to be the basis of the written description defense.

04:56:25   10   The jury is going to have to decide the reasoning behind

04:56:27   11   why they filed when they filed.

04:56:29   12             THE COURT:     Okay.

04:56:29   13             MR. HILL:    It isn't going to help much.

04:56:30   14             THE COURT:     Well, if relevance is the objection --

04:56:34   15             MR. HILL:    403 and relevance, Your Honor.

04:56:36   16             THE COURT:     Pardon?

04:56:36   17             MR. HILL:    403 and relevance.

04:56:36   18             THE COURT:     Okay.

04:56:36   19             MR. HILL:    Confusion.

04:56:37   20             THE COURT:     I'll overrule that objection.

04:56:38   21             MR. SHEASBY:     Thank you, Your Honor.

04:56:41   22             THE COURT:     He's a corporate representative.        He

04:56:42   23   can speak for the reasons why the corporation acted.

04:56:44   24             All right.     Let's proceed.

04:56:46   25             (Bench conference concluded.)
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04:57:01    1   Q.   (By Mr. Sheasby)     The continuation applications that

04:57:03    2   led to the '681 and '605 patents were filed in July 2007.

04:57:09    3   Do you have knowledge as to the reason USAA took this step

04:57:12    4   and filed continuation applications in July of 2017?

04:57:17    5   A.   The -- the standards for -- for patents -- for software

04:57:26    6   patents changed in 2016, and so as a result of that, we --

04:57:32    7   we went back and -- and refiled our patents at that point

04:57:38    8   to -- to make sure they complied with the new standards,

04:57:42    9   which they did because they have now been awarded to USAA

04:57:47   10   by the Patent Office.

04:57:48   11   Q.   Were there goals that USAA focused on in the research

04:57:52   12   program that led to the patents-in-suit?

04:57:56   13              THE WITNESS:   Yes, yes, there were.       We had -- I

04:57:59   14   believe I have a slide on this, Mr. Huynh.

04:58:08   15   A.   So the first goal was to -- we wanted to be able to

04:58:12   16   transform an everyday consumer device, like a digital

04:58:16   17   camera, or a -- or a smartphone into a check image capture

04:58:23   18   device that could -- that could capture a good quality

04:58:28   19   image of the check.

04:58:29   20              MR. SHEASBY:   Mr. Huynh, can you turn to PX-1186,

04:58:32   21   Page 21?     And can you pull up Column 4, Lines 1 through 9,

04:58:42   22   Mr. Huynh?

04:58:44   23   Q.   (By Mr. Sheasby)     Does this passage relate to the types

04:58:46   24   of devices -- does this passage from the '605 patent relate

04:58:51   25   to the types of devices that USAA was deploying in that
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04:58:54    1   system?

04:58:55    2   A.   Yes.    If you look at the bottom three lines, starting

04:58:58    3   with electronics.     So we wanted to be able to use

04:59:03    4   electronics that today's consumers actually own or can

04:59:06    5   easily acquire, such as general -- such as a general

04:59:09    6   purpose computer, a scanner, and a digital camera.

04:59:12    7               I think up in the second line, we also called out

04:59:16    8   that we specifically exclude specialized equipment used for

04:59:21    9   check scanning.

04:59:22   10   Q.   Was it important to USAA that it focus on consumer

04:59:26   11   devices?

04:59:26   12   A.   It was very important for us.      We wanted to be able to

04:59:30   13   use devices that our members either already have or -- or

04:59:35   14   would likely -- likely want to have.

04:59:41   15   Q.   Mr. Brady, do you know if this same language from the

04:59:45   16   '605 patent occurs in the 2006 parent application?

04:59:48   17   A.   Yes, it does.

04:59:53   18               MR. SHEASBY:   Can you -- Mr. Huynh, can you turn

04:59:55   19   to Page 23 of the '605 patent?       And can you pull up

05:00:04   20   Column 8, Lines 27 through 34.

05:00:06   21   Q.   (By Mr. Sheasby)      Does this passage relate to USAA's

05:00:09   22   research program?

05:00:11   23   A.   Yes, it -- yes, it does, as well.       Let me -- if you

05:00:15   24   call out the -- the bottom three lines there, it calls out

05:00:19   25   that we were looking for various digital devices such as
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05:00:24    1   PDAs, televisions, MP3 players, we knew televisions had --

05:00:29    2   there were televisions on the market that already had WiFi

05:00:32    3   connections, for example, and -- and MP3 players, as well,

05:00:37    4   and so, you know, this is -- this is pointing out

05:00:41    5   specifically that we knew devices were changing.           We knew

05:00:44    6   that there was a lot of -- a lot of these devices were

05:00:50    7   actually coming together in terms of the types of

05:00:52    8   technologies that they allowed and that convergence of all

05:00:56    9   these technologies was occurring.

05:00:58   10   Q.   What is the PDA that was being discussed in the

05:01:00   11   research program at USAA?

05:01:02   12   A.   PDA, personal digital assistant, it was actually one of

05:01:07   13   the -- the earlier terms for something like a smartphone

05:01:10   14   or -- or tablet, included a general purpose computer, a

05:01:17   15   wireless connectivity, and then also a digital camera.

05:01:21   16   Q.   Was it relevant to USAA what the physical box was

05:01:26   17   that -- that housed the digital camera or the general

05:01:30   18   purpose computer?

05:01:30   19   A.   That was not relevant to us.      We were interested in --

05:01:34   20   in supporting whatever types of devices our consumer -- our

05:01:38   21   members had.

05:01:38   22   Q.   Were there additional innovations in USAA's research?

05:01:42   23   A.   Yes.

05:01:44   24               THE WITNESS:   If -- Mr. Huynh, if you can go back

05:01:47   25   to my slide.
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05:01:52    1   A.   The second -- the second item I wanted to call out was

05:01:54    2   we wanted to create an application that could be downloaded

05:02:00    3   on to the member's device in order to control that device

05:02:07    4   in the process in order to capture a quality image of the

05:02:12    5   check.

05:02:13    6               MR. SHEASBY:   Can you turn to the '605 patent,

05:02:23    7   Page 24, Mr. Huynh, Column 10, 23 to 27?

05:02:29    8   A.   Excuse me.    So --

05:02:30    9   Q.   (By Mr. Sheasby)      And let me ask a question, Mr. Brady.

05:02:32   10   A.   Yes.

05:02:32   11   Q.   Does this passage from the '605 patent relate to the

05:02:36   12   research program?

05:02:37   13   A.   There's a couple of words in here, the second line

05:02:41   14   down, we call out that we wanted the -- our members to

05:02:44   15   download a component, and then also the lines -- end of

05:02:54   16   Line 25, we wanted to effectively control certain aspects

05:02:57   17   of capturing the -- the image.

05:03:00   18   Q.   Mr. Brady, does this same language occur in the 2006

05:03:08   19   parent specification of the '605 patent?

05:03:08   20   A.   Yes, it does.

05:03:08   21               MR. SHEASBY:   And turning back to, Mr. Huynh,

05:03:12   22   1186, Page 23, and if you can pull up Column 8, Lines 27

05:03:32   23   through 34, Mr. Huynh.

05:03:34   24   Q.   (By Mr. Sheasby)      Mr. Brady, does this passage from the

05:03:36   25   '605 patent that discusses PDAs as alternatives to
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05:03:40    1   computers appear in the original 2006 specification?

05:03:43    2   A.   Yes, it does, as well.

05:03:46    3   Q.   Did the use of a downloaded application influence the

05:03:51    4   type of devices that USAA considered could be used with its

05:03:55    5   system?

05:03:57    6   A.   We -- we wanted to be able to use any consumer device

05:04:01    7   that could download an application.          It would have a device

05:04:06    8   that had a general purpose computer, and we also wanted to

05:04:10    9   be -- the device to be able to capture an image and then

05:04:14   10   upload it to the -- to the bank.

05:04:16   11   Q.   Were there any additional innovations in the -- in the

05:04:19   12   research program?

05:04:19   13   A.   Yes.

05:04:23   14               THE WITNESS:     Mr. Huynh, if you can go back to my

05:04:25   15   slide, please?

05:04:25   16               THE COURT:     Mr. Brady --

05:04:25   17               THE WITNESS:     Yes.

05:04:26   18               THE COURT:     -- Mr. Huynh is not here to take

05:04:28   19   directions from you.

05:04:28   20               THE WITNESS:     Okay.

05:04:29   21               THE COURT:     The lawyers at the podium will direct

05:04:31   22   the IT people what to do.

05:04:31   23               THE WITNESS:     Okay.

05:04:33   24               THE COURT:     These are the lawyers' slides as

05:04:35   25   demonstratives to the jury.          They're not the witness's
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05:04:37    1   slides.    Mr. Sheasby will have control of the use of those.

05:04:38    2              THE WITNESS:     Very good.    Thank you.

05:04:39    3              THE COURT:     You're here to answer questions, not

05:04:40    4   to give directions to anybody else.

05:04:42    5              THE WITNESS:     Sorry about that, sir.

05:04:43    6              THE COURT:     Let's proceed, Mr. Sheasby.

05:04:45    7   Q.   (By Mr. Sheasby)      Pulling up Demonstrative PDX-5.3, was

05:04:50    8   there a third innovation?

05:04:51    9   A.   The -- the third innovation was that we wanted to be

05:04:53   10   able to detect errors such as fraudulent -- fraudulent

05:05:02   11   duplicates, bad routing and account numbers, and image

05:05:05   12   quality, other types of errors all over a distributed

05:05:08   13   network.

05:05:09   14   Q.   Did USAA implement the distributed technique?

05:05:13   15   A.   Yes, we did implement the distributed technique.           We

05:05:16   16   had pieces running on the devices, as well as our servers.

05:05:24   17   Q.   Do you know where the OCR of the MICR line and CAR line

05:05:32   18   was done on USAA's system?

05:05:35   19   A.   For the OCR, the mobile device would actually invoke a

05:05:39   20   component, and then the component would be running on our

05:05:42   21   server.

05:05:43   22   Q.   Did consumer remote deposit capture introduce the

05:05:47   23   potential for increased fraud risks?

05:05:51   24   A.   Yes, I -- I believe it did.         The -- you know, again, we

05:05:57   25   didn't have access to the physical check, so we couldn't --
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05:06:02    1   we couldn't mark it canceled.       We couldn't physically alter

05:06:06    2   the check.

05:06:06    3             So we knew that if -- if you take it to a -- to a

05:06:11    4   branch to deposit or to an ATM deposit, it's -- it's going

05:06:14    5   to physically alter the check in some way.          Plus, it

05:06:18    6   doesn't give the check back to you generally.

05:06:20    7             So we -- what we were telling our members to do is

05:06:24    8   to destroy the check after they had captured the image of

05:06:27    9   it.    We knew that a lot of -- you know, that there would be

05:06:33   10   mistakes that would be made.      Plus, we also knew that

05:06:36   11   fraudsters probably wouldn't destroy the check, and would

05:06:41   12   try to deposit the -- the image again.

05:06:45   13             Duplicate detection was a -- was a problem before

05:06:47   14   we introduced consumer remote deposit capture.           But what we

05:06:51   15   did with consumer remote deposit capture actually made the

05:06:54   16   problem about a thousand times worse than it was before

05:06:57   17   because now the -- the -- our members still had access to

05:07:02   18   the -- to the check and could -- could potentially deposit

05:07:07   19   again.

05:07:08   20   Q.    Can you describe the role that obtaining accurate

05:07:12   21   images of a check plays in fraud prevention?

05:07:14   22   A.    Obtaining an accurate image, I think, is -- you know,

05:07:18   23   is really -- everything is crucial.        Again, we don't have

05:07:21   24   physical access to the checks so we can't read -- read the

05:07:24   25   magnetic ink off of the check.
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05:07:28    1               So the -- the entire process is actually relying

05:07:31    2   on capturing a good quality image off of a consumer device.

05:07:38    3   And once -- once you get the data off of those images, then

05:07:46    4   there's some, you know, traditional systems that bank

05:07:49    5   use -- banks use for doing fraud detection that are pretty

05:07:52    6   inexpensive.

05:07:53    7   Q.   What role does USAA's consumer remote deposit capture

05:07:59    8   system play in ensuring a good quality image?

05:08:03    9   A.   I think that's what our system is about is ensuring

05:08:06   10   that we get a good quality image off of -- off of a

05:08:09   11   consumer device.

05:08:10   12   Q.   Did you, USAA, employ any vendors to provide software

05:08:13   13   components for its systems?

05:08:15   14   A.   Yes.    Yes, we did.   Particularly, for some of the

05:08:21   15   commodity pieces like the -- the OCR, we -- we -- we used

05:08:25   16   some vendors.

05:08:27   17   Q.   Have you heard of a company Mitek?

05:08:28   18   A.   Yes, I -- I know of Mitek.      We used Mitek for a -- we

05:08:34   19   used a component of Mitek for the -- the OCR of the -- the

05:08:41   20   courtesy amount field, which is the handwritten numeral

05:08:46   21   amount of the check, also known as the CAR field, by the

05:08:49   22   way.

05:08:49   23   Q.   What was your experience using the Mitek software?

05:08:52   24   A.   We -- we ran into issues using the Mitek software.           It

05:08:56   25   was pretty obvious that they -- that they had not worked in
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05:09:01    1   a real-time environment before, so we ran into issues

05:09:04    2   trying to invoke their -- their system from -- from the

05:09:07    3   mobile application or -- or other device in a real-time.

05:09:11    4   Q.   What happened as a result of these problems?

05:09:16    5   A.   So as -- as a result of having those problems, we

05:09:22    6   had -- we actually packaged up a set of -- a set of check

05:09:26    7   images that we were working with that we had been testing

05:09:28    8   with, and we sent those check images over to Mitek.            And

05:09:34    9   then we had a phone call with them -- I was actually on the

05:09:37   10   phone call at the time when -- and we started walking

05:09:40   11   through the issue we were having, and we were trying to get

05:09:44   12   them to duplicate the -- the problem.         They --

05:09:46   13            MR. HILL:    Objection, Your Honor.       We're getting

05:09:48   14   into hearsay testimony at this point if he's going to

05:09:50   15   describe the other end of a phone conversation.

05:09:53   16            THE WITNESS:     I was on the phone conversation.

05:09:55   17            THE COURT:     All right.    When an objection is made,

05:09:57   18   the witness is --

05:09:57   19            THE WITNESS:     I apologize.     I apologize.     Sorry.

05:09:58   20            THE COURT:     The Court rules.     I'm going to sustain

05:10:00   21   that objection.

05:10:01   22            Restate -- state your next question, Mr. Sheasby.

05:10:03   23   Q.   (By Mr. Sheasby)    Did you have any additional meetings

05:10:05   24   with Mitek?

05:10:07   25   A.   We -- yes, we ended up bringing Mitek on site, and
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05:10:14    1   we -- we established a confidentiality -- confidentiality

05:10:19    2   agreement with Mitek.        We -- we had them sitting with our

05:10:25    3   developers.     The -- our developers were at a long table

05:10:30    4   where we had our developers, all the devices we were

05:10:34    5   testing with, the checks we were testing with, and then

05:10:36    6   the -- the Mitek engineer was there, as well.

05:10:40    7               And we worked with them to help them improve their

05:10:43    8   software.     Rey -- Rey Medina, in particular, one of our --

05:10:47    9   one of our researchers, one of the inventors worked

05:10:52   10   directly with the Mitek engineers to help them improve

05:10:56   11   their software.

05:10:56   12   Q.   Do you believe that Mitek knew that USAA was developing

05:11:01   13   a consumer remote deposit capture system?

05:11:01   14               MR. HILL:    Objection, Your Honor.    Calls for

05:11:03   15   speculation.

05:11:04   16               THE COURT:     Sustained.

05:11:05   17   Q.   (By Mr. Sheasby)       Did USAA publicly announce that it

05:11:08   18   had pending applications that protected Deposit@Mobile?

05:11:09   19   A.   Yes, we did.       We announced that both on our mobile site

05:11:12   20   and -- and website.

05:11:16   21               MR. SHEASBY:     Can you turn to PX-1062, Mr. Huynh?

05:11:19   22   Q.   (By Mr. Sheasby)       Do you recognize this document,

05:11:24   23   Mr. Brady?

05:11:24   24   A.   Yes.    This is a -- this is a document from what we call

05:11:30   25   our web content management system.        It's part of the code
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05:11:35    1   deployment where we -- we will list static text that's

05:11:40    2   going to be displayed in the mobile app or -- or on

05:11:45    3   USAA.com.

05:11:45    4   Q.   The disclosure field, where does that language appear?

05:11:48    5   A.   That will appear directly -- this is the language that

05:11:52    6   will appear directly on the -- the -- our USAA mobile app,

05:11:58    7   as well as USAA.com.

05:11:59    8   Q.   And this is the language that existed as of December of

05:12:03    9   2016?

05:12:03   10   A.   Yes, it is.

05:12:04   11   Q.   What are the patents listed there?

05:12:08   12   A.   We have the '227 patent and the '136.        The '227 patent

05:12:14   13   is the parent of the '605 patent, and the '136 patent is

05:12:20   14   the parent of the '681 patent.

05:12:21   15   Q.   Has USAA's banking business changed since it created

05:12:26   16   consumer remote deposit capture?

05:12:26   17   A.   I would say, yes, we have changed very significantly

05:12:33   18   since we introduced consumer remote deposit capture.

05:12:37   19   Before we -- before we -- we launched consumer remote

05:12:42   20   deposit capture, we were about 25 billion in assets.            Now

05:12:47   21   we're almost triple that.      We're at over 75 billion in

05:12:50   22   assets.

05:12:53   23             At -- at that time, back in 2005, we had less than

05:12:57   24   a million checking accounts.      Now we have over 5 million

05:13:03   25   checking accounts.
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05:13:04    1            When we initially launched the consumer remote

05:13:06    2   deposit capture system, we saw an immediate jump in terms

05:13:14    3   of the -- the number of checking accounts opened.           And so I

05:13:16    4   think that -- you know, we -- we -- and we've been growing

05:13:18    5   ever since, so I think this has been a huge -- a huge

05:13:21    6   impact on our business.

05:13:23    7   Q.   Thank you, Mr. Brady.

05:13:23    8            MR. SHEASBY:     I pass the witness, Your Honor.

05:13:24    9            THE COURT:     Cross-examination.

05:13:26   10            MR. HILL:    Thank you, Your Honor.

05:13:50   11            May I proceed, Your Honor?

05:13:52   12            THE COURT:     You may proceed, counsel.

05:13:54   13            MR. HILL:    Thank you, Your Honor.

05:13:54   14                           CROSS-EXAMINATION

05:13:55   15   BY MR. HILL:

05:13:55   16   Q.   Mr. Brady, good afternoon.

05:13:58   17   A.   Good afternoon, Mr. Hill.

05:13:59   18   Q.   It's nice to meet you.     We had a chance to meet just a

05:14:01   19   few minutes ago for the first time.

05:14:01   20   A.   It's good to meet you.

05:14:03   21   Q.   Welcome to Marshall.

05:14:04   22            Mr. Brady, I have some questions I want to ask you

05:14:06   23   about your testimony.     But before I do that, I want to talk

05:14:11   24   about the significance of your role in this case as the

05:14:14   25   corporate representative, okay?       Are you with me?
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05:14:16    1   A.   Uh-huh.

05:14:16    2   Q.   All right.   Now, you're a special witness in the case

05:14:18    3   because you are a corporate representative for USAA.            Do

05:14:22    4   you know what that means?

05:14:23    5   A.   I think I have an understanding.

05:14:25    6   Q.   All right.   So you're not only a fact witness in the

05:14:27    7   case, but you're also the person that USAA has designated

05:14:31    8   as the face of the company, as the corporate representative

05:14:35    9   for purposes of this trial.      You understand that, don't

05:14:37   10   you, sir?

05:14:37   11   A.   I understand that.

05:14:38   12   Q.   And that means that you speak for the company for

05:14:43   13   purposes of its positions before this jury.          Do you

05:14:46   14   understand that, sir?

05:14:47   15   A.   I understand that.

05:14:48   16   Q.   And now, as a corporate representative, you get to sit

05:14:52   17   through all of the opening statements and the testimony of

05:14:56   18   the other witnesses, right?

05:14:58   19   A.   Yes, I do.

05:14:59   20   Q.   And that's different than the other fact witnesses in

05:15:02   21   this case who -- they have to sit outside the courtroom.

05:15:07   22   They don't get to sit and hear the other witnesses testify

05:15:09   23   or hear those -- those part of the proceedings.           Do you

05:15:12   24   understand that?

05:15:12   25   A.   I understand that.
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05:15:13    1   Q.   And, Mr. Brady, you've been here in court today for the

05:15:18    2   openings, correct?

05:15:20    3   A.   Correct.

05:15:21    4   Q.   All right.     And I want to ask you about something we

05:15:25    5   saw in the opening statement earlier today, okay?

05:15:29    6            MR. HILL:     Can we get the opening slide,

05:15:39    7   Mr. Bakale, with the Constitution?

05:15:40    8   Q.   (By Mr. Hill)     Mr. Brady, do you recall seeing this

05:15:43    9   slide during the course of USAA's opening statements?

05:15:45   10   A.   Yes, I do.

05:15:46   11   Q.   All right.     And what this cites to is Article I,

05:15:53   12   Section 8, Clause 8 of the United States Constitution.            Do

05:15:59   13   you recognize that, sir?

05:15:59   14   A.   Yes, I do.

05:16:00   15   Q.   And were you here, Mr. Brady, when USAA said that

05:16:03   16   patent rights are absolute?      Do you recall hearing that?

05:16:06   17   A.   I -- I believe I do, yes.

05:16:10   18   Q.   And that they're a constitutional right.

05:16:12   19   A.   Uh-huh, yes.

05:16:13   20   Q.   Well, let's take a look at this slide, Mr. Brady, first

05:16:17   21   off, and let's look at what Article I, Section 8 of the

05:16:21   22   Constitution actually says.      Do you remember from your

05:16:23   23   government classes, Mr. Brady, how the Constitution is

05:16:27   24   actually broken up?

05:16:29   25   A.   If you can refresh my memory, that would be good.
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05:16:31    1   Q.   Okay.     You may recall there's multiple articles to the

05:16:34    2   Constitution, right?

05:16:34    3   A.   Uh-huh.

05:16:35    4   Q.   And there's at least three articles that set out our

05:16:38    5   three separate branches of government.         Do you recall that?

05:16:41    6   A.   Yes.

05:16:42    7   Q.   Okay.     And so you've got Article I, which sets out the

05:16:47    8   powers of the legislative branch, which is the Congress,

05:16:51    9   correct?

05:16:51   10   A.   Okay.

05:16:51   11   Q.   You've got Article II which addresses the executive,

05:16:57   12   which would be the President?

05:16:58   13   A.   Uh-huh, yes.

05:16:59   14   Q.   And then you've got Article III which addresses the

05:17:03   15   judicial branch, which is what we're all here doing.            It's

05:17:06   16   the judiciary in the federal system.

05:17:08   17               Now, if we look at Article I, what does this say?

05:17:11   18   It says:     The Congress shall have the power to promote the

05:17:16   19   progress of science and useful arts by securing for limited

05:17:20   20   times to authors and inventors the exclusive right to their

05:17:22   21   respective writings and discoveries.

05:17:25   22               Did I read that correctly, sir?

05:17:27   23   A.   Yes.

05:17:28   24   Q.   So what this is doing, Mr. Brady, is this is among the

05:17:33   25   list of the powers that Congress can create laws around; do
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05:17:41    1   you understand that?

05:17:41    2   A.   I understand that.

05:17:42    3   Q.   There's other sections of Article I that say things

05:17:48    4   like that they can raise revenue, you understand?

05:17:51    5   A.   Uh-huh, yes.

05:17:51    6   Q.   That they have the power to declare war, only Congress

05:17:55    7   has that?

05:17:56    8   A.   Yes.

05:17:56    9   Q.   And what this says is that Congress can create law

05:18:02   10   about patents, right?

05:18:05   11   A.   I would understand that.

05:18:10   12   Q.   And that's what Congress ultimately did, right?

05:18:15   13   A.   Yes.

05:18:15   14   Q.   So when we talk about a patent, this isn't from the

05:18:19   15   Bill of Rights, correct?

05:18:21   16   A.   Correct.

05:18:21   17   Q.   You know, at the end of the Constitution, we had a

05:18:25   18   later -- an amendment, a set of Bill of Rights; do you

05:18:31   19   recall that?

05:18:31   20   A.   I do.

05:18:31   21   Q.   And those give people actually constitutional rights,

05:18:33   22   agreed?

05:18:33   23   A.   Yes, yes.

05:18:34   24   Q.   Things like the right to freedom of religion, right to

05:18:39   25   freedom of the press?
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05:18:41    1              THE COURT:    All right.   Mr. Hill, we don't need to

05:18:43    2   talk about all 10 of the Bill of Rights.         I appreciate the

05:18:47    3   civics lesson, but we need to limit it to what's relevant

05:18:51    4   here in the case.

05:18:52    5              MR. HILL:    Thank you, Your Honor.     Thank you, Your

05:18:54    6   Honor.

05:18:54    7   Q.   (By Mr. Hill)      But my point here is, Mr. Brady, a

05:18:55    8   patent right is a statutory right.        It's something Congress

05:18:59    9   creates under the law, right?

05:19:01   10   A.   I understand.

05:19:02   11   Q.   And Congress is authorized to do that by the

05:19:05   12   Constitution.    But what they do with that power is not a

05:19:08   13   constitutional right; it's ultimately up to Congress,

05:19:12   14   right?

05:19:12   15   A.   I understand.

05:19:13   16   Q.   And you understand that in the Congressional structure

05:19:18   17   for the patent laws, part of what Congress created were the

05:19:24   18   laws that authorizes juries to review the validity of

05:19:30   19   patents; do you understand that?

05:19:31   20   A.   I would agree with that.

05:19:32   21   Q.   And they do that because those juries are then a check

05:19:36   22   and balance on the bureaucracy that creates the patents,

05:19:45   23   correct?

05:19:45   24   A.   I understand.

05:19:45   25   Q.   So you have a Patent Office that grants patents, and
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05:19:48    1   you have a jury system that serves as a check and balance

05:19:51    2   on that?

05:19:52    3              THE COURT:    Counsel, approach the bench.

05:19:55    4              (Bench conference.)

05:20:00    5              THE COURT:    If I'm not mistaken, Mr. Hill, you

05:20:02    6   just called the PTO a bureaucracy.        I'm very clear about

05:20:07    7   characterizing that agency of the government either in a

05:20:09    8   positive or a negative way, and calling it a bureaucracy is

05:20:13    9   not a compliment.

05:20:14   10              MR. HILL:    Okay.   I apologize, Your Honor.

05:20:15   11              THE COURT:    I want you to hew to a very clear line

05:20:17   12   on that.    You understand?

05:20:18   13              MR. HILL:    I do.   I do.

05:20:20   14              THE COURT:    Let's proceed.

05:20:21   15              (Bench conference concluded.)

05:20:25   16   Q.   (By Mr. Hill)      Now, Mr. Brady, at the end of this case,

05:20:28   17   when Judge Gilstrap gives the jury the law that it will

05:20:33   18   follow, the actual patent law, if it turns out that patent

05:20:37   19   rights are not, in fact, absolute, what should we make of

05:20:42   20   that?

05:20:45   21   A.   I'm not sure I get your point.

05:20:48   22   Q.   Well, should we chalk that up, that statement up to

05:20:51   23   overstatement, should we chalk that statement up to

05:20:57   24   mistake, or should we chalk that statement up to something

05:21:00   25   else?
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05:21:00    1   A.   It seems like it could be one of any reasons.

05:21:05    2   Q.   Thank you.

05:21:07    3             MR. HILL:    You can take that down, Mr. Bakale.

05:21:14    4             Now, Your Honor, I have a board here that I would

05:21:17    5   like a chance to get positioned to use with Mr. Brady if

05:21:21    6   it's permissible with the Court.

05:21:23    7             THE COURT:    As a demonstrative?

05:21:24    8             MR. HILL:    Yes, Your Honor.

05:21:25    9             THE COURT:    Where do you have in mind to position

05:21:27   10   it, Mr. Hill?

05:21:27   11             MR. HILL:    Your Honor, I would ask that I could

05:21:29   12   put it in front of the podium.       I believe it could be seen

05:21:32   13   there, or I could get an easel and set it here beside the

05:21:33   14   podium.

05:21:33   15             THE COURT:    Let's see the board, and then I'll

05:21:35   16   give you further guidance.

05:21:37   17             MR. HILL:    Thank you.

05:21:55   18             Right around here.

05:22:00   19             THE COURT:    Where would you propose to position?

05:22:02   20             MR. HILL:    Your Honor, I could position an easel

05:22:04   21   here, or I could also, I believe, put it here.           And I need

05:22:09   22   to be able to indicate to it.       I believe the jury can see

05:22:13   23   it from there.    We tried to put the text up high.

05:22:15   24             THE COURT:    If you are going to write on it, you

05:22:19   25   need to put it on an easel.
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05:22:21    1            MR. HILL:     Okay.   Thank you, Your Honor.

05:22:22    2            THE COURT:     I think the first position by the

05:22:24    3   overhead projector is probably the best.

05:22:26    4            MR. HILL:     Over here?

05:22:27    5            THE COURT:     Yes.

05:22:28    6            MR. HILL:     Okay.   Thank you.

05:22:40    7            THE COURT:     Thank you for your help, Mr. Sheasby,

05:22:42    8   but the Defendants have plenty of lawyers.          You don't need

05:22:45    9   to help them put up their board.

05:22:48   10            MR. HILL:     Is this --

05:22:49   11            THE COURT:     That's fine.

05:22:49   12            MR. HILL:     Okay.   Thank you, Your Honor.

05:22:58   13            THE COURT:     All right.     Mr. Hill, let's proceed.

05:22:59   14            MR. HILL:     Thank you, Your Honor.

05:23:00   15   Q.   (By Mr. Hill)     Now, Mr. Brady, I'd like to see if we

05:23:04   16   can establish some dates together, okay?         Are you with me?

05:23:07   17   A.   Okay.

05:23:07   18   Q.   Now, USAA's Deposit@Home project -- product was

05:23:12   19   launched in the summer of 2006.        Did I understand that

05:23:15   20   correct from your testimony?

05:23:16   21   A.   That's right.     June of 2006.

05:23:18   22   Q.   All right.   And we've got this timeline here we have,

05:23:20   23   do you see it runs from the pre-2000s through the 2000s and

05:23:25   24   then through the 2010s?

05:23:27   25   A.   May I stand up?     I can't see it from here.
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                                                                                    263



05:23:30    1             THE COURT:    Yes, you can stand if you need to.

05:23:36    2   A.   Okay.

05:23:39    3   Q.   (By Mr. Hill)     And then the date we have here is

05:23:42    4   October 31, 2006.      You see that?

05:23:44    5   A.   I see that, yes.

05:23:45    6   Q.   So the launch of that Deposit@Home product would have

05:23:48    7   been shortly before this October date on our timeline,

05:23:52    8   agreed?

05:23:52    9   A.   Agreed.     Several months before.

05:23:55   10   Q.   Now, USAA filed applications for its very first patents

05:24:06   11   based on the Deposit@Home product on Halloween on

05:24:07   12   October 31, 2006.      And that's the date we see here on the

05:24:09   13   timeline, correct?

05:24:10   14   A.   I'm not sure I would agree with that exactly.

05:24:16   15   Q.   Okay.     Can we take a look at the first page of the

05:24:19   16   patent?      Do you have the '605 patent there in front of you,

05:24:22   17   sir?

05:24:22   18   A.   I do.

05:24:22   19   Q.   Does it reflect the filing date?       Pardon me.

05:24:34   20             MR. HILL:    Pull that down.    And if we go to

05:24:37   21   Page 3.

05:24:37   22   Q.   (By Mr. Hill)     And we see the application data for what

05:24:44   23   was referenced earlier, the October 31 application date.

05:24:47   24   You don't believe that's the application date?

05:24:49   25   A.   I believe that's the application date, yes.
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05:24:50    1   Q.   Okay.   All right.    And USAA launched its Deposit Mobile

05:24:59    2   product that we discussed earlier, it launched that in

05:25:02    3   2009, correct?

05:25:02    4   A.   We launched the Deposit@Mobile brand in -- in May of

05:25:06    5   2009.

05:25:07    6   Q.   2009.   All right.    So that would have been several

05:25:10    7   years after the filing of the original application that

05:25:15    8   later would lead to the '605 patent, correct?

05:25:18    9   A.   That's correct.

05:25:19   10   Q.   All right.     Now, after USAA launched that Mobile

05:25:25   11   Deposit product in 2009, it got some pretty good press

05:25:29   12   coverage for that launch, didn't it?

05:25:30   13   A.   Yes, we did.

05:25:31   14   Q.   If we look, for instance, at Plaintiff's Exhibit 57,

05:25:35   15   that's a document you talked about a little earlier, do you

05:25:38   16   recall that?

05:25:38   17   A.   I do recall that.

05:25:39   18   Q.   And we see there on the first page, it was a New York

05:25:43   19   Times article, correct?

05:25:43   20   A.   Yes.

05:25:44   21   Q.   And in that New York Times article, it was predicted

05:25:47   22   that other banks would follow USAA and offer some type of

05:25:52   23   mobile deposit capability.      Do you recall that?

05:25:56   24   A.   Where is that?

05:25:57   25   Q.   If we look at the bottom of Page 2.
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05:26:06    1   A.   Yes.

05:26:09    2   Q.   And Mr. Wayne Peacock, an executive at USAA, is quoted

05:26:17    3   in the article there in the middle of Page 2.          Let's take a

05:26:21    4   look at that.     And he says mobile is going to be a bigger

05:26:28    5   part of how people do commerce and how they interact with

05:26:31    6   their final institutions.        Do you see that, sir?

05:26:33    7   A.   Yes, I do see that.

05:26:35    8   Q.   That, again, was in 2009 after the specification for

05:26:41    9   these patents.     The original version of it had already been

05:26:43   10   filed with the Patent Office, correct?

05:26:44   11   A.   This article was in 2009, yes.

05:26:47   12   Q.   And what Mr. Peacock predicted there, Mr. Brady, that's

05:26:53   13   exactly what happened, isn't it?

05:26:56   14   A.   Mobile is a bigger part.

05:26:59   15   Q.   So later in 2009 --

05:27:01   16               MR. SHEASBY:     Your Honor.

05:27:01   17               THE COURT:     Just a minute.

05:27:02   18               MR. SHEASBY:     Your Honor, I object.    May we

05:27:04   19   approach briefly?

05:27:05   20               THE COURT:     Approach the bench.

05:27:14   21               (Bench conference.)

05:27:16   22               MR. SHEASBY:     Your Honor, an issue we had in the

05:27:21   23   last case was the repeated injection of issues regarding

05:27:24   24   other banks into the case.        And so if Mr. Hill wants to

05:27:29   25   talk about Wells Fargo, that's fine.        But speaking about
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05:27:32    1   what lots of other banks are doing is simply not relevant

05:27:35    2   to any issue in this case.

05:27:37    3           THE COURT:     Mr. Hill?

05:27:38    4           MR. HILL:     Your Honor, the other banks, the

05:27:40    5   activity that goes on here that they just discussed in the

05:27:42    6   context of their own presentation and the success of their

05:27:45    7   invention, it shows the -- the progression of the

05:27:49    8   marketplace.

05:27:50    9           There's no limine on this in this matter.            And it

05:27:55   10   shows that the -- it goes to the relevant commercial

05:28:00   11   success of the features that they're claiming as an

05:28:02   12   invention, shows the progress of this technology over time,

05:28:05   13   and shows the development of this -- this industry that

05:28:08   14   they claim to have spawned.      I mean, he just walked through

05:28:12   15   this himself.

05:28:13   16           MR. SHEASBY:     Your Honor, first off, I said

05:28:14   17   nothing about what other banks were doing, in Mr. Brady's

05:28:18   18   testimony.     And this is -- this is a clear example of

05:28:20   19   trying to insert other banks.       We dealt with this issue in

05:28:25   20   the last case.     There are limines on the subject.

05:28:27   21           We're not talking about licensing other banks.

05:28:29   22   That's been limined out by Judge Payne.         And this is

05:28:33   23   connected to the violation of Payne's ruling by saying no

05:28:36   24   one's paid for a license.

05:28:37   25           Now, having said no one's paid for a license, now
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05:28:40    1   they're going to talk about all the other banks that are

05:28:40    2   doing it so they can tie together a story that is just not

05:28:47    3   relevant to this case.     This is why they weren't allowed to

05:28:48    4   talk about licensing of other banks --

05:28:48    5           THE COURT:     Do you believe there's an applicable

05:28:50    6   order in limine here, Mr. Sheasby?

05:28:52    7           MR. SHEASBY:     The closest limine is that they

05:28:55    8   limined out any discussion of the USAA licensing program.

05:28:59    9   And I believe that was Motion in Limine -- that was one of

05:29:02   10   Plaintiff's motions in limine.       It was 4.

05:29:19   11           THE COURT:     All right.     I'm going to overrule this

05:29:22   12   objection, but, Mr. Hill, the focus of this examination

05:29:26   13   should be on the Defendant, not on other unnamed

05:29:30   14   institutions.

05:29:31   15           I understand -- I think you have not crossed the

05:29:34   16   line yet, but I think if you continue to go down this road,

05:29:37   17   you will reach a point where you will.         But at this point,

05:29:40   18   I'm inclined to let you pursue this as you have.

05:29:44   19           MR. HILL:     Okay.   Judge, I just want to make sure

05:29:48   20   I'm clear.   So you're saying the line is I can't discuss

05:29:53   21   what happened with regard to the industry between 2009 --

05:29:59   22           THE COURT:     I --

05:29:59   23           MR. HILL:     -- and the present?

05:30:00   24           THE COURT:     -- I don't have a problem with

05:30:00   25   discussing the industry.      I have a problem with you
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05:30:02    1   focusing on other banks other than Wells Fargo.

05:30:05    2           MR. HILL:     Okay.

05:30:06    3           THE COURT:     As long as the industry is used in a

05:30:09    4   broad, generic sense that includes the Defendant --

05:30:12    5           MR. HILL:     Uh-huh.

05:30:13    6           THE COURT:     -- it's less problematic than when you

05:30:15    7   sever out the Defendant from other financial institutions

05:30:19    8   and talk about other banks.

05:30:20    9           MR. HILL:     Okay.

05:30:20   10           THE COURT:     And, again, the thrust of your

05:30:25   11   evidence needs to focus on this Defendant, but I'm not

05:30:28   12   going to preclude you from including this Defendant as a

05:30:32   13   part of the broader financial industry in a relevant

05:30:35   14   question.

05:30:36   15           MR. HILL:     Uh-huh.    So -- and, Your Honor, the

05:30:38   16   reason I ask is, here would be my question.          My question

05:30:41   17   would be:   Now, Mr. Brady, what happened then is that

05:30:47   18   mobile deposit -- and I believe this has already come out

05:30:50   19   in his direct examination -- mobile deposit then became

05:30:53   20   successful and was adopted broadly by the industry.            I

05:30:57   21   mean, he's testified to this with a story he's already

05:30:58   22   told.

05:30:58   23           MR. SHEASBY:     He said nothing about this, and it

05:31:01   24   has no relevance to this case.       This is designed for --

05:31:03   25   it's for them to suggest that everyone else uses this, no
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05:31:08    1   one else licenses it, and that they shouldn't have to pay

05:31:10    2   for it.   This has no relevance whatsoever to this case.

05:31:11    3   And what he just laid out makes it absolutely --

05:31:13    4             MR. HILL:    The opening in the case, Your Honor,

05:31:15    5   laid out the development in the industry or the widespread

05:31:19    6   use or adoption of MRDC in the industry.         I mean, that is

05:31:22    7   out in the -- in the case currently.

05:31:23    8             MR. SHEASBY:     There's nothing in the opening that

05:31:25    9   said anything about the adoption of MRDC by this industry,

05:31:30   10   nothing at all.   The words never appeared in the opening.

05:31:33   11   The only place they've appeared is in Mr. -- Mr. Hill's

05:31:36   12   examination of Mr. Brady.

05:31:37   13             THE COURT:     All right.   The question you just

05:31:38   14   posited to me, Mr. Hill, I think, goes too far.           I'm not

05:31:43   15   going to allow you to ask that question.

05:31:46   16             MR. HILL:    Your Honor, let me ask this just

05:31:46   17   because it's going to come to this.        When we get to the

05:31:47   18   damages experts, they're going to have to talk about the

05:31:49   19   industry and the development of the industry and the

05:31:51   20   commercial success of this product and all these other

05:31:55   21   things about the industry they factored into their

05:31:58   22   Georgia-Pacific analysis.      And if we're precluded from even

05:32:01   23   mentioning that, I don't -- I don't know how we address

05:32:03   24   those issues.

05:32:04   25             THE COURT:     The damages experts are going to
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05:32:06    1   testify pursuant to their reports that are then subject to

05:32:11    2   Daubert practice.     The basis on which those experts have

05:32:16    3   relied upon others to reach their opinions is set forth in

05:32:16    4   their reports.   That's altogether different than what we're

05:32:19    5   talking about now.

05:32:19    6            MR. HILL:    Okay.   So I can bring it out through an

05:32:19    7   expert because he addressed it in his report, but I can't

05:32:23    8   address --

05:32:23    9            THE COURT:    You can ask an expert about what's in

05:32:25   10   their report.

05:32:26   11            MR. HILL:    I'm just trying to find the line,

05:32:28   12   Judge.   I'm not arguing with you.       I'm trying to make sure

05:32:30   13   I understand because I don't want to walk up there and do

05:32:32   14   something you're unhappy with, so...

05:32:34   15            THE COURT:    This is not about keeping me happy.

05:32:36   16   This is about following the rules of procedure --

05:32:39   17            MR. HILL:    I understand.

05:32:39   18            THE COURT:    -- and hewing to a line that tracks

05:32:42   19   relevant evidence and not irrelevant evidence.           There is

05:32:48   20   someplace for a discussion of the industry, but there is a

05:32:54   21   very real risk, and I think Plaintiff is right, that if it

05:32:57   22   goes very far, it's going to focus the jury on parties

05:33:00   23   other than the Defendant.      And it's going to lead them to

05:33:04   24   confusion and to consideration of other parties who are not

05:33:07   25   before the Court.     And that's not proper.      And I'm going to
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05:33:10    1   try my best to avoid us getting to that point.           That's why

05:33:13    2   I'm giving you the instructions I'm giving you.

05:33:16    3            MR. HILL:    Yes, sir.    Let me ask this, Your Honor.

05:33:18    4   So in light of that, I need to do a little retooling on

05:33:23    5   some of the things I had in here.        This was not a granted

05:33:26    6   motion in limine in this case.       So it's not retooling I did

05:33:28    7   in advance, anticipating that I would be changing it.            It's

05:33:32    8   5:30 now.   I can continue to try to question him awhile and

05:33:32    9   avoid some of these topics, but if we're at a point where I

05:33:32   10   could -- we could stop and I could do that retooling, I'll

05:33:38   11   certainly do it.

05:33:38   12            THE COURT:    I don't anticipate you're going to

05:33:41   13   finish your cross before we break for the day, but I'm not

05:33:43   14   ready to quit right now.

05:33:45   15            MR. HILL:    Okay.

05:33:46   16            THE COURT:    If you've got some other areas, let's

05:33:51   17   pursue those.

05:33:51   18            MR. HILL:    All right.    Thank you, Your Honor.

05:33:52   19            (Bench conference concluded.)

05:33:56   20            THE COURT:    Let's proceed, counsel.

05:34:09   21   Q.   (By Mr. Hill)    Now, Mr. Brady, do you have an

05:34:14   22   understanding of when Wells Fargo launched its first Mobile

05:34:19   23   Deposit application?

05:34:19   24   A.   I do not.

05:34:20   25   Q.   That was at the end of 2012?
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05:34:22    1   A.   Okay.

05:34:22    2   Q.   You weren't -- you weren't aware of that fact, sir?

05:34:24    3   A.   No.

05:34:25    4   Q.   All right.     Now, what we see here on the timeline that

05:34:30    5   we just talked about, the October 31, 2006, original

05:34:38    6   filings by USAA, and then we mentioned the 2009 launch of

05:34:47    7   the USAA mobile app.      We also mentioned the 2012 launch of

05:34:51    8   the Wells Fargo mobile app.      All of those things occurred,

05:34:53    9   sir, before 2017, correct?

05:34:54   10   A.   That's true.

05:34:56   11   Q.   And USAA then -- this is all before USAA applies for

05:35:03   12   the '605 and the '681 patents, correct?

05:35:08   13   A.   For the '605 and the '681.

05:35:11   14   Q.   Because those applications were filed July 2017,

05:35:17   15   correct?

05:35:17   16   A.   That's when those applications were filed.

05:35:19   17   Q.   So by the time that USAA filed for the two patents that

05:35:28   18   we're here about, Mobile Deposit had become a rolled out

05:35:36   19   capability for both USAA and for Wells Fargo, correct?

05:35:38   20   A.   For those two, yes.

05:35:40   21   Q.   So let's talk about those two patent applications a

05:35:52   22   little bit, Mr. Brady.

05:35:54   23              Now, USAA made a request to the PTO with each of

05:35:56   24   those applications for something that is called Track 1

05:36:02   25   requests.    Are you familiar with that?
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05:36:04    1   A.   I do not know what that is.

05:36:05    2   Q.   All right.   Well, let me show you in the patent

05:36:08    3   application itself, Defendant's Exhibit 8 -- excuse me,

05:36:11    4   Defendant's Exhibit 8, at Page 542 -- excuse me, at Page --

05:36:25    5   yeah, 542.

05:36:27    6            MR. HILL:     I tell you what, first let's go to

05:36:29    7   Page 575, Mr. Bakale.

05:36:33    8            THE COURT:     I tell you what, while you're looking

05:36:35    9   for that, Mr. Hill, we're going to take this opportunity to

05:36:38   10   have a short recess, ladies and gentlemen.

05:36:39   11            I'm going to ask you simply to close your

05:36:41   12   notebooks, leave them in your chairs.         Follow all the

05:36:43   13   instructions I've given you, including not to discuss the

05:36:46   14   case among yourselves.

05:36:47   15            This will probably be the last recess for the day,

05:36:49   16   and we'll try to keep it short.       With that, the jury is

05:36:52   17   excused for recess.

05:36:53   18            COURT SECURITY OFFICER:       All rise.

05:37:11   19            (Jury out.)

05:37:18   20            THE COURT:     The Court stands in recess.

05:37:21   21            COURT SECURITY OFFICER:       All rise.

05:37:23   22            (Recess.)

05:46:18   23            (Jury out.)

05:46:19   24            COURT SECURITY OFFICER:       All rise.

05:46:21   25            THE COURT:     Be seated, please.
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05:46:22    1             Are you prepared to continue with your

05:46:29    2   cross-examination, Mr. Hill?

05:46:30    3             MR. HILL:    Yes, sir.

05:46:32    4             THE COURT:    All right.    Then you may return to the

05:46:34    5   podium.

05:46:34    6             While that's going on, Ms. Denton, if you'll bring

05:46:37    7   in the jury.

05:46:39    8             COURT SECURITY OFFICER:      All rise.

05:46:59    9             (Jury in.)

05:47:00   10             THE COURT:    Please be seated.

05:47:05   11             All right.    Counsel, you may proceed with your

05:47:10   12   cross-examination of the witness.

05:47:11   13             MR. HILL:    Thank you, Your Honor.

05:47:12   14   Q.   (By Mr. Hill)     Mr. Brady, before we broke, we were

05:47:14   15   talking about Defendant's Exhibit 8 and the fact that USAA

05:47:18   16   had made what was known as a Track 1 request to the Patent

05:47:22   17   Office.     And I was looking specifically at Page 575 of that

05:47:25   18   document.

05:47:29   19             Are -- are you familiar with what it means to make

05:47:32   20   a Track 1 request?

05:47:33   21   A.   I am not.

05:47:34   22   Q.   Now, when USAA originally filed these --

05:47:50   23             MR. HILL:    Go ahead and take that down,

05:47:54   24   Mr. Bakale.      Thank you.

05:47:55   25   Q.   (By Mr. Hill)     When USAA originally filed these two
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05:47:55    1   applications in 2017 that would lead to the '605 and '681

05:47:55    2   patents, it also did not ask the PTO, the Patent Office, to

05:48:01    3   consider these patents as children or grandchildren of any

05:48:05    4   earlier USAA patents?     Are you aware of that fact, sir?

05:48:08    5   A.   That -- that's not my understanding.

05:48:11    6   Q.   Okay.   Well, let's take a look at Defendant's

05:48:14    7   Exhibit 8.    And if we look at Page 585, and we look here at

05:48:22    8   the section toward the bottom of the page, what we see is a

05:48:29    9   section that allows for the applicant to claim benefit

05:48:32   10   under some statutes to other applications.          And you'll note

05:48:42   11   there's nothing filled in there.       Do you see that, sir?

05:48:42   12   A.   I do see that.

05:48:42   13            MR. HILL:    All right.    And, Your Honor, may we

05:48:44   14   approach, briefly?

05:48:44   15            THE COURT:    Approach the bench.

05:48:45   16            (Bench conference.)

05:48:57   17            THE COURT:    What is it, Mr. Hill?

05:48:58   18            MR. HILL:    Your Honor, just out of caution, I want

05:49:00   19   to ask about what I'm going to next, which is to point out

05:49:03   20   to this witness that the two applications were then

05:49:05   21   rejected in October of 2017 based on -- and at that time,

05:49:12   22   USAA made the request that they be -- relate back to the

05:49:17   23   original applications.     But before I did that, I wanted to

05:49:19   24   make sure that I wasn't going to -- the Court wouldn't view

05:49:23   25   that as improper.
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05:49:24    1              THE COURT:     Is there an objection from the

05:49:26    2   Plaintiff?

05:49:26    3              MR. SHEASBY:     So he hasn't laid his foundation

05:49:29    4   that this witness has personal knowledge of the patent

05:49:31    5   prosecution history, if he has that expertise.           And so if

05:49:35    6   he's just going to be tested -- you know, giving argument

05:49:37    7   through a witness, that doesn't make any sense.           That's not

05:49:40    8   the purpose of cross-examination.        He should establish that

05:49:43    9   our corporate representative doesn't know about the

05:49:45   10   prosecution history, and he should move on.

05:49:47   11              MR. HILL:    Your Honor, the corporate

05:49:49   12   representative speaks for the company.         He can speak

05:49:51   13   outside his personal knowledge.       To the extent he knows,

05:49:53   14   I'm entitled to ask him.       He's already testified about his

05:49:56   15   familiarity with the specifications in these patents and

05:49:58   16   also with the filing timelines.       So...

05:50:02   17              THE COURT:     He's testified that he's not familiar

05:50:03   18   with the Track 1 process.

05:50:05   19              MR. HILL:    With the Track 1 process, yes, Your

05:50:07   20   Honor.     This is not the Track 1 process.      This is a request

05:50:10   21   that they now have the earlier patent application --

05:50:13   22              THE COURT:     You can ask him the question for the

05:50:15   23   prosecution history.       If he doesn't have any personal

05:50:17   24   knowledge of it, then you're going to need to drop it and

05:50:20   25   move on.
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05:50:20    1            MR. HILL:    Okay.

05:50:20    2            MR. SHEASBY:     Your Honor, can I request that I get

05:50:24    3   copies of the exhibits so I can cross-examine -- redirect

05:50:30    4   the witness.   I don't know that they have them.

05:50:31    5            THE COURT:     Well, you should -- each side should

05:50:32    6   have the other one's exhibits long before now.           If they

05:50:35    7   don't, there's a problem.

05:50:35    8            MR. HILL:    We've exchanged exhibits, Your Honor.

05:50:40    9   They have our exhibits.

05:50:40   10            MR. SHEASBY:     I don't have the physical exhibits.

05:50:44   11   That's the problem.     We didn't get the binders.

05:50:45   12            THE COURT:     We're not -- we're not going to get to

05:50:47   13   redirect today, but we'll make -- make sure you do that

05:50:49   14   overnight.

05:50:50   15            MR. HILL:    Yes, Your Honor.

05:50:51   16            THE COURT:     Let's proceed.

05:51:01   17   Q.   (By Mr. Hill)    Now --

05:51:02   18            THE COURT:     Let's proceed.

05:51:03   19            MR. HILL:    Thank you, Your Honor.

05:51:04   20   Q.   (By Mr. Hill)    Now, Mr. Brady, are you aware that in

05:51:06   21   response to that original application, the Patent Office

05:51:08   22   rejected the applications?

05:51:10   23   A.   I'm not aware of that.

05:51:11   24   Q.   And that after that, sir, are aware that USAA then --

05:51:13   25            MR. SHEASBY:     Your Honor, objection.       This is
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05:51:15    1   exactly what I think we addressed.

05:51:20    2               MR. HILL:    Your Honor, I asked if the witness was

05:51:21    3   aware of the fact and he answered he was not --

05:51:23    4               THE COURT:    I'll overrule the objection.

05:51:31    5   Q.   (By Mr. Hill)       After that, Mr. Brady, are you aware

05:51:31    6   that USAA corrected its applications to claim priority to

05:51:33    7   the original 2006 filing?

05:51:35    8   A.   I'm not aware of that fact.

05:51:37    9   Q.   And you understand, Mr. Brady, that these two patents,

05:51:43   10   the '605 and the '681, were eventually issued, correct?

05:51:47   11   A.   Yes.

05:51:47   12   Q.   And they were both issued on July 3rd, 2018, correct?

05:51:54   13   A.   Yes.

05:51:55   14   Q.   And that's less than one year after their filing date;

05:51:58   15   isn't that right, sir?

05:51:59   16   A.   Yes.

05:52:01   17   Q.   And then do you also understand that USAA filed this

05:52:04   18   lawsuit against Wells Fargo on these two new patents about

05:52:08   19   a month later?

05:52:10   20   A.   I believe that's about when it was.

05:52:13   21   Q.   Now --

05:52:25   22               THE COURT:    Are you going to continue to use this

05:52:27   23   board with the witness, Mr. Hill?

05:52:28   24               MR. HILL:    Your Honor, I am going to come back to

05:52:30   25   it briefly, but I can set it down in the meantime if that
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05:52:36    1   would be helpful.

05:52:37    2               THE COURT:    As long as you're going to come back

05:52:38    3   to it.

05:52:39    4               MR. HILL:    All right.

05:52:41    5   Q.   (By Mr. Hill)       Now I want to talk a little more,

05:52:43    6   Mr. Brady, about this idea that USAA's '605 and '681

05:52:46    7   patents relate back to the applications filed by USAA on

05:52:50    8   October 31, 2006, okay?        Are you with me?

05:52:54    9   A.   Okay.

05:52:54   10   Q.   All right.    What I understand that means is that the

05:52:57   11   specification for the '605 and the '681 patents were

05:53:02   12   originally submitted back in 2006.        Is that what you

05:53:06   13   understand it to mean?

05:53:07   14   A.   That's what I understand it to mean.

05:53:09   15   Q.   All right.    And are you familiar with the parts of a

05:53:12   16   patent, sir?

05:53:12   17   A.   Somewhat familiar, yes.

05:53:14   18   Q.   Okay.    Do you have a copy -- you talked about the

05:53:17   19   specification of the '605 and '681 in your direct

05:53:21   20   testimony.     Do you have a copy of those patents in front of

05:53:23   21   you, sir?

05:53:23   22   A.   I do, yes.

05:53:24   23   Q.   And if you'll take a look, the '605 and the '681

05:53:30   24   patents, each have some introductory pages, correct?

05:53:35   25   A.   Yes.
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05:53:38    1            MR. HILL:     And can we get those up, Defendant's

05:53:41    2   Exhibit 4, please, Mr. Bakale.

05:53:44    3   Q.   (By Mr. Hill)     We'll look through it together.       So I'm

05:53:47    4   looking at the '605 patent, and it's got this initial front

05:53:51    5   page.   And if we thumb forward 10 or 12 pages, we get to

05:53:56    6   some figures.      Okay.   Do you see the first figure,

05:54:04    7   Figure 1?

05:54:04    8   A.   I see that.

05:54:05    9   Q.   All right.     Now, if we then look through the patent to

05:54:09   10   the very end, I believe in the '605 patent, it's going to

05:54:16   11   be in Column 15, and we can talk about patents, Mr. Brady,

05:54:22   12   in reference to the column numbers at the top of the page.

05:54:25   13   Are you familiar with that practice?

05:54:25   14   A.   I am familiar with that.

05:54:26   15   Q.   If we look in Column 15, we see a section that begins

05:54:32   16   "what is claimed"; do you see that?

05:54:33   17   A.   I see that, yes.

05:54:34   18   Q.   All right.     And so what appears between where those

05:54:37   19   figures start and where it says what is claimed, that's the

05:54:40   20   specification, isn't it?

05:54:41   21   A.   These -- no.

05:54:44   22   Q.   That's not the specification?

05:54:45   23   A.   It -- it's -- it -- it's informed by the specification.

05:54:52   24   Q.   Okay.   I'm talking about the actual physical part of

05:54:55   25   the patent, sir, that appears between where the figures
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05:54:58    1   start?

05:54:58    2   A.   Oh, where the figures start.

05:55:00    3   Q.   Yes, sir and where we get to right here.

05:55:02    4   A.   Sorry, I misunderstood.

05:55:04    5   Q.   So going that way.

05:55:05    6   A.   Yes, those are the specification.

05:55:07    7   Q.   That's the specification, right?

05:55:09    8   A.   Yes.

05:55:09    9   Q.   And so if the jury wants to know what was filed in

05:55:13   10   2006, all they have to do is look in their notebook; isn't

05:55:13   11   that right?

05:55:21   12   A.   I don't know that they have the '200 patent in their

05:55:25   13   notebooks.

05:55:26   14   Q.   Well, didn't you -- did I hear you testify that that

05:55:29   15   specification is identical to the specification for the

05:55:32   16   '605?

05:55:32   17   A.   The specifications are identical, yes.

05:55:34   18   Q.   Okay.   And so if the jury wants to know what was filed

05:55:38   19   in 2006, all they have to do is look in their notebook,

05:55:43   20   correct?

05:55:43   21   A.   I partially agree with that.

05:55:46   22   Q.   Okay.   And what we will find in the notebook in the

05:55:51   23   '605 patent from where the pictures start to this spot

05:55:54   24   right here I've marked on the screen is the 2006

05:55:58   25   specification, correct?
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05:56:00    1   A.   Yes.

05:56:05    2   Q.   All right.     And the same can be said, can't it, of the

05:56:08    3   '681 patent?

05:56:08    4               MR. HILL:    Can we go to Defendant's Exhibit 5,

05:56:12    5   Mr. Bakale.      Excuse me, Defendant's Exhibit 5, I believe it

05:56:25    6   is, is that the '681 patent -- oh, Exhibit 3, I apologize.

05:56:33    7   Q.   (By Mr. Hill)       This is our '681 patent, correct,

05:56:35    8   Mr. Brady?

05:56:36    9   A.   That's correct.

05:56:37   10   Q.   And, again, with the '681, if we flip forward a few

05:56:41   11   pages, we'll get to the figures.        All right.    There we have

05:56:48   12   Figure 1 again?

05:56:49   13   A.   Uh-huh, yes.

05:56:50   14   Q.   And if we go to near the end, we'll see the claims

05:56:55   15   begin in the '681 patent at the bottom of Column 13?

05:57:03   16   A.   Yes.

05:57:04   17   Q.   Isn't that right, sir?

05:57:05   18   A.   Uh-huh.

05:57:06   19   Q.   Right there.       So, again, going that way, everything

05:57:09   20   from where the picture started to where I've marked there

05:57:13   21   on the screen is the 2006 portion of the specification

05:57:17   22   which has been included identically in the '681 patent,

05:57:21   23   correct, sir?

05:57:21   24   A.   Yes, sir.

05:57:25   25   Q.   So the very first part of the patent, the first few
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05:57:29    1   pages and then the claims at the end, those parts were

05:57:32    2   written in 2017, correct?

05:57:36    3   A.   I'm sorry, say that again.

05:57:37    4   Q.   Yes, sir.    The very first part of the patent, the

05:57:40    5   initial pages with the date of issuance and the abstract

05:57:45    6   and the name of the inventors, and then the claims at the

05:57:50    7   end, those portions of the patents were written in 2017,

05:57:57    8   correct, sir?

05:57:57    9   A.   I'm not sure that's entirely correct.

05:58:00   10   Q.   Well, they were filed with the Patent Office in 2017;

05:58:02   11   would you agree with that?

05:58:02   12   A.   Yes, I would agree with that.

05:58:03   13               MR. HILL:   Go ahead and take this down,

05:58:06   14   Mr. Bakale.

05:58:08   15   Q.   (By Mr. Hill)      And so in 2017, USAA submitted new

05:58:31   16   claims based on the 2006 specification, correct, sir?

05:58:37   17   A.   Yes.

05:58:38   18   Q.   And you understand it, Mr. Brady, is that something

05:58:43   19   that's allowed by the patent laws?

05:58:47   20   A.   I'm not a patent attorney.

05:58:49   21   Q.   Okay.    So you just don't know one way or the other?

05:58:52   22   A.   My understanding is it's allowed, but I'm not a patent

05:58:55   23   attorney, sir.

05:58:56   24   Q.   All right.    Are you aware of the fact, as USAA's

05:58:59   25   corporate representative in this case who's here to speak
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05:59:01    1   for the company on the basis of its claims and defenses in

05:59:03    2   this case, are you aware of the fact that USAA contends

05:59:08    3   that what was filed in 2006 supports those later claims?

05:59:15    4   A.   You're saying what was filed in 2006 supports those

05:59:19    5   later claims?

05:59:19    6   Q.   Yes, sir.

05:59:20    7   A.   I believe it does, yes.

05:59:21    8   Q.   And are you aware of the fact, sir, that in order to be

05:59:25    9   entitled to that 2006 priority date, in fact, the claims

05:59:29   10   have to be supported by that 2006 specification?           Do you

05:59:34   11   understand that?

05:59:36   12   A.   Yes.

05:59:37   13   Q.   Because if the claims aren't supported by the 2006

05:59:41   14   specification, then they're invalid, correct?

05:59:45   15   A.   Again, I'm not -- I'm not a patent attorney.

05:59:48   16   Q.   And do you understand that that's the issue that USAA

05:59:54   17   asserts in the case, that that's the issue that it joins

05:59:57   18   with Wells Fargo in this case legally?

05:59:59   19   A.   I understand, yes.

06:00:00   20   Q.   And that's what's known as the written description

06:00:04   21   requirement of the patent laws; you understand that, sir?

06:00:06   22   A.   I have not heard that before.

06:00:08   23   Q.   And as USAA's corporate representative, are you here to

06:00:17   24   claim before this jury that you believe that the 2006

06:00:21   25   specification provides a written description of the full
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06:00:27    1   scope of the claims for the 2017 filings of the '605 and

06:00:33    2   '681 patent?

06:00:33    3                MR. SHEASBY:     Your Honor, I object.    He testified

06:00:37    4   he doesn't understand the words written description.            I

06:00:41    5   request that counsel rephrase the question.            It's unfair to

06:00:43    6   the witness.

06:00:48    7                MR. HILL:    Your Honor, I'll --

06:00:49    8                THE COURT:     Just a minute, Mr. Hill.

06:00:50    9                MR. HILL:    Yes, sir.

06:00:51   10                THE COURT:     I think it calls for a legal

06:00:59   11   conclusion.      I'm going to sustain the objection.

06:01:01   12                You may rephrase it in some other fashion, or move

06:01:05   13   on.

06:01:06   14                MR. HILL:    Thank you, Your Honor.

06:01:07   15   Q.    (By Mr. Hill)       Well, Mr. Brady, let me just summarize

06:01:11   16   it this way:      As USAA's corporate representative, you

06:01:14   17   understand that the issue that's being joined in this

06:01:16   18   courtroom, the disagreement that Wells Fargo has with USAA

06:01:20   19   is over this issue of whether that 2006 specification

06:01:24   20   discloses the full scope of these 2017 patent claims.               Do

06:01:30   21   you understand that?

06:01:30   22   A.    I understand that's the issue.

06:01:33   23   Q.    And you understand Wells Fargo contends that it does

06:01:35   24   not, and USAA contends the opposite?

06:01:38   25   A.    Yes.
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06:01:40    1   Q.   All right.    Now, Mr. Brady, in addition to claiming

06:01:47    2   that these patents were filed -- that its patents filed in

06:01:52    3   2017 should get to count as having been filed in 2006, USAA

06:01:56    4   also claims in this case that these patents are worth a lot

06:01:58    5   of money, right?

06:01:59    6   A.   I believe so.

06:02:00    7   Q.   And USAA is going to ask the jury in this case,

06:02:06    8   Mr. Brady, for an award of over a hundred million dollars

06:02:10    9   in lawsuit damages just for the alleged inventions in these

06:02:14   10   two patents; isn't that right, sir?

06:02:16   11   A.   That is correct.

06:02:17   12   Q.   But would it be fair, Mr. Brady, for USAA to recover

06:02:22   13   money for things that USAA didn't invent in these patents?

06:02:29   14   A.   That would not be fair.

06:02:31   15   Q.   That wouldn't be right, would it, sir?

06:02:34   16   A.   Yes.

06:02:37   17   Q.   If USAA didn't invent it, they shouldn't be able to ask

06:02:42   18   that other people have to pay them for it; would you agree

06:02:45   19   with that?

06:02:45   20   A.   I would agree.

06:02:48   21   Q.   And are you aware, Mr. Brady, that the law actually

06:02:51   22   requires USAA to take care to only seek those damages that

06:02:57   23   are attributable to the claimed invention and nothing more?

06:03:00   24   A.   Again, I'm not --

06:03:02   25               MR. SHEASBY:   Your Honor, objection.      This calls
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06:03:04    1   for a legal conclusion.

06:03:04    2               MR. HILL:    I asked about his awareness, Your

06:03:08    3   Honor.

06:03:08    4               THE COURT:     Are you familiar with that portion of

06:03:10    5   the patent statute, Mr. Brady?

06:03:11    6               THE WITNESS:     I'm not a patent attorney.     I'm not

06:03:13    7   familiar.

06:03:13    8               THE COURT:     All right.   Let's move on.

06:03:16    9   Q.   (By Mr. Hill)       Well, Mr. Brady, would it make sense to

06:03:20   10   you for the jury to have an idea of what USAA claims to

06:03:24   11   have invented in these patents versus what existed before,

06:03:29   12   that they would need to have an idea of what USAA claims to

06:03:32   13   have invented in these patents, versus what you -- what

06:03:35   14   actually existed before the filing in October of 2006?

06:03:39   15   A.   I'm sorry, can you repeat that one more time?

06:03:42   16   Q.   And I apologize, sir.       I stumbled on that question.

06:03:44   17   A.   I'm following.

06:03:45   18   Q.   So, Mr. Brady, the jury has to have an idea of what

06:03:52   19   USAA claims to have invented in these patents versus what

06:03:56   20   existed before it filed the 2006 applications, right?

06:04:02   21   A.   Versus what existed before the 2006 patents?

06:04:07   22   Q.   Yes, sir.

06:04:08   23   A.   Yes.

06:04:08   24   Q.   And what that does is that helps the jury know whether

06:04:14   25   the claimed inventions in these two patents are a big deal
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06:04:18    1   or a small step or just the assembling of known ideas,

06:04:23    2   doesn't it?

06:04:23    3              MR. SHEASBY:     Your Honor, I object.     This is

06:04:25    4   clearly outside the defenses that have been brought in this

06:04:27    5   case.   This violates a motion in limine.

06:04:30    6              THE COURT:     Approach the bench, counsel.

06:04:31    7              (Bench conference.)

06:04:40    8              THE COURT:     What limine does this violate,

06:04:43    9   Mr. Sheasby?

06:04:44   10              MR. SHEASBY:     They're trying to present a 103

06:04:48   11   defense.    What was known in --

06:04:50   12              THE COURT:     Slow down.

06:04:51   13              MR. SHEASBY:     What was known in 2006 has no

06:04:53   14   relevance whatsoever to damages.       It could only go to one

06:04:56   15   thing, which is to validity.       What matters for the

06:04:59   16   hypothetical negotiation is what the alternatives that were

06:05:02   17   available --

06:05:03   18              THE COURT:     I asked you for a MIL.    You said there

06:05:05   19   was a MIL violation.       I asked you what MIL you believe they

06:05:11   20   violated.

06:05:11   21              MR. SHEASBY:     We MIL'd out dropped defenses.       Both

06:05:15   22   of us agreed to it.       It was Defendant's MIL -- it was MIL

06:05:18   23   No. -- I believe it was their MIL against us.

06:05:21   24              MS. GLASSER:     And this is actually filed --

06:05:27   25              MR. SHEASBY:     It's Defendant's MIL.
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06:05:45    1           MS. GLASSER:     It's 104.

06:05:53    2           THE COURT:     While she's looking for that,

06:05:55    3   Mr. Hill.

06:05:58    4           MR. HILL:     Your Honor, I'm not making a 103

06:06:00    5   anything.

06:06:01    6           THE COURT:     I understand, but you're asking

06:06:02    7   questions of a witness that are clearly beyond his personal

06:06:04    8   knowledge, and you're asking him not so much of the answers

06:06:08    9   in a yes or no so the jury can hear the question that

06:06:10   10   you've asked.   You need to pursue areas where this witness

06:06:13   11   has established a level of personal knowledge.

06:06:15   12           MR. HILL:     Absolutely.     Let me tell you what I'm

06:06:19   13   about to do, Judge, so you'll know.

06:06:22   14           THE COURT:     Let's make sure that we all talk one

06:06:24   15   at a time up here.

06:06:25   16           MR. HILL:     I'll tell you what I'm about to do.

06:06:25   17   So what I was asking him is, for the jury to assess the

06:06:29   18   patent's value, the difference over the prior art, which is

06:06:32   19   completely proper under Georgia-Pacific No. 9, they have to

06:06:35   20   know what existed before and what this added, the inventive

06:06:35   21   step.

06:06:40   22           And now what I'm about to do is go to a number of

06:06:42   23   things that have already been -- the jury has already seen

06:06:47   24   from opening statements, but I believe this witness, based

06:06:50   25   on his personal knowledge in the banking industry, will
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06:06:52    1   agree were banking technologies that existed prior to 2006.

06:06:56    2           So when they get ready to value this invention,

06:07:00    3   they can't value that part.      It's apportionment argument,

06:07:02    4   Your Honor.

06:07:02    5           MR. SHEASBY:     Your Honor, that is absolutely

06:07:04    6   improper.     Rule No. 4 is dropped defenses.       They have no

06:07:10    7   102/103 defense based any prior art as to these patents.

06:07:12    8   What was relevant in -- what was known in 2006 has no

06:07:15    9   relevance to the issue of damages.        Damages would solely be

06:07:18   10   assessed from the time of the hypothetical negotiation.

06:07:20   11           This is a surreptitious 102/103 defense.            And

06:07:27   12   every -- that existed before 2006 is completely irrelevant.

06:07:27   13   They have to lay the foundation of what existed before 2006

06:07:30   14   was a non-infringing alternative, and then set it up that

06:07:32   15   way.

06:07:33   16           What he's doing right now is surreptitiously

06:07:37   17   trying -- it's irrelevant to damages.         Damages are judged

06:07:40   18   from the time of the hypothetical negotiation.           It's about

06:07:42   19   the non-infringing alternatives that would exist at the

06:07:45   20   time of the hypothetical negotiation.

06:07:47   21           And what's worse is that this was their request.

06:07:49   22   They want no dropped defenses.       And so what's going to

06:07:53   23   happen after he does this?      Am I going to get on the stand

06:07:56   24   and cross-examine Mr. Saffici --

06:07:56   25           THE COURT:     Slow down, Mr. Sheasby.        I'm trying to
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06:07:59    1   follow what you say, but you're awfully fast.

06:08:01    2           MR. SHEASBY:     I am fast this evening, Your Honor.

06:08:03    3           It just opens up -- so now we have to talk about

06:08:07    4   the fact what was known and not known in 2006.           Why are we

06:08:07    5   fighting about --

06:08:07    6           MR. HILL:     Here's what --

06:08:10    7           MR. SHEASBY:     That's not relevant to damages.          He

06:08:11    8   should have asked about the state of the art in 2012 when

06:08:15    9   Wells Fargo launched their system or the state of the art

06:08:17   10   in 2018, which is the date of the hypothetical negotiation.

06:08:22   11   That would be the only relevant inquiry.

06:08:25   12           MR. HILL:     Your Honor, if he's telling me from an

06:08:28   13   apportionment argument that I can argue the things that

06:08:31   14   were post-priority date, that should be factored out

06:08:36   15   in an -- in an apportionment of the value of these patents

06:08:39   16   what they added over the prior art, I think that's wrong.

06:08:39   17   That'd make my case a lot easier.

06:08:46   18           But here's where the rubber meets the road, Judge.

06:08:48   19   Their damages expert says that the value of this invention

06:08:51   20   comes from its fraud detection features and its duplicate

06:08:56   21   detection features, all features that existed in banks and

06:08:59   22   in banking processes before these applications were ever

06:09:02   23   filed for.

06:09:02   24           And so it is directly relevant from setting up

06:09:05   25   their damages case, the fact that their damage experts
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06:09:09    1   point to the value of this invention as being its addition

06:09:12    2   of known features, known features that had existed before,

06:09:18    3   which we all know have to be --

06:09:21    4           THE COURT:     Known features --

06:09:21    5           MR HILL     -- apportioned.

06:09:22    6           THE COURT:     -- known features that are carried out

06:09:25    7   at a traditional brick and mortar bank versus known

06:09:28    8   features that are allowed to be done remotely?

06:09:28    9           MR. HILL:     Known features that were done

06:09:31   10   electronically in remote deposit capture channels, and this

06:09:37   11   witness can tell me about it because he's got the personal

06:09:40   12   knowledge.

06:09:40   13           MR. SHEASBY:     He should be talking solely about

06:09:45   14   the state of the art and the hypothetical negotiations.

06:09:45   15   That's relevant.    Talk about what existed before the patent

06:09:47   16   was filed.   He hasn't even laid the foundation that's a

06:09:50   17   non-infringing alternative.

06:09:51   18           This is completely a surreptitious 103 defense,

06:09:55   19   and it shouldn't be done.      It -- the non-infringing

06:10:01   20   alternative is something that they can discuss.           So let

06:10:04   21   them set out what the non-infringing alternative is, and

06:10:06   22   we -- and Mr. Brady can talk about that.

06:10:08   23           But simply listing things that were known in the

06:10:10   24   prior art before 2006, that has no relevance to damages.

06:10:16   25   There's no case law that suggests that's relevant to
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06:10:18    1   damages, none.

06:10:18    2           MR. HILL:     Your Honor, that's just incorrect.

06:10:20    3   Georgia-Pacific Factor 9 says the jury -- the requirement

06:10:23    4   that the jury apportion damages --

06:10:25    5           THE COURT:     If you're going to apportion,

06:10:27    6   Mr. Hill, you don't apportion against the entirety of the

06:10:30    7   financial sector.    You apportion with regard to a

06:10:33    8   multi-component processor device as to the components that

06:10:37    9   do not bring value per the patents.        You don't go outside

06:10:42   10   that device or that process.

06:10:44   11           MR. HILL:     And that's it, Your Honor.        So what I'm

06:10:45   12   about to point out are portions of the patent.           These are

06:10:49   13   requirements of the patent in spots that they say do

06:10:52   14   duplicate detection.     That's one of the claim elements.

06:10:54   15           And the point is, duplicate detection has been

06:10:58   16   done for decades.    And so when you do value these patents,

06:11:02   17   whatever they invented, whatever it is that should be

06:11:03   18   valued for this invention, it shouldn't be that part.            If

06:11:10   19   it's -- if it's --

06:11:10   20           MS. GLASSER:     Question that analysis --

06:11:15   21           MR. HILL:     -- if it's -- if it's doing -- I lost

06:11:15   22   my point, Your Honor, from the interruption.

06:11:17   23           THE COURT:     If there's some portion of this device

06:11:19   24   or process that is not covered by these patents, then

06:11:22   25   that's a relevant item to point out for apportionment that
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06:11:26    1   should not be included.     If it's -- if it's the part of a

06:11:32    2   cell phone that causes the image to slide sideways and that

06:11:39    3   has nothing to do with another component in the cell phone,

06:11:44    4   then it's proper to identify what's not to be included in

06:11:47    5   an award of damages to apportion out the actual accused

06:11:54    6   functionality.

06:11:55    7           But that doesn't give you the latitude to talk

06:12:00    8   about anything and everything else in the industry that may

06:12:03    9   have been known or unknown.      If there's -- if there's a

06:12:06   10   portion of this remote capture and deposit process that are

06:12:11   11   not covered by these patents that should be properly

06:12:18   12   segregated out and apportioned for appointment -- for the

06:12:18   13   establishment of damages, that's fine.         But that's not

06:12:21   14   nearly -- that's not nearly as broad a path as you simply

06:12:25   15   want to --

06:12:26   16           MR. HILL:     Your Honor, that's -- that's

06:12:27   17   effectively forcing us into an entire market value

06:12:30   18   situation is what that does.      These patents don't claim as

06:12:33   19   their invention duplicate detection.        They claim the

06:12:37   20   implementation of a deposit process through the use of

06:12:41   21   general purpose computer and image capture devices.            That's

06:12:44   22   what has to be valued.

06:12:46   23           And what we want to point out is what their damage

06:12:48   24   expert has done is he has taken the value of duplicate

06:12:51   25   detection and used it as a substitute for the actual
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06:12:54    1   inventive step, which is the move to some more ubiquitous

06:13:00    2   device.

06:13:01    3             THE COURT:     Is this some kind of a 101 argument --

06:13:03    4             MR. HILL:    No, sir.

06:13:03    5             THE COURT:     -- where there's no inventive concept

06:13:05    6   here?

06:13:05    7             MR. HILL:    No, I'm not arguing there's an absence

06:13:07    8   of inventive concept.      What I'm arguing is what -- they

06:13:12    9   have to value the inventive concept and not things other

06:13:13   10   than the inventive concept.

06:13:13   11             MR. SHEASBY:     And, Your Honor, let me be very

06:13:15   12   clear.    The Patent Office has given us a right to a set of

06:13:17   13   elements that are combined together.        If he wants to do an

06:13:21   14   apportionment analysis, he can be asking about things that

06:13:24   15   are other than what those elements are that contribute to

06:13:29   16   remote deposit capture.      That's fair game.      For him to say

06:13:32   17   that individual elements in the claims are narrowing, that

06:13:32   18   is completely violative of -- of damages.         That is our

06:13:35   19   invention.    We own that altogether.

06:13:37   20             And so if there's something other than that,

06:13:39   21   that's valid from apportionment.       But the -- the idea that

06:13:43   22   there's elements that are in the prior art, that is not

06:13:46   23   relevant to damages because the Patent Office gave us all

06:13:49   24   those elements in combination.       This could only go to one

06:13:52   25   thing, which is derogating the value of this invention by
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06:13:56    1   suggesting it's based on old subject matter, and that's

06:14:02    2   violative of the Federal Circuit precedent.

06:14:03    3            Old combinations together are -- can be novel.

06:14:05    4   And there's no case law that says you point out what

06:14:07    5   elements are in the prior art.       That case law does not

06:14:09    6   exist.

06:14:10    7            MR. HILL:    Your Honor, what he just argued to you

06:14:12    8   is that they have an entire mark value theory that they

06:14:17    9   don't have.   Their experts apportioned.        And the reason

06:14:19   10   their experts apportion and they apportion down to

06:14:22   11   duplicate detection value and fraud detection value, and

06:14:25   12   they say the entire market value rule is improper.

06:14:30   13            Now Mr. Sheasby tells you that if we want to show

06:14:32   14   that what their expert valued is the wrong thing because it

06:14:36   15   previously existed, that what -- we are cut off from that

06:14:40   16   because he had a system claim that covers the whole

06:14:42   17   machine, the whole process.

06:14:44   18            MR. SHEASBY:     But we got that --

06:14:45   19            THE COURT:     Tell me -- tell me why we are talking

06:14:47   20   about this with the Plaintiff's corporate representative

06:14:49   21   and not with the experts on damages.

06:14:50   22            MR. HILL:    Because, Your Honor, their expert -- in

06:14:53   23   particular their damage expert, Mr. Weinstein -- answered

06:14:56   24   incorrectly, I believe, in his deposition that he believes

06:15:02   25   these patents create new methods of duplicate detection.
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06:15:05    1   That's wrong.     That's not the invention.      Nobody else in

06:15:08    2   this case claimed that was the invention.

06:15:10    3            And I asked him:     And that is what you valued?

06:15:13    4            And he says:     Yes, that's what I valued.

06:15:15    5            So they've now dumped Mr. Calman because they know

06:15:19    6   Mr. Calman would conflict with that.        He would say the

06:15:23    7   opposite because he has said differently about what the

06:15:26    8   invention is.     And what they're doing now is trying to

06:15:29    9   prevent me from showing the exact same idea that duplicate

06:15:32   10   detection --

06:15:33   11            THE COURT:     How is this witness supposed to have

06:15:35   12   any personal knowledge of that?

06:15:36   13            MR. HILL:    Because this witness knows when

06:15:38   14   duplicate detection in electronic image clearing systems

06:15:44   15   came into existence and became a common practice, and it

06:15:48   16   was well before anything to do with these patents.

06:15:50   17            MR. SHEASBY:     Your Honor, that is a prior art.

06:15:52   18   We've got a claim that says our system with duplicate

06:15:56   19   detection.     If he wants to say there's other things that

06:15:58   20   are contributing to value separate from that, he's entitled

06:16:01   21   to do that.     But he's not entitled to pick apart our claims

06:16:04   22   and say that this was known and this was known and this was

06:16:05   23   known.

06:16:05   24            THE COURT:     All right, counsel, we've been up here

06:16:07   25   probably 10 or 12 minutes already.        The jury is in the box.
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06:16:10    1   I'm going to send the jury home for the end of the day.

06:16:13    2   We're going to get to the bottom of this, and we'll pick

06:16:15    3   back up with cross-examination tomorrow.

06:16:16    4             MR. SHEASBY:     Thank you, Your Honor.

06:16:17    5             MR. HILL:    Thank you, Your Honor.

06:16:18    6             (Bench conference concluded.)

06:16:22    7             THE COURT:     Ladies and gentlemen, we're at a point

06:16:27    8   where I need to spend some time with the attorneys, and I'm

06:16:29    9   not going to continue to let you sit there and watch us

06:16:32   10   talk here at the bench, hopefully not hearing what we have

06:16:35   11   to say.

06:16:36   12             So I'm going to recess for the day at this point.

06:16:39   13   We'll continue with the Defendant's cross-examination of

06:16:41   14   Mr. Brady in the morning.

06:16:43   15             I'm going to ask you to take your juror notebooks

06:16:45   16   with you as you leave the courtroom and leave them closed

06:16:48   17   on the table in the jury room.       I'm going to remind you of

06:16:51   18   all my instructions, including not to discuss the case with

06:16:54   19   anyone.

06:16:55   20             Again, remember, when you get home tonight,

06:16:57   21   whoever is there to meet you is going to ask about it.

06:17:00   22   Just don't go there.      Also, let me remind you, you're

06:17:03   23   welcome to bring your cell phones and leave them in your

06:17:06   24   vehicles.   I don't want cell phones brought back into the

06:17:09   25   courthouse tomorrow.      There's no problem with you checking
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06:17:11    1   an email or a text message or something related to your

06:17:14    2   family or your business from your vehicle during the lunch

06:17:17    3   break or otherwise in the day, but I don't want those

06:17:20    4   devices in the jury room, please.

06:17:23    5              Travel safely to your homes, follow all the other

06:17:27    6   instructions I've given you.      Be prepared to start at 8:30

06:17:30    7   in the morning.    And with that, you're excused for the

06:17:32    8   evening.

06:17:33    9              COURT SECURITY OFFICER:     All rise.

06:17:34   10              (Jury out.)

06:17:35   11              THE COURT:    All right.   Be seated, please.

06:18:01   12              Counsel, let me remind you that before I bring the

06:18:11   13   jury in in the morning, I'm going to expect someone from

06:18:14   14   each side to go to the podium at the same time and jointly

06:18:19   15   present to the Court in the record the list of items from

06:18:23   16   the list of pre-admitted exhibits that have been used

06:18:25   17   during today's portion of the trial.        We'll have that

06:18:27   18   complete and in the record before I bring the jury in at

06:18:30   19   8:30 in the morning.

06:18:31   20              Let me also remind you, as I did in chambers this

06:18:35   21   morning, that if you have disputes overnight that aren't

06:18:37   22   resolved through the meet-and-confer process, the Court

06:18:40   23   needs to be notified not later than 10:00 p.m., not

06:18:46   24   11:30 p.m. like last night.

06:18:48   25              And if those disputes can't be resolved through
   Case 2:18-cv-00366-JRG Document 268 Filed 01/10/20 Page 186 of 188 PageID #: 18010
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06:18:50    1   your continuing meet-and-confer efforts, then I'll meet

06:18:54    2   with you by or around 7:30 in the morning, and we'll take

06:18:57    3   them up during that intervening hour before we start with

06:19:01    4   the jury at 8:30.

06:19:01    5            All right.     Are there questions from either

06:19:03    6   Plaintiff or Defendant before we recess for the evening?

06:19:06    7            MR. SHEASBY:     Nothing from Plaintiffs, Your Honor.

06:19:08    8            MS. GLASSER:     Actually one very small procedural

06:19:10    9   issue.   Tomorrow we'll be doing the reading of the

06:19:13   10   Lockwood-Stein testimony, subject to resolution of the

06:19:16   11   objections, and we were wanting to -- for planning

06:19:18   12   purposes, to understand the Court's preferences as to

06:19:22   13   whether we just had someone read that into the record or

06:19:25   14   whether we actually did it live with a person sitting in

06:19:27   15   the witness stand?

06:19:31   16            THE COURT:     Actually, counsel, I don't think I

06:19:33   17   have a preference there.      Do you have a preference as to

06:19:35   18   how to present it.    Assuming we get there, because it's

06:19:38   19   your proposed evidence?

06:19:39   20            MS. GLASSER:     It's relatively short.       We can

06:19:41   21   probably just read it in.      But if Your Honor has no

06:19:44   22   preference, we'll reconvene and let you know.

06:19:46   23            THE COURT:     You let me know in the morning how you

06:19:49   24   want to do it.

06:19:50   25            MS. GLASSER:     Thank you, Your Honor.
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06:19:50    1           THE COURT:     Mr. Melsheimer?

06:19:51    2           MR. MELSHEIMER:      Thank you, Your Honor.       May it

06:19:52    3   please the Court.

06:19:52    4           I just want to alert the Court that we're going to

06:19:55    5   be submitting a brief, a short trial brief on this written

06:19:59    6   description issue to clarify where I think we are and what

06:20:02    7   we believe the law is with respect to what we can and

06:20:05    8   cannot say, just so we don't have a continuing controversy

06:20:08    9   with the Court about it.      I expect that will be filed in

06:20:10   10   the next hour or so.

06:20:12   11           THE COURT:     Well, I don't expect you to have any

06:20:14   12   continuing controversy with the Court, but I'll be happy to

06:20:17   13   look at your brief.

06:20:19   14           MR. MELSHEIMER:      Thank you, Your Honor.

06:20:20   15           THE COURT:     All right.     We stand in recess until

06:20:21   16   tomorrow morning.

06:20:22   17           I'd like to see Mr. Sheasby and Mr. Hill in

06:20:24   18   chambers.

06:20:25   19           COURT SECURITY OFFICER:        All rise.

           20           (Recess.)

           21

           22

           23

           24

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       1

       2                           CERTIFICATION

       3

       4              I HEREBY CERTIFY that the foregoing is a true and

       5   correct transcript from the stenographic notes of the

       6   proceedings in the above-entitled matter to the best of my

       7   ability.

       8

       9

      10    /S/ Shelly Holmes                              1/6/2020
           SHELLY HOLMES, CSR, TCRR                        Date
      11   OFFICIAL REPORTER
           State of Texas No.: 7804
      12   Expiration Date: 12/31/20

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